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 3                            UNITED STATES DISTRICT COURT
 4             CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
 5
 6                                                   8:17-cv-00838-JLS-JDE
      In re: Kia Engine Litigation
 7
                                                     Related Cases:
 8                                                   8:17-cv-01365-JLS-JDE
 9                                                   8:17-cv-02208-JLS-JDE
                                                     2:18-cv-05255-JLS-JDE
10                                                   8:18-cv-00622-JLS-JDE
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15     PLAINTIFFS’ AMENDED CONSOLIDATED CLASS ACTION COMPLAINT
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 1         Plaintiffs Christopher Stanczak, Rose Creps, Cara Centko, Jenn Lazar, and Andrea
 2   Smolek bring this action against Defendants Kia Motors America, Inc. (“KMA”), Kia
 3   Motors Corporation (“KMC”), and Does 1 through 10 (collectively “Defendants”), by
 4   and through their attorneys, individually and on behalf of all others similarly situated, and
 5   allege as follows:
 6                                        INTRODUCTION
 7         1.     This is a class action lawsuit brought by Plaintiffs on behalf of themselves
 8   and a nationwide class of current and former owners and lessees with Theta 2.0-liter and
 9   2.4-liter gasoline direct injection engines (the “GDI Engines”) installed in certain 2011-
10   2016 Kia Optima, Sorento and Sportage vehicles (the “Class Vehicles”).1
11         2.     This action arises from Defendants’ failure to disclose to Plaintiffs and
12   similarly situated consumers, despite their longstanding knowledge, that the engines in
13   the Class Vehicles contain, inter alia, a latent defect that results in the restriction of oil
14   flow through the connecting rod bearings, as well as to other vital areas of the engine.
15   This defect – which typically manifests itself during and shortly after the limited
16   warranty period has expired – will cause the Class Vehicles to experience vehicle stalling
17   during operation and catastrophic engine failure.
18         3.     Significantly, the presence of this defect, resulting in restricted oil flow
19   within the engine, poses a safety risk to the operator and passengers of the Class
20   Vehicles. The failure to have sufficient engine lubrication can cause complete and
21   catastrophic engine failure while the Class Vehicles are in operation at any time and
22   under any driving conditions or speed. This exposes the driver and occupants of the Class
23   Vehicles, as well as others who share the road with them, to an increased risk of accident,
24   injury, or death. As discussed further herein, numerous owners and lessees of the Class
25   Vehicles have experienced engine damage and catastrophic failure while operating the
26
27   1
       Plaintiffs reserve the right to amend or add to the vehicle models and model years
28   included in the definition of Class Vehicles after conducting discovery.

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 1   Class Vehicles, thus placing themselves and those around them in immediate danger.
 2         4.     Defendants actively concealed (1) the fact that particular components within
 3   the Class Vehicles’ engines are prone to failure, (2) that the existence of the defect would
 4   diminish the intrinsic and resale value of the Class Vehicles, and (3) the safety concerns
 5   described herein.
 6         5.     Defendants have long been aware of the defect described herein, yet
 7   Defendants have routinely refused to repair the Class Vehicles without charge when the
 8   defect manifests. Indeed, in many cases Defendants have even refused to disclose the
 9   existence of the defect when Class Vehicles displaying symptoms consistent with the
10   defect are brought in for service, instead choosing to ignore the defect until it has caused
11   significant mechanical problems necessitating costly repairs.
12         6.     Many other owners and lessees of the Class Vehicles have communicated
13   with Defendants and/or their agents to request that they remedy and/or address the defect
14   and/or resultant damage at no expense. Defendants have routinely failed to do so even
15   within the warranty period.
16         7.     Defendants have also refused to take any action to correct this concealed
17   defect when it manifests in the Class Vehicles outside of the warranty period. Because
18   the defect can manifest shortly outside of the warranty period for the Class Vehicles –
19   and given Defendants’ knowledge of this concealed, safety-related defect – Defendants’
20   attempt to limit the warranty with respect to the engine defect is unconscionable and
21   unenforceable here.
22         8.     Despite notice and knowledge of the defect from the numerous complaints
23   they have received, information received from dealers, National Highway Traffic Safety
24   Administration (“NHTSA”) complaints, and their own internal records, including pre-
25   sale durability testing, Defendants have not recalled and/or offered an adequate engine
26   repair to the Class Vehicles, offered their customers suitable repairs or replacements free
27   of charge, or offered to reimburse their customers who have incurred out-of-pocket
28   expenses to repair the defect.
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 1         9.     As a result of Defendants’ unfair, deceptive and/or fraudulent business
 2   practices, owners and/or lessees of the Class Vehicles, including Plaintiffs, have suffered
 3   an ascertainable loss of money and/or property and/or loss in value. The unfair and
 4   deceptive trade practices committed by Defendants caused Plaintiffs and the members of
 5   the class damages, including but not limited to, loss of value, loss of use of the vehicles,
 6   and repair costs.
 7         10.    Had Plaintiffs and other Class Members known of the defect at the time of
 8   purchase or lease, they would not have bought or leased the Class Vehicles, or would
 9   have paid substantially less for them.
10         11.    Plaintiffs are also informed and believe, and on that basis allege, that as the
11   number of complaints increased, and Class Members grew dissatisfied with the
12   performance of the Class Vehicles, Defendants were forced to acknowledge that the
13   Class Vehicles suffer from an inherent defect.
14         12.    As a result of the defect and the monetary costs associated with attempting
15   to repair the defect, Plaintiffs and the Class Members have suffered injury in fact,
16   incurred damages, and have otherwise been harmed by Defendants’ conduct.
17         13.    Accordingly, Plaintiffs bring this action to redress Defendants’ violations of
18   the consumer protection statutes of California, Maine and Illinois and also seek recovery
19   for Defendants’ breach of express warranty, breach of implied warranty, breach of the
20   duty of good faith and fair dealing, and common law fraud.
21                                        JURISDICTION
22         14.    This Court has subject matter jurisdiction of this action pursuant to 28
23   U.S.C. § 1332 of the Class Action Fairness Act of 2005 because: (i) there are 100 or more
24   class members, (ii) there is an aggregate amount in controversy exceeding $5,000,000,
25   exclusive of interest and costs, and (iii) there is minimal diversity because at least one
26   plaintiff and one defendant are citizens of different States. This court has supplemental
27   jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.
28         15.    This Court has general personal jurisdiction over Defendants because they
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 1   have corporate headquarters and offices located in this judicial district, conducted
 2   substantial business in this judicial district, and intentionally and purposefully placed
 3   Class Vehicles into the stream of commerce within the districts of California and
 4   throughout the United States.
 5                                              VENUE
 6         16.     Venue is proper in this judicial district pursuant to 28 U.S.C. §1391 because
 7   KMA maintains its corporate headquarters in this district, Defendants transact business in
 8   this district, are subject to personal jurisdiction in this district, and therefore are deemed
 9   to be citizens of this district. Additionally, there are one or more authorized Kia and
10   dealers within this district and Defendants have advertised in this district and have
11   received substantial revenue and profits from their sales and/or leasing of Class Vehicles
12   in this district; therefore, a substantial part of the events and/or omissions giving rise to
13   the claims occurred, in part, within this district.
14                                             PARTIES
15      A. Plaintiffs
16               1. Chris Stanczak
17         17.     Plaintiff Chris Stanczak is a citizen of the State of California, and currently
18   resides in Lincoln, California.
19         18.     On or about October 8, 2014, Plaintiff Stanczak leased a new 2015 Kia
20   Optima LX (VIN: KNAGM4A73F5554289) from Roseville Mitsubishi-Kia located in
21   Roseville, California. During his lease term, Plaintiff purchased his 2015 Kia Optima LX.
22         19.     Plaintiff Stanczak purchased (and still owns) this vehicle, which is used for
23   personal, family and/or household uses.
24         20.     On or about August 22, 2016, while driving on the highway, Plaintiff
25   Stanczak began to hear an unusual engine noise upon acceleration. He then brought his
26   vehicle to Roseville Mitsubishi-Kia, an authorized Kia dealership located in Roseville,
27   California, that same day. At the time, his vehicle had approximately 59,787 miles on the
28   odometer.
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 1         21.    Roseville Kia had Plaintiff Stanczak’s vehicle in its possession for diagnosis
 2   until on or about August 30, 2016. A service technician found, and notated in the repair
 3   order, that they had discovered metal shavings inside the vehicle’s engine and that the
 4   vehicle’s engine would need to be replaced. Plaintiff Stanczak then requested that such
 5   needed repairs be completed at no charge pursuant to the terms of the factory warranty,
 6   which had not expired. Plaintiff Stanczak’s request was denied.
 7         22.    Because Plaintiff Stanczak was denied the requested warranty repair, he then
 8   took his vehicle home so that he could obtain a second opinion. On the following day,
 9   while Plaintiff Stanczak was merging onto a highway, the engine in his vehicle seized
10   and catastrophically failed while traveling at approximately 35 miles per hour.
11   Fortunately, Plaintiff Stanczak was able to quickly pull his vehicle to the side of the road.
12   He then phoned for road service and paid approximately $180 to have his vehicle towed
13   back to Roseville Mitsubishi-Kia.
14         23.    Plaintiff Stanczak’s vehicle remained at Roseville Mitsubishi-Kia from
15   August 31, 2016, until October 3, 2016. Representatives of Roseville Mitsubishi-Kia
16   initially informed Plaintiff Stanczak that the vehicle’s long block2 needed to be replaced,
17   but that the necessary parts were on backorder.
18         24.    Plaintiff Stanczak then contacted Kia’s corporate offices and requested that
19   Kia cover the necessary repairs under its warranties. Kia’s corporate representative
20   declined to honor Plaintiff Stanczak’s request. Plaintiff Stanczak also requested rental car
21   coverage since he was without his vehicle, which Kia also declined. Kia also informed
22   Plaintiff Stanczak that the long block for his vehicle was actually no longer in production
23   and, as a result, they needed to order a used long block.
24         25.    Roseville Mitsubishi-Kia quoted Plaintiff Stanczak approximately $3,200
25   for the used engine. Plaintiff Stanczak inquired where it was ordering the engine from so
26
27   2
      Long block is an automotive term for an engine sub-assembly that consists of the
28   assembled engine block, crankshaft, pistons, connecting rods, cylinder head, camshafts,
     and valve train.
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 1   he could check the price. Upon further investigation, Plaintiff Stanczak found that the
 2   price for the engine was actually $2,210 and that the dealership was attempting to charge
 3   him a $1,000 “finder’s fee” on the engine.
 4         26.     Plaintiff Stanczak purchased the engine himself from Kia’s source and had it
 5   shipped to the dealership. Plaintiff Stanczak paid Roseville Mitsubishi-Kia approximately
 6   $1,980.00 for labor to install the used engine in his vehicle.
 7         27.     At all times relevant herein, Plaintiff Stanczak adhered to Kia’s
 8   recommended maintenance intervals.
 9         28.     Plaintiff Stanczak has suffered an ascertainable loss as a result of
10   Defendant’s omissions and/or misrepresentations associated with the engine defect,
11   including, but not limited to, out of pocket losses associated with the engine defect,
12   diminished value of his vehicle, and other consequential damages.
13         29.     Neither Defendant, nor any of their agents, dealers, or other representatives
14   informed Plaintiff Stanczak of the existence of the defect prior to, or any time after, his
15   purchase.
16               2. Rose Creps
17         30.     Plaintiff Rose Creps is a citizen of the State of Maine, and currently resides
18   in Auburn, Maine.
19         31.     On or about April 21, 2015, Plaintiff Creps purchased a new 2015 Kia
20   Optima EX (VIN: 5XXGN4A79FG394415) from Rowe Kia Auburn, an authorized Kia
21   dealership located in Auburn, Maine.
22         32.     Plaintiff Creps purchased (and still owns) this vehicle, which is used for
23   personal, family and/or household uses.
24         33.     On or about July 23, 2016, with approximately 43,473 miles on the
25   odometer, while accelerating to merge onto a highway, Plaintiff Creps heard a loud
26   banging noise originating from the engine. Plaintiff Creps immediately pulled over and
27   called Rowe Kia Auburn and made an appointment to bring her vehicle in so that the
28   dealership could evaluate it.
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 1         34.     The dealership informed Plaintiff Creps that her PCV valve was “bad” and
 2   needed to be replaced. The dealership also informed Plaintiff Creps that they found
 3   sludge in the engine oil. Plaintiff Creps requested warranty repairs and the dealership
 4   informed her that the PCV valve would be replaced under Kia’s warranty but that it
 5   would not “clean the engine” of the sludge under the warranty and required Plaintiff
 6   Creps to pay approximately $294.71 for this service, which Plaintiff Creps paid.
 7         35.     In or about early August 2016, Plaintiff Creps was driving her vehicle in
 8   New Jersey when she accelerated to merge across traffic and her vehicle again made a
 9   loud knocking noise before it shut off entirely and stalled during operation.
10         36.     Plaintiff Creps had her vehicle towed to a Kia dealership in New Jersey who
11   examined it, filled it with oil, and instructed her to drive it back to her dealership in
12   Auburn, Maine, which Plaintiff Creps did.
13         37.     Plaintiff Creps brought her vehicle to Rowe Kia Auburn on or about August
14   8, 2016, with approximately 44,688 miles on the odometer, and requested no-cost repairs
15   under the terms of Kia’s warranties. The dealership informed Plaintiff Creps that her
16   engine needed to be replaced. The dealership also informed Plaintiff Creps that she
17   needed to produce documentation for all oil changes in order to receive warranty repairs,
18   otherwise she would be required to pay out of pocket for any repairs.
19         38.     At all times relevant herein, Plaintiff Creps adhered to Kia’s recommended
20   maintenance intervals. Plaintiff Creps, however, did not keep receipts of each and every
21   oil change.
22         39.     Plaintiff Creps brought the oil change receipts that she did have to Rowe Kia
23   Auburn. Regardless, the dealership denied her warranty claim, and quoted her
24   approximately $5,324.21 in parts and labor to complete the required engine replacement.
25         40.     Plaintiff Creps then contacted Kia’s corporate office and again requested her
26   engine be replaced under warranty. Kia corporate denied her request but offered her a
27   credit of approximately $1,200.00 as a goodwill gesture, which Plaintiff Creps declined.
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 1         41.     During this time, Plaintiff Creps was unable to drive her vehicle and paid
 2   approximately $576.93 for a rental car from August 8, 2017, until August 26, 2017.
 3         42.     After being denied warranty repairs by both Rowe Kia Auburn and Kia’s
 4   corporate office, Plaintiff Creps was forced to pay $5,324.21 to replace her engine.
 5         43.     Plaintiff Creps has suffered an ascertainable loss as a result of Defendant’s
 6   omissions and/or misrepresentations associated with the engine defect, including, but not
 7   limited to, out of pocket losses associated with the engine defect, diminished value of her
 8   vehicle, and other consequential damages.
 9         44.     Neither Defendant, nor any of their agents, dealers, or other representatives
10   informed Plaintiff Creps of the existence of the defect prior to, or any time after, her
11   purchase.
12               3. Cara Centko and Jenn Lazar
13         45.     Plaintiff Cara Centko is a resident of Oregon, and currently resides in
14   Portland, Oregon.
15         46.     Plaintiff Jenn Lazar is a resident of Oregon, and currently resides in Portland
16   Oregon.
17         47.     In September of 2014, Plaintiffs leased a new 2015 KIA Sorento (VIN:
18   5XYKT4A64FG631766) from Kia of Valencia in California for personal, family and/or
19   household uses.
20         48.     Plaintiffs leased the vehicle in reliance on Kia’s representations that they
21   were receiving a safe, usable vehicle. However, in December 2016, the vehicle began
22   experiencing major issues with the engine and it became noisier and noisier. When
23   Plaintiffs took the vehicle in to be inspected, they were told that oil sludge was causing
24   the performance issues and ultimately Kia of Portland recommended they replace the
25   engine long block.
26         49.     Plaintiffs presented the car to the dealer for repair and/or inspection on
27   December 19, 2016 with approximately 25,501 miles on the odometer. The dealership
28   informed Plaintiffs that they needed to produce documentation for all oil changes in order
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 1   to receive warranty repairs, otherwise they would be required to pay out of pocket for any
 2   repairs.
 3         50.      At all times relevant herein, Plaintiffs adhered to Kia’s recommended
 4   maintenance intervals. Plaintiffs, however, did not keep receipts of each and every oil
 5   change. Plaintiffs produced the receipt they had and showed the dealer charges to their
 6   credit card for other oil change events. Regardless, the dealership denied her warranty
 7   claim, and stated unless Plaintiffs paid for a full diagnostic the dealership would not give
 8   an estimate.
 9         51.      Plaintiffs contacted Kia Leasing at least five times and Kia of America at
10   least 3 times seeking resolution. Despite repeated contacts and demands for estimates to
11   make the repairs to the vehicle and install the needed “new engine,” as it was referred to
12   by Kia on the phone, no estimate for repairs was provided. Plaintiffs refused to pay for a
13   full diagnostic because they believed all issues should have been resolved under
14   warranty.
15         52.      Plaintiffs took the car home and continued to honor their lease and make
16   payments of $299.30 per month until the contract was fulfilled. At the end of the lease the
17   car was surrendered and transported to Kia of Portland for preservation and storage
18   during the pendency of this litigation.
19         53.      Plaintiffs had performed all things agreed to or required under the lease
20   agreement and warranty, except as may have been excused or prevented by the conduct
21   of Kia. However, Kia refused to honor the warranty on the vehicle.
22         54.      Plaintiffs have suffered an ascertainable loss as a result of Defendant’s
23   omissions and misrepresentations associated with the Defect, including but not limited to
24   out of pocket loss associated with repairs, payments made while the vehicle was
25   inoperable due to an improper refusal to do warranty repairs, diminished use of the
26   vehicle, the cost of replacement transportation as well as the diminished value of their
27   vehicle occasioned by the engine defect.
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 1          55.     Neither Defendants, nor any of their agents, dealers, or other representatives
 2   informed Plaintiffs of the existence of the defect prior to, or any time after, their lease.
 3          56.      Similarly, despite efforts to get Kia to accept responsibility following
 4   manifestation of the Defect in Plaintiffs’ Vehicle, Kia has continued to deny the existence
 5   of a Defect and to actively conceal its existence.
 6                4. Andrea Smolek
 7          57.     Plaintiff Andrea Smolek is a citizen of Illinois, and resides in Villa Park,
 8   Illinois.
 9          58.     On October 31, 2014, Plaintiff Andrea Smolek and her husband jointly
10   purchased a new 2015 Kia Sorento LX with a 2.4L Theta II engine (VIN:
11   5XYKT3A68FG58652), from Ed Napleton’s Kia of Elmhurst in Elmhurst, Illinois.
12          59.     In April 2016, Plaintiff was driving on a local highway when she heard a
13   series of loud sounds from her Sorento’s engine compartment, punctuated by a loud bang,
14   the violent shaking of her vehicle, and the illumination of the check engine light on the
15   instrument panel.
16          60.     Plaintiff towed her vehicle to Bob Rohrman Kia in Schaumburg, Illinois,
17   where a technician opened the crankcase of her engine and found that the oil in her
18   engine had turned to sludge. Kia requested Plaintiff’s oil change records, which she
19   promptly provided, and which show that Plaintiff changed her vehicle’s oil in accordance
20   with Kia’s recommendations.
21          61.     However, after receiving the records, a Kia technician told Plaintiff that he
22   believed the oil had never been changed in her vehicle and that her claim was being
23   submitted to Kia for approval.
24          62.     Kia denied Plaintiff’s warranty claim. When Plaintiff protested, Rohrman
25   Kia told Plaintiff that they could inspect her engine but would charge her $1,000 if they
26   did not find a defect in the engine. An employee of Rohrman Kia also told Plaintiff that if
27   she did not have her engine replaced before leaving the dealership, any powertrain
28   warranty remaining on her vehicle would be voided.
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 1         63.    Feeling that she had no choice, Plaintiff purchased a refurbished engine from
 2   Bob Rohrman Kia for $6,000 including installation costs. To pay for the engine, Plaintiff
 3   was forced to take out two high-interest loans, which she is still repaying to this day.
 4         64.    Plaintiff Smolek has suffered an ascertainable loss as a result of Defendants’
 5   omissions and/or misrepresentations associated with the engine defect, including, but not
 6   limited to, out of pocket losses associated with the engine defect, diminished value of his
 7   vehicle, and other consequential damages.
 8         65.    Neither Defendants, nor any of their agents, dealers, or other representatives
 9   informed Plaintiff Smolek of the existence of the defect prior to, or any time after, her
10   purchase.
11       B. Defendants
12         66.    Defendant Kia Motors Corporation (“KMC”) is a South Korean corporation.
13   KMC is the parent corporation of Kia Motors America, Inc. (“KMA”).
14         67.    Defendant KMA is an automobile design, manufacturing, distribution,
15   and/or service corporation doing business within the United States. Furthermore,
16   Defendant KMA designs, develops, manufactures, distributes, markets, sells, leases,
17   warrants, services, and repairs passenger vehicles, including the Kia Class Vehicles.
18         68.    Defendant KMA is incorporated and headquartered in the state of California
19   with its principal place of business at 111 Peters Canyon Road, Irvine, California 92606.
20   KMA is the U.S. sales and marketing division of its parent company, Kia Motors
21   Corporation of Seoul, South Korea, which oversees sales and other operations across the
22   United States. KMA distributes Kia vehicles and sells these vehicles through its network
23   of more than 700 dealerships. Money received from the purchase or lease of a Kia vehicle
24   from a dealership flows from the dealer to KMA.
25         69.    As of December 31, 2016, Kia Motors Corporation’s largest shareholder is
26   Hyundai Motor Company, which holds 33.88 percent of KMC’s stock.3
27
     3
      http://www.kia.com/worldwide/about_kia/investor_relations/annual_report.do (2016
28   Annual Report, pg. 67) (last visited August 7, 2017).
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 1         70.     KMA is the American sales, marketing, and distribution arm of KMC. KMA
 2   offers a complete line of vehicles through more than 755 dealers throughout the United
 3   States. Upon information and belief, the distribution, service, repair, installation, and
 4   decisions regarding the GDI Engine as it relates to the engine defect within the Kia Class
 5   Vehicles were all performed by Defendant KMA.
 6         71.     Upon information and belief, Defendant KMA developed the post-purchase
 7   owner’s manuals, warranty booklets, and information included in maintenance
 8   recommendations and/or schedules for the Kia Class Vehicles.
 9         72.     KMA engages in continuous and substantial business in California.
10      C. Unknown Defendants
11         73.     The true names and capacities of the defendants sued herein as DOES 1
12   through 10, inclusive, are currently unknown to Plaintiffs, who therefore sue such
13   defendants by such fictitious names. Each of the defendants designated herein as a DOE
14   is legally responsible in some manner for the unlawful acts referred to herein. Plaintiffs
15   will seek leave of Court to amend this Complaint to reflect the true names and capacities
16   of the defendants designated herein as DOES when such identities become known.
17         74.     Based upon information and belief, Plaintiffs allege that at all times
18   mentioned herein, each and every Defendant was acting as an agent and/or employee of
19   each of the other Defendants, and at all times mentioned was acting within the course and
20   scope of said agency and/or employment with the full knowledge, permission, and
21   consent of each of the other Defendants. In addition, each of the acts and/or omissions of
22   each Defendant alleged herein were made known to, and ratified by, each of the other
23   Defendants.
24       CALIFORNIA LAW APPLIES TO THE CLAIMS OF THE NATIONWIDE
25                                               CLASS
26         75.     It is appropriate to apply California law to the nationwide claims because
27   California’s interest in this litigation exceeds that of any other state.
28         76.     Defendant KMA is located in Irvine, California and is the sole entity in the
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 1   United States responsible for distributing, selling, leasing and warranting Kia vehicles.
 2         77.    KMA maintains their customer relations, engineering, marketing, and
 3   warranty departments at their corporate headquarters in this district. KMA’s customer
 4   service complaint address is Kia Motors America Consumer Affairs Department, P.O.
 5   Box 52410, Irvine, California 92619-2410. KMA’s customer relations department is
 6   responsible for fielding customer complaints and monitoring customer complaints posted
 7   to their respective websites or third-party websites.
 8         78.    KMA’s warranty and engineering departments are both responsible for the
 9   decisions to conceal the engine defect from KMA’s respective customers, and for
10   instituting a policy to systematically deny warranty coverage to those who experienced
11   engine failure caused by the defect.
12         79.    Based on the foregoing, such policies, practices, acts, and omissions giving
13   rise to this were developed in, and emanated from, KMA’s headquarters in Irvine,
14   California. As detailed below, KMA also came to know, or should have come to know, of
15   the engine defect through the activities of their divisions and affiliated entities located
16   within California. Accordingly, the State of California has the most significant
17   relationship to this litigation and its law should govern.
18                       TOLLING OF STATUTES OF LIMITATIONS
19         80.    Any applicable statute(s) of limitations have been tolled by Defendants’
20   knowing and active concealment and denial of the facts alleged herein. Plaintiffs and the
21   members of the Class could not have reasonably discovered the true, latent nature of the
22   engine defect until shortly before this class action litigation was commenced.
23         81.    In addition, even after Plaintiffs and Class Members contacted Defendants
24   and/or their authorized dealers for vehicle repairs concerning the engine defect, they were
25   routinely told by Defendants and/or through their dealers that the Class Vehicles were not
26   defective. As described below, the true cause of the premature and catastrophic failure in
27   the Class Vehicles is a defect that results in restricted oil flow.
28         82.    Defendants were and remain under a continuing duty to disclose to Plaintiffs
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 1   and the Members of the Class the true character, quality, and nature of the Class
 2   Vehicles, that the manufacturing defect will result in restricted oil flow and catastrophic
 3   engine failure, that they will require costly repairs, pose safety concerns, and diminish the
 4   resale value of the Class Vehicles. As a result of the active concealment by Defendants,
 5   any and all applicable statutes of limitations otherwise applicable to the allegations herein
 6   have been tolled.
 7                                 FACTUAL ALLEGATIONS
 8   A.    The GDI Engines
 9         83.    The Theta II 2.0 liter and 2.4 liter engines contained in the Class Vehicles
10   contain a gasoline direct-injection (“GDI”) fuel delivery system.
11         84.    Kia advertises that “[i]t’s the Gasoline Direct Injection engine that helps a
12   Kia deliver outstanding performance—in both power and fuel use. GDI injects highly-
13   pressurized fuel directly into the cylinders during the engine’s combustion cycle. The
14   result is an increased quality of combustion and efficiency. By making smarter use of
15   fuel, GDI also reduces emissions. What the driver experiences is still the most critical
16   element of any powertrain technology. And with GDI, the driver enjoys smooth,
17   powerful acceleration and a longer time between refueling.”
18         85. The GDI Engines contained in the Class Vehicles use four reciprocating
19   pistons to convert pressure into a rotating motion. Gasoline is mixed with air in the
20   combustion chambers of the engine. To generate such rotating motion, a four-step
21   sequence is used (the “Combustion Cycle”). First, the intake stroke begins with the inlet
22   valve opening and a vaporized fuel mixture is pulled into the combustion chamber.
23   Second, the compression stroke begins with the inlet valve closing and the piston
24   beginning its movement upward, compressing the fuel mixture in the combustion
25   chamber. Third, the power stroke begins when the spark plug ignites the fuel mixture,
26   expanding the gases and generating power that is transmitted to the crankshaft. And
27   fourth, the exhaust stroke begins with the exhaust valve opening and the piston moving
28   back up, forcing the exhaust gases out of the cylinder. The exhaust valve then closes, the
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 1   inlet valve opens, and the Combustion Cycle repeats itself. A diagram of Combustion
 2   Cycle is below:
 3         86.    The pistons are connected to the crankshaft via the connecting rod. As the
 4   connecting rod moves up and down during the Combustion Cycle, this causes the
 5   crankshaft to rotate, ultimately resulting in power to the drive wheels of the vehicle.
 6   During this cycle, the crankshaft rotates many thousands of times per minute within each
 7   connecting rod. In order to reduce friction and prolong longevity, this design utilizes a
 8   bearing placed between the connecting rod and crankshaft surfaces. As a result, the
 9   connecting rod bearings allow the crankshaft to rotate within the connecting rods during
10   the Combustion Cycle. An exemplar diagram of the piston, connecting rod, connecting
11   rod bearing and crankshaft are shown below:
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17         87.    When the Class Vehicles are in operation, engine oil is used to lubricate
18   the pistons, cylinder walls, connecting rod bearings and other rotating and moving
19   components as the pistons move up and down through the four-stroke sequence. Engine
20   oil is necessary to reduce wear on moving parts throughout the engine, improve sealing,
21   and cool the engine by carrying away heat from the moving parts. Engine oil also cleans
22   and transports contaminants away from the engine to the engine oil filter. Oil is pumped
23   and pressurized throughout the engine by the oil pump. The oil pump draws oil from the
24   oil pan, located underneath the piston and crankshaft. The oil pump forces engine oil
25   through the oil filter and then through passages in the engine to properly lubricate and
26   reduce friction in internal moving engine components. The oil then returns to the oil
27   pan through small drainage holes located throughout the engine where it will be
28   recirculated by the oil pump. Below is a diagram illustrating the typical path and
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 1   channels of engine oil lubrication in an overhead cam engine:
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14         88.    The connecting rod bearings are also lubricated with engine oil in order to
15   allow the crankshaft to rotate within the connecting rods. A close-up picture of a
16   functional connecting rod bearing is below:
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16      B. Engine Failures Within the Class Vehicles
17         89.    Upon information and belief, the connecting rod bearings in the GDI
18   Engines undergo prolonged failure as metal debris circulates throughout the engine via
19   the engine oil. Over time, and as a result of these contaminants in the oiling system, the
20   connecting rod bearings begin to fracture. Once the connecting rod bearings fracture,
21   large amounts of metal debris begins to accumulate in the engine oil. As a result, the oil
22   becomes so contaminated with metal debris that the oil filter can no longer remove the
23   plethora of contaminants and maintain the necessary oil pressure within the engine. This
24   contaminated engine oil is recirculated throughout the engine by the oil pump, causing
25   oil sludge, damage to the various engine components and eventually resulting in sudden
26   and unexpected catastrophic engine failure. If the vehicle is being operated on the
27   highway at the time of the engine failure, it will ultimately result in a high-speed
28   stalling event.
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 1          90.   Additionally, as the connecting rod bearings continue to fracture, the
 2   acceptable tolerances between the bearings, the connecting rod, and the crankshaft
 3   rapidly deteriorate. Eventually, the Class Vehicles begin producing a “knocking” sound
 4   originating from the engine as a result of the deteriorating bearings. In some instances,
 5   the defective connecting rod bearings may eventually cause the piston to break through
 6   the engine block as a result of the deterioration.
 7          91.   A photograph of a fractured connecting rod bearing removed from a GDI
 8   Engine is included below. As shown in the photograph, the bearing has fractured and
 9   worn away to the point of laying flush along the inside of the connecting rod. A large
10   fracture is also plainly visible along the bottom left side of the bearing.
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21   After the connecting rod bearings fail and metal debris is circulated throughout the
22   engine via the engine oil, damage is caused to other key engine components. As
23   pictured below, the main cap – which fastens the crankshaft to the engine – can also be
24   damaged by the metal debris in the engine oil. After the main cap is damaged, play
25   between the main cap and engine develops, which also leads to catastrophic engine
26   failure.
27          92.   As a result of the defect, the Class Vehicles suffer from restricted and
28   inadequate engine oil lubrication. As explained above, engines are designed to have oil
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 1   distributed throughout the engine through lubrication channels. When operating properly,
 2   the engine oil is distributed throughout the engine by the oil pump and then flows back to
 3   the oil pan where it is redistributed throughout the engine.
 4          93.    In the Class Vehicles, the lubrication channels become clogged and
 5   restricted as a result of the defect, even under normal use and proper maintenance. When
 6   the lubrication channels clog, engine oil is unable to be pumped throughout the engine
 7   (through the oil pump) and is also unable to adequately return to the oil pan, causing a
 8   condition known as oil starvation. This results in insufficient lubrication throughout the
 9   Class Vehicle’s engine, which causes premature wear of the engine components and
10   catastrophic engine failure.
11          94.    The engine defect poses serious safety and security issues for operators and
12   occupants of the Class Vehicles. By way of example, the California Department of Motor
13   Vehicles asserts that stalled engines pose a significant safety risk and, as part of its safety
14   curriculum, instructs how to properly respond to a stalled action in order to avoid further
15   risk of injury.
16          95.    NHTSA takes a similar view of engine failure during vehicle operation. For
17   instance, according to Forbes, in 2011 the NHTSA recalled certain Chrysler and Dodge
18   vehicles due to “engine seizure because of connecting rod bearing failure . . . . Engine
19   seizure could increase the risk of a crash.”4
20          96.    Defendants failed to adequately research, design, test, and/or manufacture
21   the Class Vehicles before warranting, advertising, promoting, marketing, and selling the
22   Class Vehicles as suitable and safe for use in an intended and/or reasonably foreseeable
23   manner.
24       C. Previous GDI Engine Recalls
25          97.    In or around September 10, 2015, Hyundai Motor America (“Hyundai”)
26   publicly recalled certain model year 2011-2012 Sonata vehicles manufactured at
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28   4
       http://www.forbes.com/sites/altheachang/2011/09/30/engine-problems-prompt-
     chrysler-recalls/ (last visited August 7, 2017).
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 1   Hyundai Motor Manufacturing Alabama and equipped with the 2.4 liter and 2.0 liter
 2   GDI Engines. (See Exhibit 1.)
 3         98.     According to the Hyundai GDI Recall, Hyundai determined that metal
 4   debris may have been generated from factory machining operations as part of the
 5   manufacturing of the engine crankshaft during December 11, 2009, to April 12, 2012.
 6   As a result, and according to the Hyundai GDI Recall:
 7
 8                 [i]f the debris is not completely removed from the crankshaft’s
                   oil passages, it can be forced into the connecting rod oiling
 9                 passages restricting oil flow to the bearings. Since bearings
10                 are cooled by oil flow between the bearing and journal, a
                   reduction in the flow of oil may raise bearing temperatures
11
                   increasing the potential of premature bearing wear. A worn
12                 connecting rod bearing will produce a metallic, cyclic
13                 knocking noise from the engine which increases in frequency
                   as the engine rpm increases. A worn connecting rod bearing
14                 may also result in illumination of the oil pressure lamp in the
15                 instrument cluster. If the vehicle continues to be driven with a
                   worn connecting rod bearing, the bearing can fail, and the
16                 vehicle could stall while in motion.
17
18         99.     Hyundai went on to explain, in Safety Recall Report 15V-568, that it
19   became aware of engine-related warranty claims in the field. Furthermore, “[t]he vast
20   majority of those claims evidenced that customers were responding to substantial noise,
21   or the vehicle’s check engine light, and bringing their vehicles to service as a result of
22   those warnings. Many customers also complained after the warranty was no longer
23   available.”
24         100. As a result, Hyundai decided to issue a safety recall for approximately
25   470,000 model years 2011-2012 Sonata vehicles manufactured between December 11,
26   2009 and April 12, 2012 at Hyundai Motor Manufacturing Alabama and equipped with
27   either a 2.0 liter or 2.4 liter Gasoline Direct Injection engine.
28         101. The recall provided notification to owners of the issue, inspection, and
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 1   replacement of the engine assembly, as necessary, free of charge. Additionally,
 2   Hyundai increased the warranty for the engine sub-assembly (short block) to 10
 3   years/120,000 miles for both original and subsequent owners.
 4         102. In a document filed with NHTSA, attached hereto as Exhibit 2, Kia claims
 5   the following relevant chronology took place regarding its knowledge of the defect:
 6
 7             a. September 2015: Kia learns of the Hyundai recall related to engine
                  damage in 2011-2012 MY Sonata vehicles with Theta engines caused by
 8                oil blockage from debris left in engines during manufacturing at Alabama
 9                plant.
               b. January–April, 2016: Engine remanufacturer Translead conducts detailed
10
                  review of all recent Kia warranty returned engines. Translead identifies oil
11                delivery issue with Theta GDI engines (Optima, Sportage & Sorento). Low
12                claims rate with no accidents/injuries. Decision: monitoring.
               c. May 5, 2016: Kia learns of Hyundai Sonata warranty extension program
13                for next two model years after recall (2013 MY-2014 MY).
14             d. May 5-25, 2016: Kia Motors America, Inc. (KMA) analyzes field data for
                  Theta engine vehicles. No accidents or injuries. Claims are low but have
15                increased. Customer satisfaction identified as critical complaint factor due
16                to high engine repair costs for vehicles out of warranty (especially used
                  vehicle owners). Decision: extend warranty AND encourage customer
17
                  repairs before breakage with one customer notice.
18             e. May 25–June 10, 2016: Kia extends warranty coverage to all 2011- 2014
19                MY Optima owners (original and used) with 2.0L and 2.4L GDI engines to
                  10 years or 120,000 miles to reduce customer financial burden. Emphasis
20                on customer opportunity to get repair done before engine breakage based
21                on clear knocking noise developing as mutual benefit for both customer
                  and Kia.
22
               f. August 24 and 29, 2016: KMA notifies owners of 2011-2014 Sportage
23                and 2012-2014 Sorento vehicles equipped with 2.0L and 2.4L Theta GDI
24                engines of Warranty Extension Program.
               g. October 21, 2016: KMA sees continuing costs related VOQs [Vehicle
25                Owner Questionnaire] and determines dealers are not approving extended
26                warranty repairs due to customer lack of oil maintenance proof. Decision:
                  KMA advises dealers that coverage under the Extended Warranty Program
27                does not require maintenance records.
28             h. March 28, 2017: Kia makes decision to conduct a voluntary safety recall
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 1                based on anticipatory risk concerns.
 2         103. Between approximately May 25 and June 10, 2016, Kia Motors America (an

 3   automotive company in which Hyundai owns a 33.88% stake in) followed Hyundai’s

 4   lead and notified owners of 2011-14 MY Optima vehicles of issues with the same

 5   connecting rod wear which results in knocking noise from the same GDI engines. As a

 6   result, Kia provided all owners with a warranty extension on the “short block”5 assembly

 7   for a period of 10 years starting from the date of first service or 120,000 miles. Kia also

 8   alerted owners that if the vehicles continue to be driven with a worn connecting rod

 9   bearing, the bearing can fail and may result in engine failure.

10         104. Despite Kia’s recall, Defendant Kia has failed to adequately repair the

11   recalled 2011-14 Kia Class Vehicles. Instead, the parts required to conduct the repair are

12   typically unavailable, on nationwide backorder and/or no longer being manufactured.

13   This has resulted in Class Members being without the use of their vehicles for weeks

14   and/or months at a time and incurring additional and unreimbursed expenses such as

15   rental vehicles. Furthermore, when repaired, Kia often utilizes used replacement parts

16   which fail to adequately place Class Members in the same position as prior to such

17   engine failures.

18         105. In March, April and June 2017, Hyundai and Kia announced that they were

19   recalling an additional 1.4 million vehicles with the GDI Engines because they received

20   widespread reports that the engines could fail and stall, i.e. the same reason for the first

21   recall. This recall included the 2013-2014 Hyundai Santa Fe, the 2013-2104 Sonata, the

22   2011-2014 Kia Optima, the 2011-2013 Kia Sportage, and the 2012-2014 Kia Sorento

23   vehicles. (See Exhibits 2-4.)

24         106. The Class Vehicles have not been recalled despite having the same engine

25   and Plaintiffs and Members of the Class notifying Kia about their engines stalling and

26   failing while being operated. Kia is also aware that these engines are prone to the same

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     5
      Per Kia’s description, the short block consists of the engine block, crankshaft and
     bearings, connecting rods and bearings and pistons.
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 1   failure and risk to safety as the 2011-14 Class Vehicles yet has failed to provide the
 2   appropriate notice to Class Members, as well as, the appropriate and necessary repairs.
 3        D. Defendants’ Knowledge of the GDI Engine Defect
 4           107. Upon information and belief, Defendants regularly monitor the NHSTA
 5   databases as part of its ongoing obligation to identify potential defects in its vehicles.
 6   Examples of the complaints about Class Vehicles can be found below. NHTSA
 7   complaints establish that KMA knew, or should have known, of the engine defect at least
 8   as early as October, 2011, based on publicly available information,6 years before the
 9   Class Vehicles at issue in this litigation were sold through (1) Defendants’ own records of
10   customers’ complaints, (2) dealership repair records, (3) records from NHTSA, (4)
11   warranty and post-warranty claims, (5) pre-sale durability testing and part sales, and (6)
12   other various sources.
13           108. The experiences of Plaintiffs are by no means isolated or outlying
14   occurrences. Indeed, the internet is replete with examples of blogs and other websites
15   where consumers have complained of the exact same engine defect within the Class
16   Vehicles and complaints from earlier model year Kia owners and lessees with the same
17   engines. Upon information and belief, Defendant KMA, through (1) their own records of
18   customers’ complaints, (2) dealership repair records, (3) records from the National
19   Highway Traffic Safety Administration (“NHTSA”), (4) warranty and post-warranty
20   claims, (5) internal pre-sale durability testing, and (6) other various sources, were well
21   aware of the engine defect but failed to notify consumers of the nature and extent of the
22   problems with the GDI Engines or provide any adequate remedy.
23           109. KMA routinely monitors the internet for complaints similar in substance to
24   those quoted below. KMA’s customer relations department routinely monitors the
25   internet for customer complaints, and KMA has retained the services of third-parties to
26   do the same. Further, the customer relations division regularly receives and responds to
27   customer calls concerning, inter alia, product defects. Through these sources, KMA was
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         NHTSA ID No. 10429442, supra at p. 46.
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 1   made aware of the engine defect. The complaints also indicate KMA’s knowledge of the
 2   defect and its potential danger.
 3         110. KMA is experienced in the design and manufacture of consumer vehicles.
 4   As an experienced manufacturer, KMA likely conducts testing on incoming batches of
 5   components, including the GDI Engine, to verify that the parts are free from defects and
 6   comply with KMA’s specifications. Accordingly, KMA knew or should have known that
 7   the engine used in the Class Vehicles is defective and likely to fail prematurely, costing
 8   Plaintiffs and Class Members thousands of dollars in expenses.
 9         111. Moreover, KMA also should have known of the connecting rod bearing
10   defect and insufficient lubrication channels because of the sheer number of reports of
11   engine problems relating to the connecting rod bearings and/or lubrication channels. For
12   instance, KMA’s customer relations department, which interacts with Kia-authorized
13   service technicians in order to identify potentially widespread vehicle problems and assist
14   in the diagnosis of vehicle issues, has received numerous reports of engine problems
15   relating to the connecting rod bearings and lubrication channels. Customer relations also
16   collects and analyzes field data including, but not limited to, repair requests made at
17   dealerships and service centers, technical reports prepared by engineers that have
18   reviewed vehicles for which warranty coverage is requested, parts sales reports, and
19   warranty claims data.
20         112. KMA’s warranty department similarly reviews and analyzes warranty data
21   submitted by its dealerships and authorized technicians in order to identify defect trends
22   in its vehicles. KMA dictates that when a repair is made under warranty (or warranty
23   coverage is requested), service centers must provide KMA with detailed documentation
24   of the problem and the fix that describes the complaint, cause, and correction, and also
25   save the broken part in case KMA later determines to audit the dealership or otherwise
26   verify the warranty repair. For their part, service centers are meticulous about providing
27   this detailed information about in-warranty repairs to KMA because KMA will not pay
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 1   the service centers for the repair if the complaint, cause, and correction are not
 2   sufficiently described.
 3         113. KMA knew or should have known about the engine defect because of the
 4   high number of replacement parts likely ordered from KMA. All Kia service centers are
 5   required to order replacement parts, including engines, piston assemblies, and connecting
 6   rod bearings directly from KMA. Other independent vehicle repair shops that service
 7   Class Vehicles also order replacement parts directly from KMA. KMA routinely
 8   monitors part sales reports, and are responsible for actually shipping parts requested by
 9   dealerships and technicians. Thus, KMA has detailed, accurate, and real-time data
10   regarding the number and frequency of replacement part orders. The sudden increase in
11   orders for the GDI Engines and engine components used in the Kia Class Vehicles was
12   known to KMA, and should have alerted it to the scope and severity of the engine defect.
13         114. In February 2012, KMA issued a technical service bulletin (“TSB”) to its
14   authorized dealerships regarding an engine knocking noise. TSBs are documents used by
15   automotive manufacturers to inform dealership technicians about new information,
16   including vehicle problems, new repair procedures, and improved parts. In TSB
17   No. ENG114R1, KMA acknowledged that the earlier model years of the Class Vehicles
18   with identical engines were defective and experienced a “knocking noise.” As a result,
19   KMA directed dealers to blame the engine defect on the use of aftermarket oil filters and
20   instructed the dealers to replace the aftermarket oil filter with a genuine Kia oil filter. The
21   TSB also explained that this “repair” is not covered under warranty. KMA has failed to
22   provide any post-sale notification to owners and lessees regarding the use of only genuine
23   Kia oil filters in the Kia Class Vehicles. Instead, KMA attempts to circumvent warranty
24   obligations related to the engine defect by faulting customers for use of an aftermarket oil
25   filter.7 The defective connecting rod bearings and oil lubrication channels are not,
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27   7
      In May 2018, the Federal Trade Commission warned Hyundai that this practice was
28   unlawful. See https://www.caranddriver.com/news/ftc-warning-to-hyundai-is-a-
     reminder-to-consumers-know-your-warranty-rights (last visited July 30, 2018).
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 1   however, caused by the use of an aftermarket engine oil filter. Despite KMA’s
 2   knowledge of this fact, KMA has not informed Plaintiffs of the true cause of the defective
 3   connecting rod bearings and insufficient oil lubrication channels.
 4          115. Representative examples of complaints on the NHTSA website regarding the
 5   Kia Class Vehicles are included below (with emphasis supplied in capitalized bold
 6   letters)8:
 7                a.     KIA GDI Engine Complaints
 8          Vehicle: 2015 Kia Optima
            Date Complaint Filed: 05/10/2017
 9          Date of Incident: 04/28/2017
10          Component(s): ENGINE
            NHTSA ID Number: 10984694
11
                  SUMMARY:
12                ENGINE LOCKED UP DURRING ACCELERATION TO 40
13                MPH WHY MERGING INTO TRAFFIC FOUND OUT
                  ENGINE HAS A BENT ROD. OIL AND COOLENT WHERE
14                SUFFICINT BUT KIA WILL NOT FIX OR REPLACE.
15                COULD OF CAUSED MY WIFE TO CRASH OR BE HIT BY
                  TRAFFIC
16
17
18          Vehicle: 2015 Kia Optima
            Date Complaint Filed: 05/03/2017
19          Date of Incident: 11/26/2016
20          Component(s): ENGINE
            NHTSA ID Number: 10983354
21
                  SUMMARY:
22                ENGINE LIGHT CAME ON, THEN THE OIL LIGHT. I
23                STOPPED TO CHECK OIL. THERE WAS NO OIL ON THE
                  DIPSTICK. I CHECKED FOR LEAKS. FOUND NONE. I
24                ADDED 2 QUARTS. THE ENGINE WAS KNOCKING. I
25                TOOK IT TO THE DEALERSHIP. MY CAR WAS UNDER
                  WARRANTY. BUT WOULDN'T REPLACE IT. IT WOULD
26                COST ME $7200. SO I TRIED TO DRIVE IT HOME, AND
27
     8
28     The foregoing complaints are reproduced as they appear on the NHTSA website. Any
     typographical errors are attributable to the original author of the complaint.
                                                   -27-
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 1                IT QUIT.THE ENGINE SHUT DOWN. I HAD TO HAVE IT
                  TOWED HOME. THIS WAS IN NOVEMBER 2016. AND IT
 2                IS STILL DOWN. THEN I HEARD KIA IS GETTING A
 3                CLASS ACTION LAWSUIT AGAINST THEM, FOR OIL
                  FLOW ISSUES. I'M STILL PAYING ON THE CAR. I
 4
                  FINANCED THROUGH MY CREDIT UNION. SO THEY
 5                ALREADY GOT THERE MONEY. I THINK THAT IS WHY
 6                THEY ARE SCREWING ME OVER. TO BE CLEAR I HAD
                  JUST LEFT THE DEALERSHIP WHEN IT QUIT. IT NEVER
 7                MADE A SOUND, THE DEALERSHIP HAD IT 3 DAYS.
 8
 9
           Vehicle: 2015 Kia Optima
10         Date Complaint Filed: 01/09/2017
11         Date of Incident: 11/01/2016
           Component(s): ENGINE
12         NHTSA ID Number: 10943930
13               SUMMARY:
                 2015 KIA OPTIMA WAS OUT OF OIL @ 22,000 MILES
14
                 AND NO INDICATOR LIGHT HAD GONE ON WHEN IT
15               WAS TAKEN TO AN OIL CHANGE. THE OIL CHANGE
16               PLACE WAS THE ONE THAT INDICATED THAT THE
                 VEHICLE HAD NO OIL IN IT. IT STARTED MAKING
17               SOME RATTLING NOISE SPECIALLY GOINT UPHILL SO
18               I TOOK IT IN TO KIA SERVICE DEPARTMENT. THEY
                 DIAGNOSED IT WITH "SLUDGE" IN THE ENGINE AND
19               ENGINE WOULD HAVE TO BE REPLACED. I HAD TO
20               PROVE 3 PREVIOUS RECEIPTS OF OIL CHANGES
21               OTHERWISE THE WARRANTY WOULD NOT COVER IT.
                 I DO NOT HAVE THOSE RECEIPTS AND 16 DAYS
22               LATER TOOK IT TO THE SAME PLACE I DID MOST
23               RECENT OIL CHANGE BECAUSE OIL LIGHT HAD
                 TURNED ON. THE VEHICLE AGAIN HAD NO OIL IN IT.
24               THE TOPPED IT OFF BUT MENTIONED THAT IT WAS
25               NOT NORMAL FOR SUCH A RECENT MODEL TO BE
                 BURNING OIL. VEHICLE IS STILL RUNNING BUT
26
                 MAKES RATTLING NOISE ONCE IN A WHILE,
27               PRODUCES WHITE SMOKE OUT OF EXHAUST PIPE
28               AND I HAVE TO PUT OIL IN IT EVERY COUPLE OF
                 DAYS. I CANNOT AFFORD TO BUY A NEW ENGINE. I
                                                   -28-
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 1                AM A SINGLE MOM AND NEEDS A RELIABLE VEHICLE
                  TO GET TO WORK.
 2
 3
 4         Vehicle: 2015 Kia Optima
           Date Complaint Filed: 11/03/2016
 5         Date of Incident: 11/02/2016
 6         Component(s): ENGINE
           NHTSA ID Number: 10923952
 7               SUMMARY:
 8               THE VEHICLE WAS IN MOTION AND HAD AN OIL
                 CHANGE THE PREVIOUS DAY. THE VEHICLE LOST
 9
                 POWER AND AN AUDIBLE CLICKING OR TAPPING
10               NOISE CAME ON WHILE DRIVING ON THE HIGHWAY.
11               MY WIFE HAD JUST ENOUGH TIME TO PULL OFF INTO
                 A LOCAL BUSINESS AND PARKED THE CAR. I TOOK IT
12               TO KIA AND THEY ADVISED THERE WAS "SLUDGE" IN
13               THE ENGINE AND WE HAD NOT BEEN MAINTAIN THE
                 VEHICLE PROPERLY. OFFERED TO PRODUCE
14
                 RECORDS BUT THEY ADVISED THEY STILL WOULD
15               NOT COVER IT. *TR
16
17         Vehicle: 2015 Kia Optima
18         Date Complaint Filed: 09/29/2016
           Date of Incident: 07/22/2016
19
           Component(s): ENGINE
20         NHTSA ID Number: 10910586
21               SUMMARY:
                 ENGINE FAILURE AT 15 MONTHS OLD AND 42,000
22               MILES. KIA DENIED WARRANTY COVERAGE
23               BECAUSE I COULD NOT PROVE OIL CHANGES. SAME
                 COMPLAINT AS THOUSANDS OF OTHER KIA
24
                 VEHICLES, HAPPENED ABRUPTLY, CAR STARTING
25               MAKING LOUD RATTLING NOISE ON ACCELERATION
26               WHILE DRIVING, NO WARNING, SLUDGE IN ENGINE. I
                 HAD TO PAY OUT OF POCKET FOR A NEW ENGINE TO
27               BE INSTALLED WITH NO ASSISTANCE FROM KIA OR
28               MY LOCAL DEALERSHIP.
                                                   -29-
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 1
 2         Vehicle: 2015 Kia Optima
 3         Date Complaint Filed: 09/09/2016
 4         Date of Incident: 06/10/2016
           Component(s): ENGINE
 5         NHTSA ID Number: 10905150
 6               SUMMARY:
                 MY 2015 KIA OPTIMA HAS 23000 MILES.. I COULDN'T
 7               REMEMBER WHEN I HAD THE OIL CHANGED,BUT I
 8               WAS DRIVING ON 75 COMING FROM FLA. THE AC
                 STOP WORKING AND THEN SHORTLY AFTER THAT
 9
                 THE CAR STARTED TO SLOW DOWN. IT FINALLY
10               CAME TO A COMPLETE STOP, WHEN I GOT IT TO THE
11               KIA DEALERSHIP THEY INFORMED ME THAT THE
                 ENGINE HAD SEIZED .BECAUSE THE SAID I COULD
12               NOT PROVE THAT THE OIL HAD BEEN CHANGED,THE
13               WARRANTY WOULD NOT COVER IT. I BOUGHT THE
                 CAR BRAND NEW. ONLY HAD IT 15 MONTHS. THERE
14
                 WAS NO WARNING LIGHTS OR ANY SIGNS OF
15               TROUBLE .KIA WILL NOT FIX IT, THEY WANT
16               ALMOST 8.000 TO PUT IN A NEW ENGINE.

17
18         Vehicle: 2015 Kia Optima
           Date Complaint Filed: 09/07/2016
19
           Date of Incident: 09/04/2016
20         Component(s): ENGINE
21         NHTSA ID Number: 10904330
                 SUMMARY:
22               AS I WAS DRIVING MY 2015 OPTIMA TO THE STORE
23               MY CHECK ENGINE LIGHT CAME ON. THE NEXT DAY I
                 STARTED MY CAR AND HEARD A RATTLING OR
24
                 TICKING SOUND, THIS WAS ON LABOR DAY, SO I
25               TURNED MY CAR OFF AND CALLED THE
26               DEALERSHIP. DUE TO HOLIDAY THE SERVICE DEPT
                 WAS NOT OPEN. I CALLED THEM AGAIN ON TUESDAY
27               SEPT 6TH AND WAS ADVISED THEY WOULD HAVE IT
28               TOWED. I RECEIVED A PHONE CALL ON TUESDAY
                                                   -30-
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 1                EVENING STATING MY MOTOR HAS SLUDGE AND
                  NEEDS TO BE REPLACED.
 2
 3
 4         Vehicle: 2015 Kia Optima
           Date Complaint Filed: 09/06/2016
 5         Date of Incident: 09/03/2016
 6         Component(s): ENGINE
           NHTSA ID Number: 10904201
 7               SUMMARY:
 8               2015 KIA OPTIMA, ONLY 47K MILES....ENGINE
                 FAILURE...THE DEALERSHIP SAYS ITS SLUDGE... AND
 9
                 I HAVE TO PROVIDE ALL MY MAINTENANCE
10               RECORDS. IT STARTED WITH WHITE SMOKE COMING
11               OUT OF THE TAILPIPE AND LOUD RATTLING NOISE
                 WHEN I ACCELERATED, THEN THIS PAST SATURDAY,
12               IT STARTED TO SHAKE VIOLENTLY AND THE CHECK
13               ENGINE LIGHT WENT ON . I HAD TO GET IT TOWED.
                 THIS IS KIA'S FAULT!!! NOT MINE. I'VE DONE THE
14
                 SAME ROUTINE MAINTENANCE ON MY TOYOTA AND
15               HONDA WHICH HAD OVER 100K MILES WITH NO
16               PROBLEMS! I AM BEING TOLD BY KIA THAT IT WON'T
                 BE COVERED UNDER THE WARRANTY.
17
18
           Vehicle: 2015 Kia Optima
19
           Date Complaint Filed: 06/15/2016
20         Date of Incident: 06/04/2016
21         Component(s): ENGINE
           NHTSA ID Number: 10874312
22               SUMMARY:
23               MY 2015 KIA OPTIMA HAS 26,456 MILES. THE LAST OIL
                 CHANGE WAS PERFORMED AT 26,064 MILES. ON 6/4/16
24
                 WHILE DRIVING APPROX. 50MPH IN 3 LANE TRAFFIC
25               THE ENGINE SEIZED UP, CAR SHUT DOWN AND
26               INTERIOR FILLED WITH SMOKE. HAD VEHICLE
                 TOWED TO KIA. WAS TOLD IT NEEDS A NEW ENGINE
27               DUE TO SLUDGE IN THE OIL. KIA IS REFUSING TO
28               HONOR THE WARRANTY BECAUSE I CANNOT
                                                   -31-
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 1                PRODUCE RECEIPTS FOR PREVIOUS OIL CHANGES. I
                  HAVE RESEARCHED AND MANY OTHER KIA
 2                VEHICLES ARE HAVING VERY SIMILAR PROBLEMS
 3                WITH LOW MILES! THERE HAS TO BE SOMETHING
                  WRONG THAT KIA IS NOT AWARE OF OR IS JUST NOT
 4
                  WILLING TO ADMIT. NOT ONLY WILL THEY NOT FIX
 5                MY VEHICLE BUT I FEAR SOMEONE IS GOING TO GET
 6                HURT OR EVEN KILLED. I INFORMED KIA OF MY
                  CONCERN BUT THEY DID NOT SEEM TO CARE.
 7
 8
          Vehicle: 2015 Kia Optima
 9
          Date Complaint Filed: 05/24/2016
10        Date of Incident: 10/15/2015
11        Component(s): ENGINE
          NHTSA ID Number: 10870505
12              SUMMARY:
13              TL* THE CONTACT OWNS A 2015 KIA OPTIMA. WHILE
                DRIVING 60 MPH, SMOKE EMITTED FROM THE
14
                ENGINE COMPARTMENT WITHOUT WARNING. THE
15              VEHICLE WAS TAKEN TO THE DEALER. THE
16              TECHNICIAN DIAGNOSED THAT THE NUMBER TWO
                CYLINDER WAS DEFECTIVE AND NEEDED TO BE
17              REPLACED. THE VEHICLE WAS NOT REPAIRED. THE
18              FAILURE MILEAGE WAS 58,000.
     ________________________________________________________________________
19
20         Vehicle: 2015 Kia Sorento
21         Date Complaint Filed: 04/25/2017
           Date of Incident: 04/11/2017
22         Component(s): ENGINE
23         NHTSA ID Number: 10980556
                 SUMMARY:
24               WE STARTED HAVING PROBLEMS AT ABOUT 20,000
25               MILES.THE CAR WAS PULLING AS WE TRIED TO
                 ACCELERATE AND SMOKE WOULD BLOW OUT OF
26
                 THE TAILPIPE. WE TOOK IT INTO THE DEALERSHIP IN
27               WHICH THEY STATED WE HAD SLUDGE IN THE
28               ENGINE. THEY STATED TO MAINTAIN REGULAR OIL
                 CHANGES, BUT WE WOULD NEED A NEW ENGINE. 4
                                                   -32-
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 1              MONTHS LATER THEY DID AN OIL CHANGE AND
                STATED THE OIL WAS CLEAR OF SLUDGE. WITHIN 2
 2              WEEKS, WE HEARD A LOUD BANGING SOUND FROM
 3              THE ENGINE, IT GOT LOUDER AND WAS BARELY
                GOING 5 MILES/HR. WE WERE ON A MAJOR ROAD
 4
                AND WERE ABLE TO PULL INTO A PARKING LOT. WE
 5              HAD IT TOWED TO THE DEALERSHIP (CENTRAL KIA
 6              OF PLANO). WITHOUT EVEN LOOKING AT IT, THEY
                SAID IT WAS THE SLUDGE IN THE ENGINE AND WE
 7              NEEDED OUR ENGINE REPLACED ($7000). THEY
 8              WOULD NOT EVEN LOOK UNDER THE HOOD UNTIL
                WE PAID THEM $400 TO OPEN IT UP. THEY STATED
 9              THE WORK WOULD NOT BE COVERED UNDER OUR
10              WARRANTY EVEN THOUGH WE ARE ONLY 2 YEARS
                INTO IT AND AROUND 30,000 MILES. I CALLED KIA
11
                CONSUMER AFFAIRS (800-333-4542) AND THEY
12              CONTACTED THE DEALERSHIP AND THAT'S WHEN
13              THEY FINALLY OPENED THE HOOD AND FOUND
                SLUDGE IN THE ENGINE. THEY TOOK PICTURES AND
14              SENT IT TO KIA "TECH" IN WHICH OUR CLAIM WAS
15              DECLINED DUE TO "LACK OF MAINTENANCE". WE
                PROVIDED RECEIPTS FOR OUR OIL CHANGES. THEY
16
                DID NOT ACCEPT 3 OF THEM BECAUSE THEY DID NOT
17              HAVE A "PO#" AND THEY DID NOT ACCEPT 2 OF MY
18              CREDIT CARD RECEIPTS. I TOLD KIA CONSUMER
                AFFAIRS THE 2015'S ARE HAVING THE SAME ISSUES
19              AS THE RECALLS 2011-2014. SHE STATED THE DMV IS
20              COLLECTING INFORMATION ON THE 2015'S.
                EVERYONE CALL CONSUMER AFFAIRS!! THERE IS AN
21              ENGINE PROBLEM WITH THE 2015'S AND KIA IS NOT
22              STANDING BY THEIR WARRANTY. WE HAVE NOT
23              BEEN PROVIDED A RENTAL CAR. I HAVE ALSO
                ESCALATED THIS ISSUE TO KIA'S "ESCALATION
24              DEPT" IN WHICH THEY STATED TO GET THEM MORE
25              RECEIPTS AND "TECH" CAN REVIEW THE CASE
                AGAIN! I HAVE GATHERED MORE RECEIPTS
26              INCLUDING HOW OFTEN WE WERE PUTTING OIL IN
27              BETWEEN OIL CHANGES.
     ________________________________________________________________________
28
          Vehicle: 2015 Kia Sorento
                                                   -33-
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 1        Date Complaint Filed: 08/24/2016
          Date of Incident: 07/01/2016
 2        Component(s): ENGINE
 3        NHTSA ID Number: 10898199
                SUMMARY:
 4
                I WAS DRIVING DOWN THE ROAD WITH MY 4
 5              CHILDREN IN THE CAR AT 45 MPH WHEN ALL OF A
 6              SUDDEN MY CAR COMPLETELY LOST POWER.
                LUCKILY I WAS ABLE TO COAST TO THE SIDE OF THE
 7              ROAD. IT WAS OVER A 100 DEGREES OUTSIDE AND
 8              MY 4 KIDS UNDER 6 HAD TO SIT AND WAIT ON A RIDE
                IN THE HEAT. THE CAR HAS 40,000 MILES ON IT AND
 9              HAS HAD 7 OIL CHANGES, OF WHICH I HAVE
10              PROVIDED THE RECEIPTS FOR. THERE IS ENGINE
                SLUDGE DESPITE THE FACT THAT THE OIL WAS
11
                CHANGED MORE FREQUENTLY THAN THE MANUAL
12              SUGGESTED 7500 MILES,
13   ________________________________________________________________________
          Vehicle: 2015 Kia Sorento
14        Date Complaint Filed: 06/23/2017
15        Date of Incident: 12/01/2014
          Component(s): ENGINE
16
          NHTSA ID Number: 11000887
17              SUMMARY:
18              (AMENDMENTS TO ODI#S: 10668775 & 10663356 -
                UPDATE)
19
20                ON 12/01/2014, I WAS IN A 2015 KIA SORENTO LX
                  (ENTERPRISE INSURANCE RENTAL) TRAVELING ON
21                CRABB RIVER ROAD, (A CITY STREET) SUGARLAND,
22                TEXAS. I FULLY STOPPED AT THE TRAFFIC LIGHTS
23                BECAUSE IT WAS RED. ONCE LIGHTS TURNED GREEN,
                  I PUT THE VEHICLE IN MOTION BY STEPPING ON THE
24                GAS PEDAL TO ACCELERATE BUT THE CAR FELT
25                REALLY SLUGGISH SO I GAVE IT MORE GAS IN
                  ORDER TO GAIN ENOUGH SPEED AS I WAS ABOUT TO
26                GO OVER SOME RAILROAD TRACKS (APPROX. 55+
27                MPH) WHICH WERE ON A ROAD THAT WAS ON AN
                  INCLINE. RIGHT AS THE CAR REACHED THE TRACKS,
28
                  THE ENGINE STALLED, THE STEERING WHEEL
                                                   -34-
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 1              LOCKED AND I LOST ALL CONTROL OF THE VEHICLE
                AND IT DOVE INTO A DITCH; PLOWED DIRECTLY
 2              INTO A STEEL BILLBOARD POLE WHICH WAS
 3              CEMENTED INTO THE GROUND BECAUSE THE
                BRAKES BECAME UNRESPONSIVE. THERE WERE NO
 4
                WARNING LIGHTS ON THE DASH PRIOR TO THE
 5              CRASH. EVEN THOUGH I WAS FULLY BUCKLED, THE
 6              SEATBELT DID NOT PREVENT MY HEAD FROM
                VIOLENTLY HITTING THE WINDSHIELD AND
 7              BOUNCING OFF THE STEERING WHEEL SINCE NONE
 8              OF THE 8 AIRBAGS DEPLOYED. I SUFFERED NEAR
                FATAL INJURIES INCLUDING A BROKEN BACK (L2
 9              FRACTURE), SPINAL CORD, HEAD, EYE, CHIN, JAWS,
10              NECK AND HIP; BROKEN TEETH, PERMANENT
                DISFIGURATION (18 STITCHES), SOME VISION &
11
                HEARING LOSS FROM NERVE DAMAGE AND PTSD,
12              MENTAL ANGUISH, CHRONIC MIGRAINES, EXTREME
13              STRESS, TERRIBLE RECURRING NIGHTMARES, ETC.
                I'M A 5'2" WOMAN AND MY CHEST WAS PINNED TO
14              THE STEERING WHEEL UPON THE IMPACT WITH THE
15              POLE AND THE FIRE DEPT. HAD TO FREE ME AND
                LIFT ME UP TO THE EMTS. I WAS TRANSPORTED TO
16
                THE ER OF A HOSPITAL BY AMBULANCE AND LATER
17              TRANSFERRED TO THE TRAUMA UNIT OF MEMORIAL
18              HERMANN HOSPITAL DUE TO THE SEVERITY OF MY
                INJURIES.
19   ________________________________________________________________________
20        Vehicle: 2016 Kia Sorento
          Date Complaint Filed: 10/12/2017
21        Date of Incident: 10/09/2017
22        Component(s): ENGINE
23        NHTSA ID Number: 11033167
                SUMMARY:
24              VEHICLE STALLED WHILE DRIVING WITH SPEED ON
25              NORMANDIE AVE IN TORRANCE CALL TRIPLE FOR
                THEM TO TOW IT TO KIA DEALER. RECEIVED A
26              CALLED FROM DEALER SAYING THE ENGINE BLOWN
27              OUT. AT 50000 MILES. TECHNICIAN FROM KIA
                MENTIONED IT'S A RECALL.
28
                                                   -35-
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 1         Vehicle: 2015 Kia Sportage
           Date Complaint Filed: 09/13/2017
 2         Date of Incident: 08/23/2017
 3         Component(s): ENGINE
           NHTSA ID Number: 11022956
 4
                 SUMMARY:
 5               I WAS DRIVING ON THE FREEWAY AT 65 MPH IN THE
 6               SLOW LANE WHEN THE CHECK ENGINE LIGHT
                 SUDDENLY CAME ON, THEN ALL THE SERVICE
 7               LIGHTS LIT UP AND THE CAR BEGAN LOSING POWER.
 8               LUCKILY, I WAS COMING TO AN OFFRAMP AND WAS
                 ABLE TO MAKE IT TO THE END OF THE OFFRAMP
 9               (SIGNAL) BEFORE THE CAR DIED COMPLETELY. WE
10               HAD TO PUSH THE CAR OUT OF THE ROAD AND
                 AROUND THE CORNER TO A CURB AS WE WERE
11
                 BLOCKING ONE SIDE OF THE OFFRAMP. HAD I NOT
12               BEEN IN THE SLOW LANE AND NEAR AN OFFRAMP,
13               THE CAR WOULD HAVE DIED ON THE FREEWAY
                 WHICH WOULD HAVE BEEN A MUCH MORE
14               DANGEROUS SITUATION. WAS TOLD BY KIA SERVICE
15               DEPT. THAT THE ENGINE BLEW BECAUSE OF SLUDGE
                 IN THE OIL.
16
17
           b.     Previous Model Year Kia GDI Engine Complaints
18
19         Vehicle: 2011 Kia Optima
20         Date Complaint Filed: 10/16/2014
           Component(s): ENGINE
21         Date of Incident: 10/12/2014
22         NHTSA ID Number: 10645013
23         Manufacturer: Kia Motors America
           Vehicle Identification No. (VIN): KNAGN4A61B5 . . .
24               SUMMARY:
25               TL* THE CONTACT OWNS A 2011 KIA OPTIMA. THE
                 CONTACT STATED THAT WHILE DRIVING 75 MPH AT
26               NIGHT WITH THE CRUISE CONTROL ACTIVATED,
27               THERE WAS SMOKE COMING FROM UNDER THE
                 HOOD AND THE VEHICLE ENGULFED INTO
28
                 FLAMES. THE FIRE DEPARTMENT EXTINGUISHED
                                                   -36-
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 1                THE FIRE. A POLICE/FIRE REPORT WAS FILED AND
                  THERE WERE NO INJURIES REPORTED. THE VEHICLE
 2                WAS DESTROYED AND THE CAUSE OF THE FIRE WAS
 3                NOT DETERMINED. THE MANUFACTURER WAS NOT
                  MADE AWARE OF THE FAILURE. THE FAILURE
 4
                  MILEAGE WAS 51,500.
 5
 6
           Vehicle: 2011 Kia Optima
 7         Date Complaint Filed: 04/16/2015
 8         Date of Incident: 03/31/2015
           Component(s): ELECTRICAL SYSTEM, ENGINE
 9
           NHTSA ID Number: 10706020
10               SUMMARY:
11               TL* THE CONTACT OWNS A 2011 KIA OPTIMA. WHILE
                 TRAVELING AT APPROXIMATELY 50 MPH AND
12               ATTEMPTING TO SLOW DOWN FOR A STOP LIGHT,
13               THE VEHICLE STALLED WITHOUT WARNING AND
                 FAILED TO RESTART. THE VEHICLE WAS TOWED TO
14
                 AN AUTHORIZED DEALER WHO DIAGNOSED THAT
15               THE STARTER BURNED OUT AND THAT THE ENGINE
16               SEIZED. THE DEALER REPLACED THE STARTER AND
                 WAS NOT ABLE TO DIAGNOSE THE SOURCE OF THE
17               FAILURE. THE CONTACT WAS INFORMED THAT A
18               MORE EXTENSIVE DIAGNOSIS WAS REQUIRED AND
                 THE ENGINE NEEDED TO BE TAKEN APART. THE
19               ENGINE FAILURE WAS NOT REPAIRED BY THE
20               DEALER. THE VEHICLE WAS NOT ABLE TO BE
21               DRIVEN. THE MANUFACTURER WAS NOTIFIED OF
                 THE FAILURE. THE FAILURE MILEAGE WAS NOT
22               AVAILABLE.
23
24
           Vehicle: 2011 Kia Optima
25         Date Complaint Filed: 05/29/2015
26         Date of Incident: 05/27/2015
           Component(s): ENGINE, SERVICE BRAKES
27         NHTSA ID Number: 10722186
28               SUMMARY:
                                                   -37-
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 1                I HAVE A 2011 KIA OPTIMA LX, 2.4 LITER ENGINE.
                  ALWAYS KEEP UP ON THE MAINTENANCE AND OIL
 2                CHANGES, CAR IS IN GREAT SHAPE. I WAS NOT
 3                EXPERIENCING ANY ISSUES, WARNINGS, NO CHECK
                  ENGINE/OIL LIGHTS, NO NOISES, ABSOLUTELY
 4
                  NOTHING. THEN LAST NIGHT MY CAR JUST
 5                SPUTTERED AND CUT OFF WHILE BEING DRIVEN.
 6                APPARENTLY WHEN THE ENGINE CUTS OFF, SO
                  DOES THE BRAKES. THERE WAS NO WAY TO PUSH
 7                THE BRAKES, SO I HAD TO TRY TO SAFELY COAST
 8                TO THE SIDE OF THE ROAD, WITH NO BRAKES AND
                  NO POWER STEERING. I FINALLY PULLED OVER,
 9                TRIED TO RESTART THE CAR AND THERE WAS SUCH
10                A LOUD KNOCKING NOISE, AND SOME SQUEALING
                  NOISES AS WELL. THE CAR WILL NO LONGER START
11
                  EITHER. I HAD A MECHANIC LOOK AT IT TODAY AND
12                SAYS THE ENGINE IS "JUST GONE." NO
13                EXPLANATIONS AT ALL. I VERIFIED THAT THE KIA
                  OPTIMA AND THE HYUNDAI SONATA ARE THE SAME
14                MANUFACTURER AND USE THE SAME ENGINES. I SEE
15                THERE ARE WAY MORE COMPLAINTS ABOUT THE
                  2011 HYUNDAI SONATA WITH THIS SAME ISSUE. I
16
                  WILL TRY TO NOTIFY KIA AND SEE IF THEY ARE
17                WILLING TO STEP UP AND CORRECT THIS EVEN WITH
18                THE WARRANTY EXPIRING 7,000 MILES AGO, SINCE I
                  AM THE SECOND OWNER. I HAVE FOUND MANY
19                COMPLAINTS ABOUT THIS SAME THING FOR BOTH
20                THE 2011 OPTIMAS AND SONATAS. THIS IS SO
                  DANGEROUS BECAUSE THERE ARE NO WARNINGS,
21                AND THE ENGINE CUTS OFF IN TRAFFIC, WHICH ALSO
22                CAUSES THE BRAKES AND STEERING TO GO OUT.
23                NOT SAFE AT ALL.

24
25         Vehicle: 2011 Kia Optima
           Date Complaint Filed: 08/24/2015
26
           Date of Incident: 08/24/2013
27         Component(s): ENGINE
28         NHTSA ID Number: 10778079
                 SUMMARY:
                                                   -38-
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 1                DRIVING DOWN EXPRESS WHEN ENGINE STARTED TO
                  LOOSE OIL. PULLED OVER ON SHOULDER, NOTICE A
 2                CLICKING NOISE AND SMELLED BURNING OIL.
 3                DEALER FOUND HOLE IN SIDE OF ENGINE BLOCK.
                  STATED NEEDS NEW ENGINE AND QUOTED AND
 4
                  ESTIMATED PRICE OF $5,875.64 FOR A USED ENGINE
 5                WITH 46,000 MILES INSTALLED. HAD CAR REPAIRED
 6                AT ANOTHER PLACE FOR $5477.06 WITH 41,000 MILES.
                  THIS SHOP SAID THE ENGINE HAD A ROD KNOCK
 7                THEN LOCKED UP. NEEDS THE ENGINE REPLACED.
 8                THIS IS THE SAME 2.4 LITER ENGINE THAT IS
                  BEING RECALLED FOR THE HYUNDAI SONATAS.
 9
10
11         Vehicle: 2011 Kia Optima
           Date Complaint Filed: 09/29/2015
12         Date of Incident: 06/21/2015
13         Component(s): ENGINE
           NHTSA ID Number: 10778375
14
                 SUMMARY:
15               TL* THE CONTACT OWNS A 2011 KIA OPTIMA. WHILE
16               DRIVING AT APPROXIMATELY 40 MPH, THE CHECK
                 ENGINE WARNING LIGHT ILLUMINATED. THE
17               DRIVER SHUT OFF THE VEHICLE AND IT FAILED
18               TO RESTART. THE VEHICLE WAS TOWED TO A
                 DEALER WHO DIAGNOSED THAT THE ENGINE
19               NEEDED TO BE REPLACED. THE MANUFACTURER
20               WAS NOTIFIED OF THE FAILURE. THE VEHICLE WAS
21               NOT REPAIRED. THE FAILURE MILEAGE WAS 71,106.

22
23         Vehicle: 2011 Kia Optima
           Date Complaint Filed: 11/09/2015
24
           Date of Incident: 10/31/2015
25         Component(s): ELECTRICAL SYSTEM , ENGINE
26         NHTSA ID Number: 10789435
                 SUMMARY:
27               WHILE DRIVING 70 MPH ON THE HIGHWAY MY
28               2011 KIA OPTIMA ENGINE SHUT DOWN AND WOULD
                                                   -39-
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 1                NOT ACCELERATE AND THE BRAKES WOULD NOT
                  FUNCTION. LUCKILY, I SAFELY MADE IT TO THE FAR
 2                SHOULDER OF THE HIGHWAY ONLY TO FIND THAT
 3                MY CAR WAS SMOKING AND SMELLED LIKE
                  SOMETHING WAS BURNING. HAD TO GET THE CAR
 4
                  TOWED TO THE DEALERSHIP AND THEY INFORMED
 5                THE ENGINE NEEDS TO BE REPLACED AND THE
 6                STARTER IS ALSO FRIED. I HAVE SEEN FOUR
                  COMPLAINTS SO FAR OF 2011 KIA OPTIMA'S WITH
 7                THE SAME ISSUE AND AM SURE I WILL FIND MORE.
 8                THAT SEEMS LIKE TOO MUCH OF A COINCIDENCE
                  THAT IT HAPPENS SO FREQUENTLY WITH THESE
 9                MODELS AND THERE ISN'T ANY SORT OF RECALL. NO
10                BREAKS AT 70 MPH IS PRETTY DANGEROUS. I HAVE
                  CONTACTED MY ATTORNEY AND HOPE THIS
11
                  MANUFACTURER WILL DO THE RIGHT THING.
12
13
           Vehicle: 2011 Kia Optima
14
           Date Complaint Filed: 12/13/2015
15         Date of Incident: 12/06/2015
16         Component(s): ENGINE
           NHTSA ID Number: 10809924
17               SUMMARY:
18               WAS DRIVING DOWN THE INTERSTATE AND THE CAR
                 DIED AFTER PULLING OFF TO THE SHOULDER TRIED
19               TO START THE CAR AND ALL IT WOULD DO WAS
20               CLICK. TOWED THE CAR HOME THINKING IT WAS AN
21               ALTERNATOR OR SOMETHING SIMPLE. NEXT
                 MORNING LOOKED AT THEN CHANGED THE
22               BATTERY AND TRIED TO GET IT STARTED IN
23               SLIGHTLY TURNED OVER BUT NOT ENOUGH TO
                 START CALLED THE DEALER TO DROP IT OFF AND
24               THEY SAID CAR WAS SEIZED OUT OF WARRANTY
25               AND NEEDS THE ENGINE REPLACED. AFTER
                 SEARCHING ON THE INTERNET AND LOOKING AT
26
                 COMPLAINTS FOUND THAT MY ENGINE WAS BUILT
27               AT THE SAME PLANT AS THE HYUNDAI SONATA
28               SAME ENGINE, WHICH IS RECALLED FOR THIS
                 SAME EXACT PROBLEM . I AM WONDERING WHY
                                                   -40-
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 1                KIA ACTED LIKE THE CANT BELIEVE THIS WOULD
                  HAPPEN WHEN THESE CARS SHOULD BE
 2                RECALLED ALSO . WHAT CAN BE DONE HERE ? I
 3                WILL NOT LET THIS GO IT IS WRONG KIA'S SHOULD
                  BE LOOKED INTO AND RECALLED
 4
 5
 6         Vehicle: 2011 Kia Optima
           Date Complaint Filed: 02/29/2016
 7         Date of Incident: 05/09/2015
 8         Component(s): ENGINE
           NHTSA ID Number: 10838965
 9
                 SUMMARY:
10               TL-THE CONTACT OWNS A 2011 KIA OPTIMA. THE
11               CONTACT STATED THAT WHILE DRIVING
                 APPROXIMATELY 60 MPH, AN ABNORMAL SOUND
12               EMITTED FROM UNDER THE HOOD OF THE
13               VEHICLE AS THE CHECK ENGINE OIL WARNING
                 LIGHT FLICKERED. THE VEHICLE WAS TAKEN TO
14
                 AN INDEPENDENT MECHANIC WHERE IT WAS
15               DIAGNOSED THAT THE CONNECTING ROD FAILED
16               AND THE ENGINE NEEDED TO BE REPLACED. THE
                 VEHICLE WAS NOT REPAIRED. THE MANUFACTURER
17               WAS NOT NOTIFIED OF THE FAILURE. THE FAILURE
18               MILEAGE WAS 92,000. SS
19
20         Vehicle: 2012 Kia Optima
21         Date Complaint Filed: 09/23/2014
           Date of Incident: 09/22/2014
22         Component(s): ENGINE
23         NHTSA ID Number: 10638362
                 SUMMARY:
24
                 DRIVING VEHICLE AT 35-40 MPH. ALL OF A SUDDEN
25               ENGINE STOPPED. THERE WAS HEAVY SMOKE
26               COMING FROM UNDER THE HOOD AND SMELLED OF
                 AN ELECTRICAL FIRE. SMOKE DISSIPATED AFTER 15
27               MINUTES. VEHICLE WAS UNABLE TO BE RESTARTED
28               AND HAD TO BE TOWED TO KIA DEALERSHIP IN
                                                   -41-
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 1                TURNERSVILLE NJ. SPOKE WITH DEALERSHIP ON 9/23
                  AND WAS TOLD STARTER AND ENGINE NEEDS TO BE
 2                REPLACED. *TR
 3
 4
           Vehicle: 2012 Kia Optima
 5         Date Complaint Filed: 09/26/2014
 6         Date of Incident: 09/11/2014
           Component(s): ENGINE
 7         NHTSA ID Number: 10639417
 8               SUMMARY:
                 TL* THE CONTACT OWNS A 2012 KIA OPTIMA. THE
 9
                 CONTACT STATED THAT WHILE DRIVING AT
10               APPROXIMATELY 70 MPH, THE ENGINE STALLED
11               WITHOUT WARNING. IN ADDITION, A STRONG
                 ELECTRICAL BURNING ODOR EMITTED INSIDE OF
12               THE VEHICLE. THE VEHICLE WAS TOWED TO A
13               DEALER FOR DIAGNOSIS. THE MECHANIC INFORMED
                 THAT THE STARTER AND ASSOCIATED FUSES WERE
14
                 COMPLETELY BURNT. THE VEHICLE WAS REPAIRED.
15               THE CONTACT STATED THAT AFTER THE REPAIRS
16               WERE PERFORMED, THE VEHICLE FAILED TO START.
                 THE VEHICLE WAS TAKEN BACK TO THE DEALER
17               WHO RECOMMENDED THE ENGINE NEEDED TO BE
18               REPLACED. THE VEHICLE WAS NOT REPAIRED. THE
                 MANUFACTURER WAS NOTIFIED OF THE FAILURE.
19               THE VIN WAS UNAVAILABLE. THE APPROXIMATE
20               FAILURE MILEAGE WAS 55,000.
21
22
23         Vehicle: 2012 Kia Optima
           Date Complaint Filed: 09/30/2015
24
           Date of Incident: 08/02/2015
25         Component(s): ENGINE
26         NHTSA ID Number: 10778891
                 SUMMARY:
27               I WAS DRIVING ON I 95 ON OUR WAY HOME FROM
28               FLORIDA. WE WERE PASSING FAYETTSVILLE ,NC
                                                   -42-
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 1                WHEN MY CAR ENGINE MADE SOME KNOCKING
                  NOISE AND THEN THE ENGINE LIGHT CAME ON,
 2                BEFORE I CAN PULL TO THE SHOULDER, THE CAR
 3                STALLED,LOST POWER AT 70 MLS PER HR. WE
                  WERE LUCKY NO ONE HIT US AS I WAS SLOWLY
 4
                  NAVIGATING TO THE SHOULDER. I HAD IT TOWED
 5                TO A KIA DEALERSHIP IN FAYETTSVILLE,NC. THEY
 6                SAID ENGINE SEIZED UP AND NEEDS TO BE REPLACE.
                  THE CAR HAS 71,000MLS BUT KIA DENIED MY
 7                WARRANTY CLAIM SO I END UP PAYING $5,700 FOR A
 8                REMANUFACTURED ENGINE.
 9
10         Vehicle: 2012 Kia Optima
11         Date Complaint Filed: 12/14/2015
           Date of Incident: 11/28/2015
12         Component(s): ENGINE
13         NHTSA ID Number: 10809989
                 SUMMARY:
14
                 THE VEHICLE HIT 63,000 MILES DURING THIS
15               INCIDENT. AS I WAS MERGING ONTO THE
16               EXPRESSWAY AT 50MPH, I GOT THE VEHICLE TO
                 60MPH AND THE SPEEDOMETER GAUGE FROZE AT
17               60MPH. THEN, THE RPM GAUGE DROPPED TO 0.
18               SUDDENLY THE ENGINE LOST POWER, THE
                 BRAKES LOCKED UP AND BEFORE I GOT THE CAR
19               OFF TO THE SHOULDER AT A COMPLETE STOP,
20               THE ENGINE CUT OUT COMPLETELY. THE ENGINE
21               WOULD NOT START AT ALL AFTER IT CUT OUT. I
                 THEN BROUGHT THE VEHICLE TO A DEALERSHIP
22               WHERE THEY DEEMED A NEW ENGINE AS THE
23               CURRENT ENGINE BLEW.
24
25         Vehicle: 2012 Kia Optima
26         Date Complaint Filed: 01/21/2016
           Date of Incident: 01/13/2016
27         Component(s): ENGINE
28         NHTSA ID Number: 10821364
                                                   -43-
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 1                SUMMARY:
                  DRIVING AT APPROXIMATELY 50 MPH ON THE
 2                PARKWAY, ENGINE STALLED WITHOUT WARNING
 3                AND WOULD NOT RE-START. I HAD THE CAR TOWED
                  TO A SHOP WHERE THEY INFORMED ME THE ENGINE
 4
                  HAD SEIZED. THERE WAS DEFINITELY OIL IN THERE
 5                AS I HAD AN OIL CHANGE WITHIN THE LAST COUPLE
 6                OF WEEKS,. THE CAR HAS 72K MILES ON IT AND I AM
                  THE SECOND OWNER SO NOT COVERED BY KIA'S
 7                NON-TRANSFERABLE 10YR/100K MI WARRANTY.
 8                WORKING WITH KIA CUSTOMER SERVICE, WAITING
                  TO HEAR BACK FROM A SUPERVISOR.
 9
10
11         Vehicle: 2013 Kia Optima
           Date Complaint Filed: 06/14/2013
12         Date of Incident: 06/12/2013
13         Component(s): ENGINE
           NHTSA ID Number: 10519827
14
                 SUMMARY:
15               DRIVING ON A CITY ROAD DURING NORMAL TRAFFIC
16               (4:30PM EST) MY VEHICLE BEGAN TO MAKE LARGE
                 RATTLING NOISE FROM THE ENGINE COMPARTMENT.
17               AT FIRST I THOUGHT I HAD PICKED UP SOMTHING ON
18               THE ROAD, BUT AS I ACCELERATED/DECCELERATED
                 THE NOISE BECAME LOUDER/SOFTER. I
19               IMMEDIATLEY CONTACTED MY KIA DEALERSHIP.
20               AFTER SPEAKING TO THE SERVICE MANAGER HE
21               TOLD ME TO BRING THE VEHICLE IN NEXT WEEK
                 SINCE THAT WOULD BE THE SOONEST IT COULD BE
22               LOOKED AT. I INFORMED HIM THAT I DID'NT THINK I
23               COULD EVEN MAKE IT HOME LET ALONE WAIT A
                 WEEK TO BRING THE VEHICLE IN. HE STATED I
24               COULD DROP IT OFF, BUT IT WOULD NOT BE LOOKED
25               AT UNTIL NEXT WEEK. EITHER WAY, WITHIN 10
                 MIUTES OF DRIVING A LARGE BANGING NOISE WENT
26
                 OFF UNDER THE HOOD, ENGINE OIL SPRAYED
27               THROUGHT THE ENGINE COMPARTMENT AND I HAD
28               COMPLETE LOSS OF POWER. KIA ROADSIDE
                 ASSISTANCE TOWED THE VEHICLE TO THE
                                                   -44-
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 1                DEALERSHIP WHERE THEY HAVE INFORMED ME
                  THAT THE ENGINE NEEDS TO BE REPLACED. THE
 2                VEHICLE IS LESS THAN 2 WEEKS OLD AND HAD 600
 3                MILES WHEN THIS OCCURED. I INFORMED THE
                  DEALERSHIP I WOULD NOT WANT A VEHICLE WITH A
 4
                  REPLACED ENGINE AND THEY HAVE INFORMED ME
 5                THAT IS MY ONLY OPTION. I WILL NOT BE
 6                PURCHASING FROM KIA AGAIN AS THERE WAS NO
                  SUPPORT FROM THEIR CORPORATE CUSTOMER
 7                SERVICE EITHER. *TR
 8
 9
           Vehicle: 2013 Kia Optima
10         Date Complaint Filed: 08/17/2015
11         Date of Incident: 08/12/2015
           Component(s): ENGINE
12         NHTSA ID Number: 10749310
13               SUMMARY:
                 THE EVENING OF 8/12/15 I WAS DRIVING DOWN A 4
14
                 LANE CITY ROAD, 2 LANES EACH DIRECTION. THE
15               ENGINE COMPLETELY SHUT OFF LEAVING ME
16               WITH NO POWER AND IN A VERY DANGEROUS
                 SITUATION WITH SUDDEN DECELERATION AND
17               VEHICLES COMING UP FROM BEHIND.
18               FORTUNATELY, NO ONE HIT ME AND I WAS ABLE TO
                 MOVE THE CAR OUT OF TRAFFIC. NO ENGINE
19               MAINTENANCE/WARNING LIGHTS CAME ON PRIOR
20               TO THE ENGINE FAILURE. WE HAVE BEEN INFORMED
21               THE ENGINE IS LOCKED UP AND WILL NEED
                 COMPLETELY REPLACE WITH A NEW ENGINE.
22               ROUTINE MAINTENANCE, INCLUDING KIA'S 22,500
23               MILE RECOMMENDED MAINTENANCE WAS
                 PERFORMED ONLY 16 DAYS PRIOR ON 7/27/15. DAVE
24               GREEN, KIA ARAPAHOE SERVICE MANAGER,
25               INFORMED TODAY (8/17/15) THAT THEY HAVE SEEN
                 SEVERAL INSTANCES OF THIS IN THE PAST WEEK.
26
                 THEY BELIEVE THERE IS A CONNECTION TO THE HOT
27               WEATHER. WHAT EVER THE CAUSE THIS HAS A VERY
28               HIGH POTENTIAL TO CAUSE DEATH OR EXTREME
                 INJURY
                                                   -45-
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 1
           Vehicle: 2011 Kia Sorento
 2         Date Complaint Filed: 10/11/2011
 3         Date of Incident: 07/18/2011
 4         Component(s): ENGINE AND ENGINE COOLING
           NHTSA ID Number: 10429442
 5               SUMMARY:
 6               WHILE DRIVING DOWN THE EXPRESSWAY, WITHOUT
                 WARNING, THERE WAS A CATASTROPHIC ENGINE
 7               FAILURE CAUSING ONE OR TWO OF THE
 8               CONNECTING RODS TO BLOW THROUGH THE OIL PAN
                 AND START A FIRE FROM THE FRONT OF THE
 9
                 VEHICLE TO THE BACK UNDERNEATH THE
10               CARRIAGE. THE FLAMES CAME UP THE SIDES AND
11               BACK OF THE CAR. NEEDLESS TO SAY IT WAS
                 EXTREMELY FRIGHTENING. LOOKING AT THE
12               DAMAGE OF THE CAR I NEVER EXPECTED THEM TO
13               ATTEMPT TO REPAIR THIS CAR YET THEY DID. THE
                 CAR WAS DOWN FOR ALMOST TWO MONTHS, THE
14
                 SECOND ENGINE AND POWER STEERING FAILED
15               BEFORE WE EVEN DROVE THE REPAIRED CAR OFF
16               THE LOT. KIA STILL DID NOT WANT TO DO
                 ANYTHING BUT REPAIR THE CAR AGAIN. THEY SAID,
17               "THESE THINGS HAPPEN THATS WHY YOU HAVE A
18               WARRANTY". THESE THINGS HAVE NEVER
                 HAPPENED TO ME OR ANYONE I KNOW IN THE 30
19               YEARS I HAVE BEEN DRIVING. YOU BUY A NEW CAR
20               TO AVOID SUCH PROBLEMS. THE CAR HAS NOW
21               BEEN RETURNED TO ME AND IT IS STILL NOT RIGHT. I
                 JUST TOOK IT IN FOR THEM TO BLOW OUT THE
22               VENTS AND FILTERS. THERE WAS STILL REMNANTS
23               OF THE FIRE EXTINGUISHER COMING OUT WHEN
                 YOU TURNED ON THE AIR. THIS CAR IS DEFECTIVE
24               AND SHOULD HAVE A SALVAGED TITLE. I WAS
25               FORCED TO PUT IN A LAW SUIT. *KB
26
27         Vehicle: 2011 Kia Sorento
28         Date Complaint Filed: 08/02/2017
                                                   -46-
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 1         Date of Incident: 03/16/2016
           Component(s): ENGINE
 2         NHTSA ID Number: 11012248
 3               SUMMARY:
                 BEGINNING MARCH OF 2016, LOUD BANGING AND
 4
                 CLANKING WHEN STARTING ENGINE. I TOOK IT TO
 5               DEALERSHIP WHERE THEY DIAGNOSED IT WITH
 6               BEARING PROBLEM WHICH COULD POTENTIALLY
                 CAUSE ENGINE FAILURE. VEHICLE OUT OF
 7               WARRANTY SO NO COVERAGE FOR AN ESTIMATED
 8               6,000.00 REPAIR. WHEN MENTION OF RECALL CAME
                 OUT I WAS RELIEVED AS I AM STILL DRIVING THE
 9               VEHICLE. HOWEVER, IT SEEMS THAT THE RECALL
10               ONLY COVERS 2012 OR NEWER MODELS. THE 2011'S
                 HAVE MAJOR ENGINE ISSUES AS WELL AND NEED TO
11
                 BE INCLUDED IN THE RECALL
12
13
           Vehicle: 2011 Kia Sorento
14
           Date Complaint Filed: 05/15/2017
15         Date of Incident: 05/07/2017
16         Component(s): ENGINE
           NHTSA ID Number: 10985666
17               SUMMARY:
18               TL* THE CONTACT OWNS A 2011 KIA SORENTO. THE
                 CONTACT STATED THAT A METAL BANGING NOISE
19               WAS HEARD UNDERNEATH THE HOOD OF THE
20               VEHICLE. THE CONTACT TOOK THE VEHICLE TO THE
21               DEALER WHERE IT WAS DIAGNOSED THAT THE
                 MOTOR FAILED AND NEEDED TO BE REPLACED. THE
22               VEHICLE HAD NOT BEEN REPAIRED. THE
23               MANUFACTURER OPENED CASE NUMBER: K3454763.
                 THE APPROXIMATE FAILURE MILEAGE WAS 63,000.
24
25
26         Vehicle: 2011 Kia Sorento
           Date Complaint Filed: 04/20/2017
27         Date of Incident: 03/27/2017
28         Component(s): ENGINE
                                                   -47-
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     Case 8:17-cv-00838-JLS-JDE Document 84 Filed 07/31/18 Page 51 of 127 Page ID
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 1         NHTSA ID Number: 10979469
               SUMMARY:
 2             TL* THE CONTACT OWNS A 2011 KIA SORENTO.
 3             WHILE DRIVING 55 MPH, THE ENGINE STALLED AND
               THE WARNING INDICATOR ILLUMINATED. THE
 4
               CONTACT PULLED THE VEHICLE OVER TO THE SIDE
 5             OF THE ROAD. THE VEHICLE FAILED TO RESTART.
 6             THE VEHICLE WAS TOWED TO THE DEALER WHERE
               IT WAS DIAGNOSED THAT THE ENGINE NEEDED TO
 7             BE REPLACED. THE VEHICLE WAS NOT REPAIRED.
 8             THE MANUFACTURER WAS MADE AWARE OF THE
               FAILURE. THE FAILURE MILEAGE WAS 96,000.
 9
10
11         Vehicle: 2011 Kia Sorento
           Date Complaint Filed: 04/12/2017
12         Date of Incident: 04/07/2017
13         Component(s): ENGINE
           NHTSA ID Number: 10972008
14
                 SUMMARY:
15               THE ENGINE BEGAN TO BE HARD TO START LEAVING
16               WORK FOR HOME. THEN THE NEXT MORNING IT WAS
                 HARD TO START AND WOULD ALMOST STALL AT
17               IDLE. AFTER PARKING AT WORK I ATTEMPTED TO
18               START IT AND DRIVE TO THE KIA DEALERSHIP FOR
                 DIAGNOSIS, IT WOULD NOT KEEP RUNNING MORE
19               THAN A FEW SECONDS.
20
21                THE ENGINE HAS SUFFERED A CATASTROPHIC
                  FAILURE. THE DEALER SAYS THAT IT IS LIKELY THAT
22                THE CRANK SHAFT BEARINGS FAILED, OR POSSIBLY
23                THE CONNECTING ROD BEARINGS. THE ENGINE
                  NEEDS TO BE REPLACED.
24
25
26         Vehicle: 2011 Kia Sorento
           Date Complaint Filed: 04/10/2017
27         Date of Incident: 02/10/2017
28         Component(s): ENGINE
                                                   -48-
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 1         NHTSA ID Number: 10971641
               SUMMARY:
 2             TL* THE CONTACT OWNS A 2011 KIA SORENTO. THE
 3             CONTACT NOTICED SMOKE COMING FROM THE
               VEHICLE AND DISCOVERED THAT IT WAS LOW ON
 4
               OIL. THE VEHICLE WAS TAKEN TO THE DEALER
 5             WHERE IT WAS DIAGNOSED THAT THE BEARING WAS
 6             FAULTY AND CAUSED AN OIL LEAK. THERE WAS
               SLUDGE IN THE MOTOR, WHICH NEEDED TO BE
 7             REPLACED. THE VEHICLE WAS NOT REPAIRED. THE
 8             CONTACT REFERENCED NHTSA CAMPIAGN NUMBER:
               17V224000 (ENGINE AND ENGINE COOLING) AS A
 9             POSSIBLE SOLUTION TO THE FAILURE; HOWEVER,
10             THE VIN WAS NOT INCLUDED. THE MANUFACTURER
               WAS NOTIFIED OF THE FAILURE. THE FAILURE
11
               MILEAGE WAS 55,000.
12
13
           Vehicle: 2011 Kia Sorento
14
           Date Complaint Filed: 03/21/2017
15         Date of Incident: 02/27/2017
16         Component(s): ENGINE
           NHTSA ID Number: 10967659
17               SUMMARY:
18               ON FEBRUARY 27, 2017, MY 2011 KIA SORENTO'S
                 ENGINE DIED. I HAD ONLY ONE WARNING THAT
19               THERE WAS A PROBLEM AND THAT WAS A LACK OF
20               POWER. I WAS GOING UP A SLIGHT HILL AND I HAD
21               TO FLOOR THE GAS PEDAL TO MAINTAIN 20MPH UP
                 IT. I WENT OUT AT 830PM THAT NIGHT TO TAKE IT TO
22               MY MECHANIC AND MY SORENTO WOULD NOT
23               START. I HAD IT TOWED TO GORRING AUTOMOTIVE
                 AT 1030PM. ON MARCH 1, 2017, MR. GORRING CALLED
24               AND TOLD ME I WOULD NEED A NEW ENGINE. I
25               CONTACTED CENTURY 3 KIA AND SPOKE TO THE
                 SERVICE MANAGER DAN. HE STATED THAT I NEEDED
26
                 TO BRING IT BACK TO THE DEALERSHIP TO HAVE IT
27               LOOKED AT. I ALSO CONTACTED KIA CONSUMER
28               NUMBER AND SPOKE TO ERIC. ERIC TOLD ME THE
                 SAME INFORMATION AND I STATED I DID NOT WANT
                                                   -49-
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 1                TO PAY FOR THE DIAGNOSIS AGAIN. I HAD MY
                  SORENTO TOWED TO CENTURY 3 KIA ON MARCH 1,
 2                2017. DAN STATED THAT HE WAS SURPRISED THAT
 3                MY VIN WAS NOT ON THE EXTENDED WARRANTY
                  LIST. ON MARCH 3, 2017, DAN FROM CENTURY 3 KIA
 4
                  CALLED ME AND SAID THAT I DID NEED A NEW
 5                ENGINE. CHARLES FROM KIA'S CONSUMER NUMBER
 6                AND DAN FROM CENTURY 3 KIA BOTH STATED THAT
                  IF I WAS THE ORIGINAL OWNER THEY WOULD
 7                REPLACE THE ENGINE AT NO COST TO ME BUT SINCE
 8                I AM THE SECOND OWNER OF THE SORENTO, IT
                  WOULD BE MY RESPONSIBILITY. I INQUIRED AT THE
 9                COST OF LABOR AND WAS TOLD 15 HOURS AT $108
10                AN HOUR. I HAVE LOOKED AROUND AND FOUND
                  THAT MOST ENGINES WITH ROUGHLY THE SAME
11
                  MILEAGE AS MINE ARE AROUND $2,500. THE TOTAL
12                COST WILL ROUGHLY BE BETWEEN $4,500 AND $6,500
13                TOTAL WITH ALL THE FLUIDS AND OTHER PARTS
                  NEEDED TO RETURN MY SORENTO TO A
14                FUNCTIONAL STATE. I PURCHASED THE SORENTO
15                WITH 53,857 MILES ON IT AND HAD IT FOR ONE YEAR.
                  I PUT 12,000 MILE ON IT ROUGHLY. MY SORENTO HAD
16
                  ROUGHLY 65,500 MILES ON IT WHEN THIS HAPPENED.
17                I HAVE DONE SOME RESEARCH AND FOUND THIS TO
18                BE A COMMON PROBLEM WITH THE 2.4L ENGINES. IF
                  THIS IS TRUE, WHY HAS KIA NOT DONE ANYTHING
19                ABOUT IT.
20
21
           Vehicle: 2011 Kia Sorento
22         Date Complaint Filed: 01/02/2017
23         Date of Incident: 12/07/2016
           Component(s): ENGINE
24         NHTSA ID Number: 10939102
25               SUMMARY:
                 THE CAR WAS NOT ALWAYS RESPONDING TO ME
26
                 WHEN I WANTED TO ACCELERATE, I WOULD HEAR
27               THE RPMS GOING UP BUT THE CAR WOULD NOT GO
28               FASTER, THEN A PUFF OF WHITE SMOKE WOULD
                 COME OUT THE TAIL PIPE. THEN ONE DAY, I WAS
                                                   -50-
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 1                DRIVING THE CAR AND IT STARTED MAKING A
                  CLANKING NOISE WHEN I WOULD PUSH THE GAS
 2                PEDAL. IT SOUNDED LIKE THE NOISE A ROLLER
 3                COASTER MAKES WHEN YOU ARE CLANKING UP THE
                  HILL AT THE BEGINNING. TOOK THE CAR TO THE
 4
                  DEALERSHIP AND THEY TOOK THE ENGINE APART
 5                TO FIND THE PROBLEM. THE CAR HAS AN ENGINE
 6                DEFECT THAT WAS DIAGNOSED BY A KIA DEALER AS
                  A MANUFACTURERS DEFECT. NOW THE CAR IS NOT
 7                DRIVABLE AND KIA IS REFUSING TO PAY FOR A NEW
 8                ENGINE. KIA NEEDS TO RECALL ALL VEHICLES WITH
                  THESE ENGINES. THEY ARE BUILT BY HYUNDAI AND
 9                THEY RECALLED THEIR VEHICLES WITH THE SAME
10                ENGINES. *TR
11
12         Vehicle: 2011 Kia Sorento
13         Date Complaint Filed: 07/21/2016
           Date of Incident: 07/18/2016
14
           Component(s): ENGINE
15         NHTSA ID Number: 10887421
16               SUMMARY:
                 ENGINE WAS MAKING A CYCLICAL
17               CLICKING/KNOCKING NOISE. WE TOOK THE VEHICLE
18               TO KIA DEALERSHIP AND THEY SAID THEY COULD
                 NOT FIND ANY ISSUES WITH THE CAR. ABOUT A
19               WEEK LATER THE CAR BROKE DOWN WHILE
20               DRIVING AT HIGHWAY SPEEDS. AFTER HAVING IT
21               TOWED TO AN INDEPENDENT GARAGE, WE WERE
                 INFORMED THE ENGINE HAD A CONNECTING ROD
22               FAILURE. THIS IS THE EXACT SAME PROBLEM THE
23               HYUNDAI SONATA HAS WITH THE EXACT SAME
                 THETA 2.4 LITER ENGINE. HYUNDAI HAS ISSUES A
24               RECALL BUT KIA FAILS TO ACKNOWLEDGE THE
25               ISSUE.
26
27         Vehicle: 2011 Kia Sorento
28         Date Complaint Filed: 05/12/2016
                                                   -51-
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 1         Date of Incident: 05/02/2016
           Component(s): ENGINE
 2         NHTSA ID Number: 10864508
 3               SUMMARY:
                 AT 68,000 MILES THE OIL PRESSURE SENSOR (PART
 4
                 #94750-37100) FAILED AND CAUSED A SUDDEN AND
 5               IMMEDIATE LOSS OF ALL ENGINE OIL. IN THE HALF
 6               MILE IT TOOK US TO SAFELY PULL OVER THE OIL
                 PRESSURE LIGHT ACTIVATED AND THE DIP STICK
 7               READ BONE DRY. I HAVE RESEARCHED THE ISSUE
 8               AND FOUND IT TO BE A COMMON PROBLEM WITH
                 KIA'S, A RECALL SHOULD BE ISSUED TO REPLACE
 9               THE PART WITH A BETTER ENGINEERED VERSION.
10               HAD WE NOT BEEN ALERT / AWARE OF WHAT WAS
                 GOING ON THE ENGINE COULD HAVE SEIZED AND
11
                 ALL POWER COULD HAVE BEEN LOST WHILE IN
12               MOTION.
13
14
           Vehicle: 2011 Kia Sorento
15         Date Complaint Filed: 02/16/2016
16         Date of Incident: 01/31/2016
           Component(s): ENGINE
17         NHTSA ID Number: 10836400
18               SUMMARY:
                 ON 1-31-16 HEARD A PINGING NOISE ON THE
19               HIGHWAY; THEN THE CAR STALLED AT THE EXIT
20               LIGHT; STARTED IT AGAIN AND LOUD BANG BLOW A
21               ROD AFTER GETTING BACK ON THE HIGHWAY TO
                 DRIVE IT TO A SHOP. DIED ON THE SIDE OF THE
22               HIGHWAY AND HAD TO HAVE IT TOWED TO KIA IN
23               AUBURN WA. KIA STATED THEY WILL NOT FIX
                 UNDER THE WARRANTY BECAUSE THE WRONG OIL
24               FILTER WAS INSTALLED AND I DIDN'T PROVIDE
25               PROPER MAINTENANCE; WHICH I TOOK IT IN EACH
                 AND EVERY TIME FOR OIL CHANGES TO MY AUTO
26
                 SHOP. SAME OIL FILTER HAS BEEN PUT INTO MY CAR
27               SINCE 2011. WENT BACK TO MY AUTO SHOP
28               INFORMED THEM THEY STARTED THE PROCESS OF
                 SENDING THE OIL FILTER IN TO BE CHECKED FOR
                                                   -52-
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 1                DEFECTS, ALSO FOUND ON 3 DIFFERENT WEB SITES
                  THE FILTER CAN BE USED FOR MY MAKE AND
 2                MODEL. NOW KIA WANT FIX MY CAR; IT HAS BEEN 3
 3                WEEKS WITHOUT A VEHICLE AND NO WORD FROM
                  KIA; NOT EVEN FROM THEIR HEADQUARTERS. KIA
 4
                  WILL NOT PROVIDE THE WORK ORDER STATING
 5                THEY ARE NOT ALLOWED TO GIVE TO THIRD PARTY.
 6
 7         Vehicle: 2011 Kia Sorento
 8         Date Complaint Filed: 03/13/2015
           Date of Incident: 03/02/2015
 9
           Component(s): ENGINE
10         NHTSA ID Number: 10694186
11               SUMMARY:
                 TL* THE CONTACT OWNS A 2011 KIA SORENTO.
12               WHILE TRAVELING APPROXIMATELY 40 MPH, THERE
13               WAS A LOUD NOISE COMING FROM THE FRONT OF
                 THE VEHICLE. ALSO, THE CONTACT MENTIONED
14
                 THAT SMOKE EMITTED FROM THE ENGINE
15               COMPARTMENT. UPON PULLING THE VEHICLE OVER,
16               IT WAS FURTHER NOTICED THAT THE ENGINE
                 COMPARTMENT WAS ON FIRE. THE VEHICLE WAS
17               TOWED TO AN INDEPENDENT MECHANIC, WHO
18               DIAGNOSED THAT A ROD FRACTURED INTO THE
                 ENGINE AFFECTING THE OTHER COMPONENTS
19               CAUSED A FIRE. ALSO, THE MECHANIC DIAGNOSED
20               THAT THE PISTONS MAY NEED TO BE REPLACED BUT
21               FURTHER EXTENSIVE DIAGNOSIS WAS REQUIRED TO
                 REPAIR THE VEHICLE. THE CONTACT WAS NOT
22               INCLUDED IN NHTSA CAMPAIGN NUMBER: 10V388000
23               (ELECTRICAL SYSTEM). THE MANUFACTURER WAS
                 NOTIFIED OF THE FAILURE. THE APPROXIMATE
24               FAILURE MILEAGE WAS 102,000.
25
26
           Vehicle: 2012 Kia Sorento
27         Date Complaint Filed: 10/23/2017
28         Date of Incident: 02/20/2017
                                                   -53-
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 1         Component(s): ENGINE
           NHTSA ID Number: 11035862
 2             SUMMARY:
 3             OUR 2012 KIA SORENTO WAS IN MOTION ON THE
               HIGHWAY WHEN A LOUD KNOCKING SOUND BEGAN.
 4
               AT THIS POINT THE ENGINE SEIZED AND THE CAR
 5             STALLED. IT HAD TO BE TOWED TO THE KIA DEALER
 6             AND A NEW ENGINE HAD TO BE PUT IN. WE WERE
               TOLD BY THE SERVICE MANAGER AT THE KIA
 7             DEALERSHIP THAT RECALL SC147 ADDRESSES 2012
 8             KIA SORENTO'S AND THE EXACT SAME ISSUE AS OUR
               CAR HAD. HOWEVER, THE RECALL DOES NOT
 9             INCLUDE HER ENGINE TYPE. GIVEN WHAT HAPPENED
10             TO OUR 17 YEAR OLD DAUGHTER AND THE
               DANGEROUS SITUATION THAT SHE WAS PUT IN, WE
11
               FEEL THAT THESE SORENTO ENGINE TYPES SHOULD
12             ALSO BE INCLUDED IN THE RECALL. KIA CONSUMER
13             AFFAIRS WAS CONTACTED AND THEY REFUSED TO
               PROVIDE ANY TYPE OF COMPENSATION OR ADD THIS
14             VEHICLE ENGINE TYPE TO THE RECALL.
15
16
           Vehicle: 2012 Kia Sorento
17         Date Complaint Filed: 09/26/2017
18         Date of Incident: 09/24/2017
           Component(s): ENGINE
19         NHTSA ID Number: 11030026
20               SUMMARY:
21               AFTER 88,000 MILES, THE SORENTO'S ENGINE
                 STARTED MAKING A LOUD SOUND WHILE DRIVING
22               AT HIGHWAY SPEED. THE ENGINE STAYED ON BUT
23               CONTINUED TO MAKE A LOUD SOUND. THE CAR WAS
                 TOWED TO PEAK KIA IN LITTLETON, CO WHERE IT
24               WAS DETERMINED THAT A NEW ENGINE WAS
25               NEEDED AT A COST OF $7000-$10,000 DOLLARS. THE
                 VEHICLE HAD REGULAR OIL CHANGES UP TO THIS
26
                 POINT. THE DEALERSHIP CHECKED AN MY VIN
27               NUMBER AND SAID THAT I DIDN'T QUALIFY FOR THE
28               RECALL FOR ENGINE PARTICLES. AS A SECOND
                 OWNER, I DID NOT HAVE ACCESS TO THE 10 YEAR
                                                   -54-
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 1                WARRANTY. I FEEL AS IF THE RECALL NEEDS TO BE
                  EXPANDED AND HONORED. MY 5 YEAR OLD WELL
 2                MAINTAINED CAR HAD NO REASON TO HAVE
 3                CATASTROPHIC ENGINE FAILURE. I BELIEVE THIS IS
                  A MANUFACTURING DEFECT THAT IS DANGEROUS
 4
                  AND THAT IS EFFECTING OWNERS ACROSS THE
 5                COUNTRY.
 6
 7         Vehicle: 2012 Kia Sorento
 8         Date Complaint Filed: 09/11/2017
           Date of Incident: 09/10/2017
 9
           Component(s): ENGINE
10         NHTSA ID Number: 11022610
11               SUMMARY:
                 ON 09/10/2017 WHILE DRIVING A 2012 KIA SORENTO
12               DOWN THE HIGHWAY I HEARD A RATTLING NOISE
13               FROM THE ENGINE WITH A LOUD BANG A FEW
                 SECONDS LATER.THERE WAS SMOKE COMING FROM
14
                 UNDER THE HOOD. I RESEARCHED AND FOUND THAT
15               ON 03/17/2017 KIA ANNOUNCED A RECALL FOR 2012
16               SORENTOS. KIA'S RECALL: SC147: " BEARING WEAR
                 MAY RESULT IN ENGINE SEIZURE" THIS IS ON KIA'S
17               AND NHTSA'S WEBSITES. [ NHTSA CAMPAIGN #
18               17V224000 "MACHINING ERRORS DURING THE ENGINE
                 MANUFACTURING PROCESS MAY CAUSE
19               PREMATURE BEARING WEAR WITHIN THE ENGINE"] I
20               CONTACTED KIA'S CUSTOMER SERVICE AT 1800-333-
21               4542 AND BETHANY TOLD THAT MY 2012 KIA
                 SORENTO WAS NOT ELIGIBLE FOR THE RECALL
22               BECAUSE THE VIN # WAS NOT PART OF THE RECALL.
23               SHE SAID THAT I COULD TAKE IT TO THE DEALER
                 AND THEY WOULD CHECK THE OTHER 2 RECALL
24               THOUGH. WHEN THE VEHICLE WAS TOWED I
25               LOOKED UNDER THE VEHICLE TO SEE OIL POURING
                 OUT FROM A 3 INCH HOLE IN THE BLOCK, TOWARD
26
                 THE REAR OF THE VEHICLE, WHERE THE THROWN
27               ROD BROKE THE BLOCK. OIL IS CHANGED EVERY
28               THREE MONTHS AND THE VEHICLE HAS 120,129
                 MILES ON IT. THE COST OF A USED ENGINE ALONE IS
                                                   -55-
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 1                NEAR $3000, PLUS LABOR TO INSTALL A MOTOR
                  THAT COULD DO THE SAME THING. I WOULD LIKE
 2                KIA MOTORS TO REPLACE THE DEFECTIVE ENGINE
 3                WITH A NEW ENGINE AT NO COST.
 4
 5         Vehicle: 2012 Kia Sorento
 6         Date Complaint Filed: 08/16/2017
           Date of Incident: 08/10/2017
 7         Component(s): ENGINE
 8         NHTSA ID Number: 11015830
                 SUMMARY:
 9
                 ON 08/10/12017 WHILE DRIVING MY 2012 KIA SORENTO
10               ON I-40. I HEARD A "RATTLING NOISE" FROM THE
11               ENGINE. AS I SLOWED DOWN THE SOUND GOT
                 LOUDER. I TURNED ON A SIDE STREET INTO A SAFE
12               AREA AND PARKED MY VEHICLE. THERE WAS
13               SMOKE COMING FROM UNDER MY HOOD. I OPENED
                 THE HOOD AND SAW 2 SMALL PATCHES OF FIRE. I
14
                 WAS ABLE TO PUT THEM OUT, THEN RAN TO A BEST
15               WESTERN HOTEL AND ASKED FOR A FIRE
16               EXTINGUISHER IN CASE A FIRE WOULD ERUPT
                 AGAIN. I RESEARCHED AND DISCOVERED THAT ON
17               03/17/2017 KIA ANNOUNCED A RECALL FOR 2012
18               SORENTOS. KIA'S RECALL: SC147: " BEARING WEAR
                 MAY RESULT IN ENGINE SEIZURE" THIS IS ON KIA'S,
19               NHTSA'S , PBS AND FORBES WEBSITES. [ NHTSA
20               CAMPAIGN # 17V224000 "MACHINING ERRORS
21               DURING THE ENGINE MANUFACTURING PROCESS
                 MAY CAUSE PREMATURE BEARING WEAR WITHIN
22               THE ENGINE"] I CONTACTED KIA'S CONSUMER
23               AFFAIRS # AND THE PERSON TOLD THAT MY 2012 KIA
                 SORENTO WAS NOT ELIGIBLE FOR THE RECALL. HE
24               SAID MY VIN # WAS NOT PART OF THE RECALL. I HAD
25               JUST RETURNED WITH MY FAMILY 1 DAY PRIOR
                 FROM A TRIP TO MOBILE, AL. (1500 MILES ROUND
26
                 TRIP). ON 08/12/17 I HAD MY VEHICLE TOWED TO
27               BATTLEGROUND KIA WHERE THE ADVISOR &
28               TECHNICIAN SHOWED ME THE PROBLEM A "THROWN
                 ROD".THIS HOLE IS 3" TO 4" DIAMETER. (PICTURES
                                                   -56-
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 1                ATTACHED). I ASKED WHAT COULD HAVE CAUSED
                  THE ROD TO BE THROWN? I HAD MY OIL CHANGED
 2                ON SCHEDULE THE LATEST WAS 07/26/2017. THIS
 3                VEHICLE HAS 123,937 MILES ON IT. HE REPLIED HE
                  DIDN'T KNOW WHAT CAUSED IT. ON 08/15/2017 I WAS
 4
                  INFORMED THAT TO REPLACE THE ENGINE WITH A
 5                USED ONE WITH 99,000 MILES WAS $6400 PLUS
 6                LABOR. [THAT IS ABOUT 24,000 MILES LESS THAN
                  MINE CURRENT MILEAGE WITH THE SAME
 7                POTENTIAL PROBLEM LINGERING TO HAPPEN AGAIN]
 8                IT IS OBVIOUS THAT THE PROBLEMS WITH THE
                  RECALL ENGINES ARE IDENTICAL WITH MINE. I
 9                WOULD LIKE KIA MANUFACTURING TO REPLACE MY
10                DEFECTIVE ENGINE WITH A NEW ENGINE AND
                  RENTAL VEHICLE AT NO COST TO ME. I'LL LIKE TO
11
                  PARTNER WITH THE LOCAL DEALERSHIP TO RECTIFY
12                THIS.
13
                  UPDATED 08/31/2017*JS
14
15
16         Vehicle: 2012 Kia Sorento
           Date Complaint Filed: 08/05/2017
17         Date of Incident: 08/02/2017
18         Component(s): ENGINE
           NHTSA ID Number: 11013013
19               SUMMARY:
20               AS I CAME AROUND A BEND AT ABOUT 20 MPH, MY
21               2012 KIA SORENTO DIED. THERE WAS NO WARNING,
                 AND NO CHECK ENGINE LIGHT. I WAS ON A CITY
22               STREET, AND HAD JUST PRESSED THE BRAKE PEDAL
23               TO SLOW DOWN FOR THE TURN. THANKFULLY I WAS
                 ABLE TO PULL INTO A PARKING LOT, AND NOT
24               DRIVING ON THE HIGHWAY WITH MY CHILDREN. I
25               TRIED TO CRANK THE CAR AGAIN, AND IT STARTED,
                 RAN FOR A BRIEF MOMENT, SOUNDED NORMAL,
26
                 THEN DIED. I TRIED TWICE MORE WITH THE SAME
27               RESULT, THEN CALLED A TOW TRUCK TO GET HOME.
28               WE CALLED THE DEALERSHIP THE NEXT DAY TO
                 NOTIFY THEM OF THE ISSUE, AND THEY SENT OUT A
                                                   -57-
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 1                TOW TRUCK. WHEN THEY TRIED TO CRANK IT, IT
                  RAN ROUGH AND THEN DIED. WE ARE AWAITING
 2                APPROVAL FROM CORPORATE KIA, AS WE BELIEVE
 3                THAT THIS IS RELATED TO THE ENGINE RECALL
                  THEY HAVE ISSUED.
 4
 5
 6         Vehicle: 2012 Kia Sorento
           Date Complaint Filed: 07/03/2017
 7         Date of Incident: 01/14/2017
 8         Component(s): ENGINE
           NHTSA ID Number: 11002875
 9
                 SUMMARY:
10               TL* THE CONTACT OWNS A 2012 KIA SORENTO.
11               WHILE DRIVING 90 MPH, THE ENGINE FAILED
                 WITHOUT WARNING. THE CONTACT STATED THAT
12               THERE WAS A KNOCKING NOISE FROM INSIDE THE
13               ENGINE AND THE VEHICLE LOST POWER. IN
                 ADDITION, THE VEHICLE WOULD NOT SWITCH
14
                 GEARS AND DECREASED IN ACCELERATION UNTIL
15               THE CONTACT REACHED THE DEALER. CATHEDRAL
16               CITY KIA OF CATHEDRAL CITY, CALIFORNIA
                 REPLACED THE ENGINE IN THE VEHICLE. THE
17               MANUFACTURER WAS MADE AWARE OF THE ISSUE
18               AND STATED THAT THE FAILURE WAS INCLUDED IN
                 AN UNKNOWN RECALL; HOWEVER, THE CONTACT'S
19               VIN WAS NOT INCLUDED. THE FAILURE MILEAGE
20               WAS 97,000.
21
22         Vehicle: 2012 Kia Sorento
23         Date Complaint Filed: 06/27/2017
           Date of Incident: 06/22/2017
24
           Component(s): ENGINE
25         NHTSA ID Number: 11001807
26               SUMMARY:
                 MY ENGINE SEIZED WHILE DRIVING ON TO RAMP TO
27               HIGHWAY. MY CAR CUT OFF AND WAS
28               UNRESPONSIVE. I FORCED THE CAR TO THE SIDE OF
                                                   -58-
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 1                THE ON-RAMP DURING RUSH HOUR TRAFFIC. AT THIS
                  TIME, I HAD TO HAVE MY VEHICLE TOWED. THERE IS
 2                A RECALL ON THE 2012 KIA SORENTO ENGINE FOR IT
 3                STALLING WHILE DRIVING. I CALLED KIA
                  CORPORATE FOR ASSISTANCE WITH THIS MATTER
 4
                  AND THEY ARE GIVING US THE RUN-AROUND. I HAVE
 5                HAD THE VEHICLE BORE SCOPED, PROVING SEIZING
 6                OF THE ENGINE. IN ADDITION, I AM A LICENCES AIR-
                  FRAME AND POWER-PLANT MECHANIC SO I KNOW
 7                MY WAY AROUND A CAR. THIS WAS VERY
 8                DANGEROUS AND UNEXPECTED SITUATION TO BE IN.
 9
10         Vehicle: 2012 Kia Sorento
11         Date Complaint Filed: 07/27/2017
           Date of Incident: 06/23/2017
12         Component(s): ENGINE
13         NHTSA ID Number: 11001733
                 SUMMARY:
14
                 MY VEHICLE IS AT 117K MILES. IT USES APPROX 6
15               QTS OF OIL/3000 MILES.I CANNOT GET UP TO SPEED
16               ON THE HIGHWAY AS IT WILL NOT AUTO SHIFT
                 DOWN WITH ANY ACCELERATION RPMS RUN AND
17               STAY AT 6,000 WHEN TRYING TO GET TO 70MPH - IT IS
18               INCLUDED IN SC147 RECALL, HOWEVER THE
                 DEALERSHIP IS STATING IT PASSED THE RECALL
19               TEST AND IT'S THE TRANSMISSION NOT THE ENGINE.
20               TRANSMISSION DOES NOT BURN OIL AT 6 QTS/3000
21               MILES

22
23         Vehicle: 2012 Kia Sorento
           Date Complaint Filed: 06/23/2017
24
           Date of Incident: 06/14/2017
25         Component(s): ENGINE
26         NHTSA ID Number: 11000841
                 SUMMARY:
27               TL* THE CONTACT OWNS A 2012 KIA SORENTO.
28               WHILE DRIVING ON THE HIGHWAY, THE MOTOR
                                                   -59-
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 1                SEIZED. THE VEHICLE WAS UNABLE TO BE DRIVEN
                  AND WAS TOWED TO AN INDEPENDENT REPAIR SHOP
 2                WHO INDICATED THAT THE VEHICLE NEEDED TO BE
 3                SERVICED BY AN AUTHORIZED DEALER. THE
                  CONTACT WAS INCLUDED IN NHTSA CAMPAIGN
 4
                  NUMBERS: 17V224000 (ENGINE AND ENGINE
 5                COOLING) AND 15V626000 (POWER TRAIN), BUT THE
 6                CONTACT WAS UNABLE TO RECEIVE THE REMEDY
                  AND PARTS FOR THE RECALL REPAIR. THE VEHICLE
 7                WAS TOWED TO MEDVED KIA (11201 W INTERSTATE
 8                70 FRONTAGE RD N, WHEAT RIDGE, CO 80033, (303)
                  421-0100). THE CONTACT WAS WAITING ON A
 9                RESPONSE FROM THE MANUFACTURER TO PROVIDE
10                A REMEDY FOR THE TWO RECALL REPAIRS. THE
                  MANUFACTURER STATED THAT THEY WOULD
11
                  RESPOND, BUT THE CONTACT HAD NOT RECEIVED
12                THE REPAIRS SINCE JUNE OF 2016. THE
13                APPROXIMATE FAILURE MILEAGE WAS 104,000.
                  PARTS DISTRIBUTION DISCONNECT.
14
15
16         Vehicle: 2012 Kia Sorento
           Date Complaint Filed: 06/19/2017
17         Date of Incident: 03/31/2017
18         Component(s): ENGINE
           NHTSA ID Number: 10995819
19               SUMMARY:
20               TL* THE CONTACT OWNS A 2012 KIA SORENTO. THE
21               CONTACT STATED THAT THE ENGINE MADE AN
                 ABNORMAL NOISE AND STALLED SEVERAL TIMES
22               WITHOUT WARNING. THE VEHICLE WAS UNABLE TO
23               BE DRIVEN AND WAS TOWED TO THE DEALER
                 (MORITZ KIA FORT WORTH 501 WEST FWY, FORT
24               WORTH, TX 76116 (817) 560-6000). IT WAS DIAGNOSED
25               THAT THE ENGINE ASSEMBLY NEEDED TO BE
                 REPLACED. THE DEALER INDICATED THAT THEY
26
                 WERE UNCERTAIN OF WHEN THE PART WOULD BE
27               PRODUCED. THE CONTACT WAS PROVIDED WITH A
28               LOANER VEHICLE, BUT WAS UNABLE TO DETERMINE
                 A REASONABLE TIME FRAME FOR WHEN THE
                                                   -60-
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 1                VEHICLE WOULD BE REPAIRED. THE
                  MANUFACTURER WAS NOTIFIED OF THE FAILURE.
 2                THE APPROXIMATE FAILURE MILEAGE WAS 78,000.
 3                UPDATED 08/30/17*LJ
 4
 5         Vehicle: 2012 Kia Sorento
 6         Date Complaint Filed: 06/16/2017
           Date of Incident: 05/01/2017
 7         Component(s): ENGINE
 8         NHTSA ID Number: 10995476
                 SUMMARY:
 9
                 TL* THE CONTACT OWNS A 2012 KIA SORENTO.
10               WHILE OPERATING THE VEHICLE, A LOUD TICKING
11               NOISE WAS PRESENT COMING FROM THE ENGINE
                 AND THE VEHICLE SUDDENLY SHUT OFF. THE
12               VEHICLE WAS TOWED TO SOUTHWEST KIA OF
13               ROUND ROCK, TEXAS WHERE IT WAS DIAGNOSED
                 THAT THE ENGINE WAS FAULTY AND NEEDED TO BE
14
                 REPLACED. THE VEHICLE WAS NOT REPAIRED. THE
15               MANUFACTURER WAS NOTIFIED OF THE FAILURE.
16               THE FAILURE MILEAGE WAS 103,000.

17
18         Vehicle: 2012 Kia Sorento
           Date Complaint Filed: 06/12/2017
19
           Date of Incident: 05/06/2017
20         Component(s): ENGINE
21         NHTSA ID Number: 10994530
                 SUMMARY:
22               ON TUESDAY MAY 16TH, 2017 AT ABOUT 10:30 PM I
23               WAS DRIVING DOWN THE HIGHWAY IN MY KIA ALL
                 OF A SUDDEN LOST POWER. THERE WAS NO
24
                 INDICATION THAT A PROBLEM EXISTED. I WAS
25               DRIVING EAST ON THE INTERSTATE AT ABOUT 70
26               MPH BUT I WAS ABLE TO MANEUVER TO THE SIDE OF
                 THE ROAD AFTER THE LOSS OF POWER AND
27               AVERTED BEING HIT FROM BEHIND FROM A SEMI. I
28               HAD 5 OTHER OCCUPANTS IN THE CAR AS WE WERE
                                                   -61-
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 1                COMING HOME FROM A BALL GAME. A GOOD
                  SAMARITAN HAPPENED ALONG AND TOOK THE
 2                OCCUPANTS TO A WAFFLE HOUSE WHILE I WAITED
 3                WITH MY WIFE FOR A TOW TRUCK. WE TOOK THE
                  CAR TO MY MECHANIC WHO INFORMED ME THAT
 4
                  THE ENGINE HAD SEIZED. HE NOTICED THAT THERE
 5                WERE BITS OF METALLIC IN THE OIL AND SAID IT
 6                WOULD BE BEST TO HAVE IT REPLACED. WE HAD
                  STARTED INVESTIGATING THE COST OF A USED
 7                ENGINE WHEN I READ ABOUT A CLASS ACTION SUIT
 8                INVOLVING KIA AND OWNERS OF CARS WITH A 2.4
                  GDI ENGINE. THEIR COMPLAINTS PARALLELED
 9                WHAT I HAD JUST WITNESSED. THE RECALL NUMBER
10                FOR THIS IS IS NHTSA 17V-224.
11
12         Vehicle: 2012 Kia Sorento
13         Date Complaint Filed: 06/01/2017
           Date of Incident: 05/19/2017
14
           Component(s): ENGINE
15         NHTSA ID Number: 10992669
16               SUMMARY:
                 TL* THE CONTACT OWNS A 2012 KIA SORENTO.
17               WHILE DRIVING 45 MPH, THE CRANK CASE BEARING
18               IN THE ENGINE DISINTEGRATED AND RUINED THE
                 MOTOR. THE VEHICLE WAS TOWED TO OXONDALE
19               KIA IN FLAGSTAFF ARIZONA WHERE IT WAS
20               DIAGNOSED THAT METAL FRAGMENTS ENTERED
21               INTO THE ENGINE OIL DEPOSIT, WHICH CAUSED
                 FURTHER DAMAGE TO THE VEHICLE. THE SERVICE
22               MANAGER AT THE DEALER STATED THAT THERE
23               WAS A RECALL FOR THE FAILURE, BUT THE
                 CONTACT'S VIN WAS NOT INCLUDED. THE
24               MANUFACTURER WAS MADE AWARE OF THE
25               FAILURE. THE RECALL DETAILS WERE NOT
                 PROVIDED. THE FAILURE MILEAGE WAS
26
                 APPROXIMATELY 81,000.
27
28
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 1         Vehicle: 2012 Kia Sorento
           Date Complaint Filed: 03/31/2017
 2         Date of Incident: 03/30/2017
 3         Component(s): ENGINE
           NHTSA ID Number: 10992492
 4
                 SUMMARY:
 5               5/30/2017 I WAS DRIVING AND I WAS MERGING ONTO
 6               THE FREEWAY SO I GAVE MY CAR ABOUT HALF
                 THROTTLE AND AS SOON AS THE CAR STARTED TO
 7               ACCELERATE THE ENGINE STOPPED ACCELERATING
 8               WHILE MY FOOT WAS STILL ON THE GAS AND ALL OF
                 THE LIGHT WENT ON ON MY DASHBOARD AND THE
 9               ENGINE COMPLETELY SHUT OFF. THE RPM'S
10               DROPPED COMPLETELY BUT EVERYTHING ELSE
                 STAYED ON, LIGHTS,STEERING,BRAKES,INTERIOR
11
                 ELECTRONICS, EVERYTHING BUT THE ENGINE ITSELF
12               REMAINED ON. I WENT TO START THE CAR AFTER I
13               CAME TO A COMPLETE STOP AND IT MAKE SOME
                 WEIRD TICKING NOISES BEFORE IT ACTUALLY
14               TURNED ON AND IT IDLED, BUT AS SOON AS I GAVE
15               IT SOME GAS THE ENGINE SHUT OFF.
16
                  DEALER SAID ENGINE WAS SEIZED AND THERE WAS
17                SLUDGE IN THE OIL, DID NOT PHYSICALLY SEE THIS
18                MY SELF

19
20         Vehicle: 2012 Kia Sorento
21         Date Complaint Filed: 05/24/2017
           Date of Incident: 05/15/2017
22         Component(s): ENGINE
23         NHTSA ID Number: 10991363
                 SUMMARY:
24               TL* THE CONTACT OWNS A 2012 KIA SORENTO. THE
25               CONTACT STATED THAT WHILE DRIVING AT
                 APPROXIMATELY 60 MPH, ALL THE WARNING
26
                 INDICATORS ILLUMINATED AND THE VEHICLE LOST
27               ACCELERATION POWER. THE CONTACT COASTED TO
28               THE SIDE OF THE ROAD. THE VEHICLE WAS TOWED
                 TO THE RESIDENCE. THE FOLLOWING DAY THE
                                                   -63-
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 1                VEHICLE WAS TOWED TO THE DEALER WHERE IT
                  WAS DIAGNOSED THAT THE ENGINE NEEDED TO BE
 2                REPLACED. THE VEHICLE WAS NOT REPAIRED. THE
 3                MANUFACTURER WAS NOTIFIED OF THE FAILURE.
                  THE APPROXIMATE FAILURE MILEAGE WAS 82,000.
 4
 5
 6         Vehicle: 2012 Kia Sorento
           Date Complaint Filed: 05/16/2017
 7         Date of Incident: 03/16/2017
 8         Component(s): ENGINE
           NHTSA ID Number: 10985936
 9
                 SUMMARY:
10               I HAVE CONTACTED THE KIA DEALERSHIP THREE
11               TIMES ABOUT THIS CAR BURNING OIL. THEY TOLD
                 ME THIS IS NORMAL FOR A VEHICLE THAT HAS 90,000
12               MILES ON IT. ONE TIME I HAD TO PUT 2 QUARTS OF
13               OIL IN IT AND THEN AFTER DRIVING 400 MILES I HAD
                 TO PUT ANOTHER 1 QUART OF OIL IN IT. I
14
                 UNDERSTAND THEY COULD BE A PROBLEM WITH
15               THE 2.4 ENGINE IN THIS VEHICLE. ALL I AM ASKING
16               IS FOR THEM TO DO A COMBUSTION TEST ON THE
                 ENGINE WHILE IT IS STILL UNDER WARRANTY.
17
18
           Vehicle: 2012 Kia Sorento
19
           Date Complaint Filed: 05/08/2017
20         Date of Incident: 05/01/2017
21         Component(s):
           NHTSA ID Number: 10984187
22               SUMMARY:
23               TL* THE CONTACT OWNS A 2012 KIA SORENTO. THE
                 CONTACT STATED THAT THERE WAS A SUDDEN LOSS
24
                 OF POWER WHEN APPLYING THE ACCELERATOR
25               PEDAL. THE DRIVER NOTICED THAT SMOKE WAS
26               EMITTING UNDER THE HOOD OF THE VEHICLE, THE
                 CHECK ENGINE WARNING LIGHT ILLUMINATED AND
27               A FIRE ERUPTED UNDER THE HOOD. A PASSERBY
28               STAYED WITH THE DRIVER UNTIL A STATE TROOPER
                                                   -64-
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 1                WAS PRESENT AS THE VEHICLE WAS ON FIRE AND
                  THE FLAMES WENT OUT OVER TIME. THE DRIVER
 2                WAS ABLE TO EXIT THE VEHICLE. THE VEHICLE WAS
 3                TOWED TO A MECHANIC YARD. THE VEHICLE WAS
                  NOT INCLUDED IN NHTSA CAMPAIGN NUMBER:
 4
                  17V224000 (ENGINE AND ENGINE COOLING). THE
 5                CONTACT WAS WAITING TO DETERMINE A RESPONSE
 6                FROM THE MANUFACTURER TO DIAGNOSE HOW THE
                  FAILURE OCCURRED. THE APPROXIMATE FAILURE
 7                MILEAGE WAS 103,000. ..UPDATED 06/27/17 *BF
 8
 9
           Vehicle: 2012 Kia Sorento
10         Date Complaint Filed: 04/27/2017
11         Date of Incident: 04/01/2017
           Component(s): ENGINE
12         NHTSA ID Number: 10981104
13               SUMMARY:
                 CAR NEVER GAVE A WARNING THAT ANYTHING WAS
14
                 WRONG, TOOK IT TO GET REGULAR OIL CHANGES AS
15               NEEDED AND SUDDENLY IN TRAFFIC WHILE MOVING
16               FORWARD, THE CAR BEGAN BUCKING AND JUMPING,
                 THE NOISE SOUNDED LIKE A CLUCK. I THOUGHT
17               SOMETHING HAD FALLEN OFF AS THE CAR WAS
18               ORIGINALLY DRIVING SMOOTHLY. I HAD IT TOWEDT
                 TO KIA AND IT WAS SAID THE ENGINE WAS NO
19               GOOD. NO WARNING LIGHTS OR ENGINE LIGHTS
20               EVER CAME ON TO FOREWARN OF ANY ISSUES EVER
21               WITH THE CAR.

22
23         Vehicle: 2012 Kia Sorento
           Date Complaint Filed: 04/19/2017
24
           Date of Incident: 04/17/2017
25         Component(s): ENGINE
26         NHTSA ID Number: 10979270
                 SUMMARY:
27               BOUGHT MY SORENTO BRAND NEW. HAVE HAD FOR
28               5 YEARS AND HAVE 1 YEAR LEFT ON LOAN. I HAVE
                                                   -65-
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 1                RECORDS OF TAKING VEHICLE TO DEALERSHIP AND
                  HAD SEVERAL COMPLAINTS OF HEARING RATTLE
 2                LIKE A PAINT CAN.. YET THEY BLEW ME OFF. GAVE
 3                ME POOR EXCUSES FOR REASONING AND STATED
                  THIS WAS NORMAL SOUND.. I FELT THAT THERE WAS
 4
                  AN ISSUE YET BELIEVED THE TECHNICIAN OVER MY
 5                CONCERNS.. NOISES CONT FOR COUPLE YEARS YET
 6                NOTHING GOT WORSE. THEN SHE. I WAS AT 128 K
                  MILES KIA SENDS OUT THE EXTENDED WARRANTY
 7                LETTER AND I TOOK MY VEHICLE TO ANOTHER
 8                DEALER TO GET AN UNDERSTANDING THAT THIS
                  ISN'T A NORMAL SOUND AND THAT THERE WAS
 9                SOMETHING SERIOUSLY WRONG YET THEY
10                BELIEVED A ENGINE FLUSH WOULD GET RID OF
                  CARBON BUILD UP AND ALL WOULD BE GOOD..
11
                  AFTER PAYING OUT OF POCKET FOR THIS NOTHING
12                CHANGED AND I GOT LITTLE TO NO ASSISTANCE W
13                THE NEW DEALER I TRAILED. I DON'T TO DRIVE THE
                  VEHICLE BC I HAD NO OPTIONS. NO MONEY LEFT TO
14                FIX MY CAR IN WHICH CAST ME MONTHLY...
15                REPAIRED ALL THINGS NEEDED BY THE KIA BOOK
                  AND AS REQUIRED BY SERVICING W FUEL
16
                  ADDITIVES AS RECOMMENDED YET NOW I HAVE A
17                COMPLETE BLOWN ENGINE. STILL OWE AND NOW
18                FIGHTING TO GET KIA TO HELP ME. THE RECALL
                  LETTER ISN'T OUT YET THERE IS EXPECTED A
19                RECALL.. I NOW HAVE 141K MILES AND NEED HELP..
20                I'M LUCKY THAT WE WERE NOT HURT.. OUR ENGINE
                  BLEW IN THE MOUNTAINS.. TOOK ME AAA.. 150
21                BUCKS AND 6HRS TO GET HOME W FRIENDS
22                ASSISTANCE..
23
24         Vehicle: 2012 Kia Sorento
25         Date Complaint Filed: 04/07/2017
           Date of Incident: 08/07/2014
26
           Component(s): ENGINE
27         NHTSA ID Number: 10971238
28               SUMMARY:
                 I USED MOBILE ONE 5W30, I USED KIA OIL FILTERS (2
                                                   -66-
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 1                GENERIC), I HAD 44,516K MILES ON IT ON AUGUST 7,
                  2014. I DID 8 OIL CHANGES. MY CAR WAS RUNNING
 2                PERFECTLY FINE. NO WHITE OR BLACK SMOKE, NO
 3                DASHBOARD LIGHTS, NOT SLUGGISH, NOTHING AND
                  THE ENGINE SEIZED WITHOUT WARNING. I WAS ON
 4
                  THE HIGHWAY DOING ABOUT 65 WHEN I HEARD A
 5                FLUTTERING NOISE THAT VERY QUICKLY TURNED
 6                INTO A KNOCKING NOISE. I COULD BARELY PULL
                  OVER WITHOUT ALMOST GETTING HIT TWICE. I HAD
 7                IT TOWED TO THE DEALERSHIP AND THEY SAID I
 8                NEVER DID ANY OIL CHANGES AND THERE WAS
                  APPROXIMATELY 20K MILES WORTH OF SLUDGE IN
 9                MY ENGINE. MY OIL WAS CHANGED AROUND MARCH
10                7, 2014. KIA MOTORS DOWN RIGHT REFUSED TO EVEN
                  LOL AT IT. I HIRED AND ATTORNEY WHO WROTE A
11
                  DEMAND LETTER AND 4 MONTHS LATER THEY
12                DOWN RIGHT REFUSED TO FIX IT UNDER THE
13                WARRANTY. MY CAR SAT IN MY DRIVEWAY FOR
                  OVER 15 MONTHS. I REPORTED THIS TO NHTSA BACK
14                IN LATE 2012 EARLY 2013. I WORE A LETTER TO THE
15                OWNER OF THE DEALERSHIP AND SHE PUT A USED
                  ENGINE IN IT AND PAID FOR HALF. NEEDLESS TO SAY
16
                  I'M HAPPY I HAVE MY CAR BACK BUT I DON'T TRUST
17                IT. I HAVE THE TOP OF THE LINE SX AWD AND I ALSO
18                ADDED THE AMBIENT LIGHTING AND TINTED THE
                  FRONT WINDOWS. I LOVE MY CAR BUT FEEL I
19                SHOULD BE COMPENSATED FOR THE SHEAR HELL
20                AND HUGE FINANCIAL BURDEN IT HAS CAUSED MY
                  FAMILY. I'VE HAD IT BACK SINCE NOVEMBER 12, 2016
21                AND THE FINANCIAL BURDEN IS STILL HAUNTING
22                MY FAMILY.
23
24         Vehicle: 2012 Kia Sorento
25         Date Complaint Filed: 03/03/2017
           Date of Incident: 02/24/2017
26
           Component(s): ENGINE
27         NHTSA ID Number: 10958352
28               SUMMARY:
                 COMPLETE ENGINE FAILURE. WHILE PASSING A
                                                   -67-
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 1                LARGE TRUCK ON A NARROW TWO LANE HIGHWAY
                  THE ENGINE COMPLETELY SHUT DOWN MIDWAY
 2                THROUGH THE PASS. MOMENTUM ALLOWED THE
 3                CAR TO COMPLETE THE PASS, BUT DUE TO THE
                  SPEED AND WITHOUT POWER STEERING IT WAS
 4
                  VERY DIFFICULT TO MANEUVER. FORTUNATELY I
 5                WAS FAMILIAR WITH THE ROAD AND ABLE TO MAKE
 6                IT SAFELY TO A PULL OFF. MY LOCAL REPAIR
                  GARAGE DETERMINED THE ENGINE IS SEIZED, WITH
 7                METAL FRAGMENTS IN THE OIL. HAVE MADE
 8                MULTIPLE ATTEMPTS TO CONTACT THE DEALER
                  WHERE THE CAR WAS PURCHASED. TO DATE, NO
 9                RESPONSE. CAR IS CURRENTLY NOT DRIVABLE.
10
11
           Vehicle: 2012 Kia Sorento
12         Date Complaint Filed: 03/02/2017
13         Date of Incident: 03/02/2017
           Component(s): ENGINE
14
           NHTSA ID Number: 10958256
15               SUMMARY:
16               VEHICLE WAS ON THE HIGHWAY AT
                 APPROXIMATELY 55 MPH, READY TO GET OFF OFF
17               RAMP WHEN VEHICLE STARTED RUNNING ROUGH
18               AND TURNED OFF, ON 2-28-17 IN THE MORNING. WE
                 TOWED IT TO THE KIA SERVICE. THEY DIAGNOSED
19               SLUDGE IN THE ENGINE AND THAT IT HAS TO BE
20               REPLACED. THE VEHICLE ONLY HAS 84K MILES AND
21               THE OIL CHANGES HAVE BEEN DONE EVERY 3 TO 4 K.
                 THEY REQUESTED ALL THE OIL SERVICE RECORDS.
22
23
           Vehicle: 2012 Kia Sorento
24
           Date Complaint Filed: 02/18/2017
25         Date of Incident: 06/04/2016
26         Component(s): ENGINE
           NHTSA ID Number: 10955428
27               SUMMARY:
28               ENGINE FAILURE ENGINE STOPPED IN MIDDLE OF
                                                   -68-
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 1                HIGHWAY TRAVELING AT 55 MPH STRAIGHT
                  HIGHWAYPUT FAMILY IN DANGER 2016 JUNE OIL
 2                LEAKING ALL OVER GROUND AND ELECTRICAL
 3                FAILURE PUSHED CAR TO SIDE OF HIGHWAY .140000
                  MILE PAST WARRANTY KIA REFUSE TO FIX.
 4
 5
 6         Vehicle: 2012 Kia Sorento
           Date Complaint Filed: 01/06/2017
 7         Date of Incident: 12/30/2016
 8         Component(s): ENGINE
           NHTSA ID Number: 10940101
 9
                 SUMMARY:
10               I NOTICED THAT UPON STARTING , MY KIA LET OUT
11               BLUE SMOKE. I SAW NO WARNING LIGHTS, NO OIL
                 ON THE GROUND, NO INDICATION OF A SERIOUS
12               PROBLEM OTHER THAN THE SMOKE.
13
                  I HAVE A LITTLE OVER 95,000 MILES ON THE CAR
14
                  AND A 100,000 MILE WARRANTY
15
16                I MADE AN APPOINTMENT TO SERVICE THE CAR AND
                  HAVE IT LOOKED AT. EVERYTHING WAS RUNNING
17                FINE AND DRIVING FINE.
18
                  THREE DAYS LATER, THE CHECK ENGINE LIGHT
19                CAME ON. NO OTHER INDICATORS WERE PRESENT. I
20                DROVE THE CAR A SHORT DISTANCE AND IT SEIZED
21                UP WHILE I WAS TRAVELING AT ABOUT 45 MPH.

22                I CHANGED THE OIL ON A REGULAR BASIS & DID THE
23                NORMAL SERVICE WORK.
24                THE CAR WAS TOWED TO THE DEALER. THE DEALER
25                INSPECTED THE CAR AND SAID IT NEEDED A NEW
                  ENGINE AND REAR END. THE REAR END WOULD BE
26
                  COVERED UNDER WARRANTY BUT THE ENGINE
27                WOULD NOT. I DID NOT HAVE MY RECEIPTS FOR OIL
28                CHANGES.

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 1                I AM TRYING TO GET KIA TO HONOR THE
                  WARRANTY. THEY WILL COVER THE REAR END BUT
 2                NOT THE ENGINE AT THIS POINT. *TR
 3
 4
           Vehicle: 2012 Kia Sorento
 5         Date Complaint Filed: 12/09/2016
 6         Date of Incident: 12/08/2016
           Component(s): ENGINE
 7         NHTSA ID Number: 10934130
 8               SUMMARY:
                 CATASTROPHIC ENGINE FAILURE, STATIONARY,
 9
                 ENGINE SEIZED UP AFTER OWNING IT FOR 10
10               MONTHS. 104,000 MILES, OIL CHANGES REGULAR,
11               METAL SHAVINGS IN OIL, NO OIL LIGHTS OR ENGINE
                 LIGHTS ON. *TR
12
13
14
           Vehicle: 2012 Kia Sorento
15         Date Complaint Filed: 10/12/2016
16         Date of Incident: 10/9/2016
           Component(s): ENGINE
17         NHTSA ID Number: 10915477
18               SUMMARY:
                 10/09/2016 DRIVING HOME FROM BEING EVACUATED
19
                 BECAUSE OF HURRICANE MATTHEW, WITH MY
20               DAUGHTER, SON-IN-LAW AND GRANDBABY. WHILE
21               GOING DOWN THE HWY 65 MILES PER HOUR, WE
                 HEARD A LOUD NOISE, I FELT A THUMP UNDER MY
22               FOOT ON THE PASSENGER SIDE. WE LATER LEARNED
23               IT WAS THE ROD THAT WENT THROUGH THE ENGINE.
                 THANK GOD MY HUSBAND COSTED THE CAR OVER
24
                 TO THE SIDE, IT WOULD NOT START. WE CALLED FOR
25               HELP FROM A FRIEND THEY PICKED US UP. TOWED
26               THE CAR TO KIA DEALERSHIP IN MYRTLE BEACH.

27                WE HAVE JUST LEARNED THEY ARE NOT GOING TO
28                PAY FOR A NEW MOTOR. THEY HAVE DETERMINED IT
                                                   -70-
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 1                WAS NOT THEIR FAULT!! HOW IS THIS POSSIBLE??
                  WITH ALL THESE COMPLAINTS. WHY IS THERE NOT A
 2                CLASS ACTION LAW SUITE?
 3
 4
           Vehicle: 2012 Kia Sorento
 5         Date Complaint Filed: 09/22/2016
 6         Date of Incident: 09/22/2016
           Component(s): ENGINE
 7         NHTSA ID Number: 10908736
 8               SUMMARY:
                 TL* THE CONTACT OWNS A 2012 KIA SORENTO.
 9
                 WHILE DRIVING VARIOUS SPEEDS, AN ABNORMAL
10               SOUND WAS HEARD COMING FROM THE BOTTOM OF
11               THE VEHICLE. THE VEHICLE STALLED WITHOUT
                 WARNING. THE CONTACT PULLED OVER TO THE
12               SHOULDER, BUT THE VEHICLE FAILED TO RESTART.
13               THE VEHICLE WAS TOWED TO THE DEALER WHERE
                 IT WAS DIAGNOSED THAT THERE WAS A HOLE IN
14
                 THE ENGINE BLOCK, THE RODS CAME APART, AND
15               THERE WAS NO OIL IN THE VEHICLE. THE DEALER
16               STATED THAT THE ENGINE BLOCK WOULD HAVE TO
                 BE REPLACED. THE VEHICLE WAS NOT REPAIRED.
17               THE MANUFACTURER WAS NOTIFIED OF THE
18               FAILURE. THE APPROXIMATE FAILURE MILEAGE
                 WAS 14,000.
19
20
21         Vehicle: 2012 Kia Sorento
           Date Complaint Filed: 09/22/2016
22         Date of Incident: 09/02/2016
23         Component(s): ENGINE
           NHTSA ID Number: 10908752
24
                 SUMMARY:
25               TL* THE CONTACT OWNS A 2012 KIA SORENTO.
26               WHILE DRIVING 80 MPH, THE VEHICLE
                 DECELERATED AND STALLED WITHOUT WARNING.
27               THE VEHICLE WAS TOWED TO THE DEALER WHERE
28               IT WAS DIAGNOSED THAT A ROD WENT THROUGH
                                                   -71-
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 1                THE ENGINE BLOCK. THE VEHICLE WAS NOT
                  REPAIRED. THE MANUFACTURER WAS MADE AWARE
 2                OF THE FAILURE. THE FAILURE MILEAGE WAS
 3                144,000.
 4
 5         Vehicle: 2012 Kia Sorento
 6         Date Complaint Filed: 08/12/2016
           Date of Incident: 08/07/2016
 7         Component(s): ENGINE
 8         NHTSA ID Number: 10895275
                 SUMMARY:
 9
                 WHILE DRIVING 70MPH ON THE HIGHWAY THE
10               ENGINE SHUT DOWN NO WARNING LIGHTS, NO
11               CHECK ENGINE LIGHTS, NO WARNING WHAT SO
                 EVER. WE HAD A NEAR MISS WITH THE PERSON
12               BEHIND US BUT WERE ABLE TO GET TO THE SIDE OF
13               THE ROAD WITHOUT INCIDENT. THE VEHICLE
                 WOULD NOT START. AFTER WAITING 15 MINUTES I
14
                 WAS ABLE TO GET THE VEHICLE TO START, IT NOW
15               HAS A LOUD CLANK COMING FROM THE ENGINE AND
16               STILL NO POWER. WE WERE STRANDED UNABLE TO
                 DRIVE IT. WE HAD IT TOWED TO THE DEALERSHIP.
17               THE SERVICE DEPARTMENT LOOKED AT IT AND
18               FOUND METAL SHAVINGS IN THE MOTOR, SAID HE
                 HAS HAD TO FIX MANY OF THESE ISSUES ON THIS
19               PARTICULAR MOTOR, GDI 2.4 L AND THAT IT IS A
20               MANUFACTURING ISSUE NOTHING WE DID. THE
21               CAUSE WAS FROM METAL SHAVINGS BLOCKING OIL
                 PASSAGE TO THE RODS AND THE ROD BEARINGS
22               WENT OUT CAUSING A CATASTROPHIC ENGINE
23               FAILURE WITHOUT WARNING.
24
25         Vehicle: 2012 Kia Sorento
26         Date Complaint Filed: 08/06/2016
           Date of Incident: 08/02/2016
27         Component(s): ENGINE
28         NHTSA ID Number: 10893682
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 1                SUMMARY:
                  THE CAR WOULD LOSE POWER WHILE DRIVING THEN
 2                ACCELERATE TO SPEED. THIS WAS FOLLOWED BY
 3                SMOKE FROM THE TAIL PIPE. I HAVE RETURNED TO
                  THE YONKERS KIA DEALERSHIP ON CENTRAL PARK
 4
                  AVENUE IN YONKERS NY ON AUGUST 5TH, 2016 TO
 5                LOOK INTO A PROBLEM. A DIAGNOSTIC WAS DONE
 6                AND IT WAS DETERMINED THE ENGINE WAS RUINED
                  DO TO SLUG BUILD UP. I WAS TOLD THAT A
 7                REPLACEMENT WOULD COAST ABOUT $10,000. ODD
 8                FOR ME BECAUSE MY WIFE AND I TOOK THE CAR IN
                  FOR REGULAR OIL CHANGES AND NO INDICATION OF
 9                ENGINE ISSUES DISPLAYED ON THE DASHBOARD.
10
                  AFTER SPEAKING TO A SERVICE REPRESENTATIVE
11
                  HE STATED THAT I WOULD HAVE TO SUPPORT PROOF
12                OF MAINTENANCE ON MY CAR WHICH WOULD
13                ALLOW MY REPAIRS DONE UNDER OUR WARRANTY.
                  I BECAME EXTREMELY DISILLUSIONED AFTER
14                BRINGING THE CAR INTO KIA DUE TO AN ISSUE THAT
15                CAN BE TIED TO THE MANUFACTURER. WE WERE
                  DENIED SERVICE UNDER THE WARRANTY WHICH WE
16
                  ARE STILL UNDER. OUR CAR IS FAIRLY NEW WITH
17                LESS THAN 25K MILES. WE CARRIED OUT ALL OF THE
18                STEPS THUS FAR INCLUDING TAKING CARE OF OUR
                  INVESTMENT, PROVING OUR CAR HAS BEEN TAKEN
19                CARE OFF INCLUDING KEEPING METICULOUS
20                ANNOTATIONS (KEPT IN THE LOG PROVIDED BY KIA)
                  AND RECEIPTS TO DATE. THIS IS ANOTHER EXAMPLE
21                OF BIG COMPANIES LOOKING FOR LOOPHOLES AND
22                USING TACTICS TO SWINDLE PEOPLE OF THEIR HARD
23                EARNED PAYCHECKS.

24                HOWEVER, KIA DOES NOT WANT TO HONOR US. OUR
25                PAPERWORK/LOG/RECEIPTS ARE BEING TAKEN
                  APART WITH PREJUDICE IN ORDER TO NOT PROVIDE
26                SERVICES AND RECTIFY THIS ISSUE THAT IS PROVEN
27                TO BE A DEFECT.
28
                  WE ARE CONCLUDING THAT BASED ON THE POOR
                                                   -73-
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 1                HANDLING OF OUR CASE AND MANY OTHERS LIKE
                  OURS, KIA AND ITS AFFILIATES /DEALERS AND
 2                CORPORATE, ARE NOT ABOUT SAFETY AND
 3                CUSTOMER SATISFACTION. ALL WE ASK IS THAT KIA
                  HONORS ITS WARRANTY RATHER THAN FINAGLE
 4
                  USE ON THE FABRICATED NOTION THAT WE ARE AT
 5                FAULT RATHER THAN POOR ENGINEERING.
 6
 7         Vehicle: 2012 Kia Sorento
 8         Date Complaint Filed: 07/29/2016
           Date of Incident: 07/05/2016
 9
           Component(s): ENGINE
10         NHTSA ID Number: 10891685
11               SUMMARY:
                 TL* THE CONTACT OWNS A 2012 KIA SORENTO.
12               WHILE DRIVING 70 MPH, THE VEHICLE RANDOMLY
13               STALLED WITHOUT WARNING. THE VEHICLE WAS
                 UNABLE TO BE DRIVEN DUE TO THE FAILURE AND
14
                 WAS TOWED TO THE DEALER. THE DEALER
15               INDICATED THAT THE ENGINE FRACTURED AND
16               FRAGMENTS ENTERED INTO OTHER AREAS OF THE
                 VEHICLE. THE DEALER REPLACED THE ENGINE
17               ASSEMBLY. THE MANUFACTURER WAS NOTIFIED OF
18               THE FAILURE AND PROVIDED NO SOLUTION. THE VIN
                 WAS NOT AVAILABLE. THE APPROXIMATE FAILURE
19               MILEAGE WAS 67,000. UPDATED 09/23/16*LJ
20
21
           Vehicle: 2013 Kia Sorento
22         Date Complaint Filed: 10/05/2017
23         Date of Incident: 09/22/2017
           Component(s): ENGINE
24
           NHTSA ID Number: 11031971
25               SUMMARY:
26               KIA REPLACED MY ENGINE TWICE, DUE TO OIL
                 CONSUMPTION. A MONTH AFTER THE FIRST ENGINE
27               REPLACEMENT, I HAD THE SAME PROBLEMS.. SMOKE
28               COMING OUT OF EXHAUST, LOSS OF POWER,
                                                   -74-
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 1                STALLING AND OIL CONSUMPTION. I WAS IN AND
                  OUT OF KIA’S SERVICE DEPARTMENT. THEY TOLD
 2                ME NOTHING WAS WRONG! I MOVED FROM CO TO
 3                NE, MY HUSBAND AND I HAD TO ADD OIL EVERY 100
                  MILES, WITH SMOKE COMING OUT OF EXHAUST AND
 4
                  STALLING. LINCOLN NE KIA FOUND AN OIL LEAK AT
 5                THE EXHAUST MANIFOLD RIGHT AWAY! KIA
 6                INSTRUCTS THEN TO REPLACE MY ENGINE AGAIN!
                  ONCE THEY REPLACED ENGINE, THEY STILL SAW
 7                THE LEAK AT THE EXHAUST MANIFOLD WITH
 8                RESULTED IN MORE GUESSING AND PARTS. THE DAY
                  AFTER I PICKED IT UP, MY HUSBAND AND I WENT
 9                OUT TO DINNER AND MY SORENTO DIED IN THE
10                MIDDLE OF THE ROAD. RIGHT AWAY CALLED AND
                  GOT IT BACK IN. AT FIRST THEY COULD NOT
11
                  DUPLICATE, HOWEVER AFTER TAKING IT 50 MILES, IT
12                DIED 3 TIMES. THEY STILL CAN’T FIND ANYTHING,
13                BUT FEEL IT MAY BE THE THROTTLE BODY. THEY
                  PUT A USED ONE ON AND HAVE ME DRIVE IT A FEW
14                WEEKS, IT DIDN’T DIE DURING THAT TIME, SO THEY
15                ORDERED A NEW ONE AND INSTALLED. A MONTH
                  LATER I DRIVE TO CO, I BREAK DOWN, IT’S TOWED
16
                  BACK AND KIA CAN’T FIND ANYTHING. I DRIVE IT
17                AND IT DIES 1/2 DOZEN MORE TIMES, EACH TIME I
18                TAKE IT RIGHT IN, BUT THE CODE HAS CLEARED AND
                  THEY CAN’T FIND ANYTHING! FINALLY, IT DOES AND
19                THE LIGHT STAYS ON, IT SHOWS IT’S THE MAP
20                SENSOR. KIA HAS A SPECIALIST COME OUT TO
                  INSTALL THAT AND INSPECT MY CAR. THEY SAY IT’S
21                FIXED AND SAFE. I DRIVE TO CO ON 9/22/17, 2
22                MONTHS LATER AND MY ENGINE CATCHES ON FIRE. I
23                LOSS MY BRAKES, CAN’T PUT IT IN PARK AND
                  EMERGENCY BRAKE WON’T WORK. FLAMES ARE
24                EVERYWHERE, SMOKE FILLING MY CAR. I JUMP OUT
25                OF MY BURNING, MOVING CAR AND SECONDS LATER
                  THE WHOLE THING ENGULFS IN FLAMES! MOST
26                HORRIFIC, AWFUL THING EVER! I WAS LUCKY
27                ENOUGH TO HAVE MINOR INJURIES. MY MENTAL
                  AND EMOTIONAL STATE ARE A MESS! KIA WON’T DO
28
                  ANYTHING!
                                                   -75-
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 1
 2         Vehicle: 2013 Kia Sorento
 3         Date Complaint Filed: 09/14/2017
 4         Date of Incident: 06/26/2017
           Component(s): ENGINE
 5         NHTSA ID Number: 11023453
 6               SUMMARY:
                 MILITARY STATIONED OVERSEAS WITH AN
 7               UPCOMING MOVE TO THE USA (MOVED AUGUST
 8               2017).ENGINE LIGHT ILLUMINATED ON JUNE 25 2017.
                 ENGINE KNOCK STARTED ON JUNE 26. TOWED TO
 9
                 DEALERSHIP IN ENGLAND ON JULY 11. CAR WAS
10               RULED INOPERABLE WITH ENGINE FAILURE ON JULY
11               12. WE WERE FORCED TO LEAVE OUR CAR IN
                 ENGLAND DUE TO PARTS AVAILABILITY AND LACK
12               OF ASSISTANCE FROM KIA. WE STILL HAVE NOT
13               HEARD ABOUT PARTS AVAILABILITY NOR ARE WE IN
                 POSSESSION OF OUR CAR. NEARING 3 MONTHS
14
                 WITHOUT OUR VEHICLE HAS PUT US IN FINANCIAL
15               DISTRESS.
16
17         Vehicle: 2013 Kia Sorento
18         Date Complaint Filed: 07/2/2017
           Date of Incident: 07/16/2017
19
           Component(s): ENGINE
20         NHTSA ID Number: 11010999
21               SUMMARY:
                 CAR HAS 45K MILES. TOTAL LOSS DUE TO ENGINE
22               FIRE. OIL PAN FAILURE. CAUSE AND ORIGIN REPORT
23               PENDING
24
25         Vehicle: 2013 Kia Sorento
26         Date Complaint Filed: 07/11/2017
           Date of Incident: 06/30/2017
27         Component(s): ENGINE
28         NHTSA ID Number: 11004374
                                                   -76-
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 1                SUMMARY:
                  MY HUSBAND AND I WERE DRIVING NORTH ON I-49
 2                IN LOUISIANA WHEN OUR 2013 KIA SORENTO
 3                (APPROXIMATELY 86,000 MILES) BEGAN MAKING A
                  CLICKING/KNOCKING NOISE UPON ACCELERATION,
 4
                  THE CHECK ENGINE LIGHT BEGAN BLINKING, AND
 5                THE ENGINE IMMEDIATELY SHUT DOWN. WE PULLED
 6                OVER TO THE SHOULDER, TURNED THE VEHICLE OFF,
                  AND ATTEMPTED TO RESTART THE VEHICLE;
 7                HOWEVER, THE ENGINE FAILED TO RESTART. WE
 8                TURNED OUR EMERGENCY LIGHTS ON FOR
                  CAUTIONARY PURPOSES, BUT AFTER
 9                APPROXIMATELY 30 MINUTES, THE LIGHTS
10                COMPLETELY STOPPED WORKING. THERE WAS
                  EVIDENCE OF OIL LEAKAGE UNDERNEATH THE
11
                  VEHICLE, AS WELL AS OIL SPLATTER UNDERNEATH
12                THE HOOD OF THE VEHICLE NEAR THE ENGINE AND
13                OVER THE ENTIRE EXTERIOR OF THE VEHICLE, FROM
                  THE FRONT HOOD TO THE BACK WINDOW. WE HAD
14                THE VEHICLE TOWED TO THE NEAREST KIA
15                DEALERSHIP AND WERE TOLD BY THE SERVICE
                  DEPARTMENT THAT THE BEARINGS IN THE ENGINE
16
                  HAD FAILED, WHICH RESULTED IN "CATASTROPHIC
17                ENGINE FAILURE," AND THAT ENGINE WILL NEED TO
18                BE REPLACED. WE WERE ALSO INFORMED THAT THE
                  ENGINE IN OUR VEHICLE IS A 2.4-L MPI ENGINE,
19                WHICH IS NOT PART OF THE CURRENT RECALL;
20                HOWEVER, INDIVIDUALS AT THE DEALERSHIP AND
                  WITH KIA CUSTOMER SERVICE CONFIRMED THAT
21                THE PROBLEMS WE EXPERIENCED ARE THE EXACT
22                SAME PROBLEMS THAT HAVE BEEN REPORTED WITH
23                THE 2.4-L GDI ENGINES THAT ARE PART OF THIS
                  RECALL. WE HAVE BEEN EXTREMELY DILIGENT
24                WITH OIL CHANGES, AND HAD APPROXIMATELY 2000
25                MILES UNTIL OUR NEXT OIL CHANGE, WHICH WE
                  CAN SUPPORT WITH DOCUMENTATION. KIA HAS
26                DENIED OUR REQUEST FOR ASSISTANCE BECAUSE
27                OUR VEHICLE IS NO LONGER UNDER WARRANTY.
28
           Vehicle: 2013 Kia Sorento
                                                   -77-
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 1         Date Complaint Filed: 09/08/16
           Date of Incident: 08/3016
 2         Component(s): ENGINE
 3         NHTSA ID Number: 10904585
                 SUMMARY:
 4
                 ON TUESDAY, AUGUST 30TH, 2016, MY HUSBAND WAS
 5               DRIVING IN OUR 2013 KIA SORENTO WITH OUR TWO
 6               TODDLERS WHEN THE CAR JUST STOPPED RUNNING
                 WITH NO WARNING WHATSOEVER. HE WAS GOING
 7               APPROXIMATELY 45 MPH DRIVING STRAIGHT WHEN
 8               THE FAILURE OCCURRED. WE LOST ALL POWER
                 INCLUDING POWER STEERING SO IT TOOK ALL HE
 9               HAD TO COAST AND PULL OVER SAFELY. HE CALLED
10               KIA WHO GOT A TOW TRUCK EN ROUTE TO TOW THE
                 VEHICLE TO OUR DEALERSHIP. MY DAD HAD TO
11
                 COME BY TO PICK UP MY FRIGHTENED GIRLS WHILE
12               MY HUSBAND WAITED WITH THE VEHICLE (IT TOOK
13               TWO HOURS). WE HAVE NEVER HAD ANY MAJOR
                 ISSUES BEFORE WITH THIS VEHICLE AND
14               FAITHFULLY HAD IT MAINTAINED THROUGH THE
15               DEALERSHIP. THE NEXT DAY, THE SERVICE
                 DEPARTMENT GAVE US NEWS WE WERE NOT
16
                 EXPECTING; THE ENGINE WAS BLOWN AS WE BROKE
17               A CRANKSHAFT. THIS VEHICLE ONLY HAS 36,000
18               MILES ON IT!! LUCKILY THIS IS COVERED UNDER THE
                 WARRANTY SINCE THEY VERIFIED THAT IT WAS
19               PROPERLY MAINTAINED BY THEM. FAST FORWARD A
20               WEEK AND WE GET THE CALL TONIGHT THAT KIA
                 HAS YET TO RELEASE A NEW ENGINE TO BE
21               INSTALLED AND THEY HAVE NO TIME FRAME.
22
23
24
25         Vehicle: 2014 Kia Sorento
           Date Complaint Filed: 08/21/2017
26
           Date of Incident: 08/16/2017
27         Component(s): ENGINE
28         NHTSA ID Number: 11018645
                 SUMMARY:
                                                   -78-
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 1                MY CAR STARTING TO BEGIN TO SHOW LACK OF
                  POWER AT FIRST, WHICH I HAD MENTIONED IN
 2                ADVANCE IN SERVICE APPOINTMENTS. TWO DAYS
 3                BEFORE MY ONE YEAR OF OWNING IT, THE CAR
                  BEGAN TO STALL OUT WHEN I STOPPED FOR TRAFFIC
 4
                  LIGHTS WITHIN THE SAME DAY A OIL LIGHT
 5                WARNING FLASHED, AND THE CAR STARTED TO
 6                HAVE A KNOCKING NOISE. I WENT AND ADDED TWO
                  QUARTS OF OIL. ONCE THE OIL LIGHT DISAPPEARED
 7                BUT THE KNOCKING CONTINUED . I TOOK THE CAR
 8                TO MY REGULAR KIA SERVICE PROVIDER THE SAME
                  DAY AND IN THE PROCESS OF GOING THERE THE
 9                ENGINE LIGHT CAME ON. I WAS TOLD TO BRING IT IN
10                THE NEXT DAY, THE ATTENDANT TOLD ME THAT HE
                  COULD HEAR THE KNOCKING, WHICH SOUNDED
11
                  CONCERNING. I BROUGHT THE CAR BACK THE NEXT
12                DAY AS INSTRUCTED AND WAS TOLD THAT I
13                SHOULD BE ABLE TO PICK IT UP AT END OF DAY.
                  TIME PASSED BY AND IT WAS GETTING LATE
14                TOWARDS CLOSING, SO I CALLED THE SHOP. I WAS
15                TOLD THAT THE ENGINES HAD SEIZED AND THAT
                  THE OIL BAY WAS DRY. I HAVE NEVER SEEN
16
                  SOMETHING HAPPEN SO FAST. I HAD NO WARNING
17                OF ANY KIND OF OIL ISSUES UNTIL THE DAY BEFORE,
18                AND I HAD BEEN TAKING THE CAR IN FOR IT'S
                  REGULAR SERVICES. THE CAR WAS IN THE KIA
19                SERVICE SHOP, AND MOVED BY THEM. IT WAS
20                RUNNING WHEN I BROUGHT IT IN BUT I AM BEING
                  TOLD THAT THE ENGINE IS SHOT.
21
22
23         Vehicle: 2011 Kia Sportage
           Date Complaint Filed: 02/13/2017
24         Date of Incident: 02/03/2017
25         Component(s): ENGINE
           NHTSA ID Number: 10954281
26
                 SUMMARY:
27               2011 KIA SPORTAGE - ENGINE FAILED WITHOUT
28               WARNING WITH TWO TODDLERS IN CAR. LUCKILY
                 THIS HAPPENED AS I TURNED OFF A HIGHWAY AND
                                                   -79-
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 1                WAS ABLE TO STOP ON THE SHOULDER.
                  MANUFACTURER REFUSES TO FIX BECAUSE I DON'T
 2                HAVE MAINTENANCE RECORD. I HAVE A FRIEND
 3                WHO HAS BEEN CHANGING OIL/SERVICING CAR. I
                  HAVE LEARNED THAT MANY OWNERS OF THIS
 4
                  YEAR/MODEL CAR HAVE SIMILAR EXPERIENCES. I
 5                FEEL THE MANUFACTURER SHOULD DEAL WITH A
 6                PROBLEM AS SEVERE AS THIS IMMEDIATELY!

 7
 8         Vehicle: 2011 Kia Sportage
           Date Complaint Filed: 06/20/2016
 9
           Date of Incident: 06/15/2016
10         Component(s): ENGINE
11         NHTSA ID Number: 10875228
                 SUMMARY:
12               ENGINE SHUT DOWN IN THE HIGHWAY CAUSING
13               LOSS OF POWER STEERING/BRAKES. CAR HAS LESS
                 THAN 80K MILES, ALL OIL CHANGES PERFORMED PER
14
                 SPEC RECENTLY ADTER SWITCHING TO FULL
15               SYNTHETIC OIL CHANGED EVERY 5000 MILES.
16               ENGINE SEIZED. VERY SIMILAR TO HYUNDAI RECALL
                 ISSUED 9/25/2015. SAME ENGINE MANUFACTURED IN
17               THE SAME PLANT WITH A DIFFERENT NAME BADGE.
18
19
           Vehicle: 2011 Kia Sportage
20         Date Complaint Filed: 10/01/2014
21         Date of Incident: 08/30/2014
           Component(s): ENGINE
22         NHTSA ID Number: 10640483
23               SUMMARY:
                 SECOND CATASTROPHIC FAILURE OF 2.0 LITER
24
                 TURBOCHARGED ENGINE IN LESS THAN 30,000 MILES
25               SERVICE. *TR
26
27         Vehicle: 2012 Kia Sportage
28         Date Complaint Filed: 10/18/2017
                                                   -80-
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                                       #:1257



 1         Date of Incident: 10/06/2017
           Component(s): ENGINE
 2         NHTSA ID Number: 11034261
 3               SUMMARY:
                 MY DAUGHTER WAS DRIVING ON THE HIGHWAY
 4
                 AND THE CAR JUST STOPPED, NO WARNING,
 5               NOTHING. LUCKILY WAS ABLE TO GET TO SIDE OF
 6               ROAD, TOWED AND MECHANIC SAID THE ENGINE IS
                 COMPLETELY BLOWN/SEIZED. WON'T START, STILL
 7               AT MECHANICS IN ANOTHER STATE. NO WARNINGS
 8               OR PRIOR ISSUES. CONSISTENT W/OIL CHANGES AND
                 UPKEEP
 9
10
11         Vehicle: 2012 Kia Sportage
           Date Complaint Filed: 07/03/2017
12         Date of Incident: 02/12/2017
13         Component(s): ENGINE
           NHTSA ID Number: 11002799
14
                 SUMMARY:
15               DRIVING DOWN THE ROAD AT APPROXIMATELY 45-
16               50 MPH AND THE ENGINE BEGAN KNOCKING. LOST
                 ALL POWER TO THE CAR. A FEW MOMENTS LATER,
17               THE CAR STOPPED COMPLETELY IN THE MIDDLE OF
18               A BUSY INTERSECTION. I GOT OUT OF THE CAR AND
                 PUSHED IT INTO A GAS STATION PARKING LOT. THE
19               CAR WOULD CRANK BUT THE KNOCKING OF THE
20               ENGINE WAS BECOMING WORSE. I HAD THE CAR
21               TOWED TO A SHOP WHERE THE PROBLEM WAS
                 DIAGNOSED AS "ROD KNOCK" WHICH IS CAUSED BY
22               A FAULTY MOTOR, ALLOWING METAL SHAVINGS TO
23               ENTER AND BLOCK THE FLOW OF OIL TO THE
                 MOTOR. NOT WANTING TO BELIEVE THAT I WAS
24               GOING TO HAVE TO PAY $5,000 TO REPLACE THE
25               ENGINE, I GOT A SECOND OPINION FROM A KIA
                 DEALERSHIP IN MY HOME TOWN. NOT ONLY DID
26
                 THEY CONFIRM WHAT THE INITIAL MECHANIC HAD
27               DIAGNOSED, BUT WERE VERY RUDE WHEN ASKING
28               US TO "REMOVE OUR CAR FROM THEIR PARKING LOT
                 BECAUSE UNLESS WE WERE GOING TO PAY THEM TO
                                                   -81-
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 1                FIX IT, IT HAD NO BUSINESS BEING THERE." ALL OIL
                  CHANGES HAVE BEEN DONE REGULARLY AND I
 2                HAVE DOCUMENTATION FOR THEM ALL. OUR
 3                VEHICLE HAD 74,000 MILES ON IT AND WAS KEPT IN
                  EXCELLENT CONDITION. AS OF NOW, KIA HAS DONE
 4
                  NOTHING TO EXPLAIN WHY NOTHING HAS BEEN
 5                DONE ABOUT OUR PROBLEM, AS WELL AS MANY
 6                OTHERS WHO HAVE HAD THIS SAME PROBLEM.

 7
 8         Vehicle: 2012 Kia Sportage
           Date Complaint Filed: 05/27/2017
 9
           Date of Incident: 05/24/2017
10         Component(s): ENGINE
11         NHTSA ID Number: 10991919
                 SUMMARY:
12               DRIVING DOWN THE FREEWAY AT 80MPH (SPEED
13               LIMIT IN IDAHO), RPMS STARTED TO REV OVER 6K,
                 HEARD A TICKING SOUND, THEN A VERY LOUD
14
                 BANG, FOLLOWED BY A BIG PUFF OF BLACK SMOKE,
15               ALL IN THE SPAN OF AROUND 20 SECONDS. CAR DIED
16               ON THE FREEWAY, HAD TO COAST TO GET IN
                 EMERGENCY LANE. THEN THE CHECK ENGINE LIGHT
17               CAME ON. THERE WAS NO INDICATION OF ENGINE
18               ISSUES UNTIL IT WAS FAR TOO LATE. THANKFUL THE
                 CARS BEHIND ME WERE PAYING ATTENTION OR I
19               WOULD HAVE BEEN IN AN AWFUL ACCIDENT WITH
20               AN 18 WHEELER. MECHANIC FOUND THAT ENGINE
21               HAD THROWN A ROD AND PUT A HOLE IN THE
                 ENGINE BLOCK. 106K MILES ON THE VEHICLE, DID
22               NOT EXPECT TO HAVE ENGINE FAILURE THIS EARLY.
23               THIS VIN IS NOT PART OF THE CURRENT RECALL, I
                 BELIEVE IT SHOULD BE, AS IT HAS BEEN PROPERLY
24               MAINTAINED AND SHOULD NOT HAVE FAILED ON
25               THE FREEWAY WITH NO INDICATION OF PROBLEMS
                 UNTIL IT WAS TOO LATE.
26
27
28         Vehicle: 2012 Kia Sportage
                                                   -82-
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 1         Date Complaint Filed: 05/22/2017
           Date of Incident: 04/24/2017
 2         Component(s): ENGINE
 3         NHTSA ID Number: 10991094
                 SUMMARY:
 4
                 CRUISING ALONG AT FREEWAY SPEED, 75 MPH,
 5               VEHICLE MOMENTARILY LOST POWER AS IF IT WAS
 6               GOING TO STALL OR DOWN SHIFT. UPON RESUMING
                 SPEED, HEARD A TAPPING NOISE AND A LOUD BANG,
 7               SAW SMOKE COMING OUT THE BACK OF THE
 8               VEHICLE AND OBJECTS TOSSED OUT. SAW A
                 VEHICLE FOLLOWING IN MY LANE, SWERVE AS IF
 9               AVOIDING AN OBJECT BUT DID NOT STOP. COASTED
10               TO THE SIDE OF THE FREEWAY, NOTICED A TRAIL OF
                 OIL. UPON PARKING, CHECKED UNDERNEATH THE
11
                 ENGINE COMPARTMENT, NOTICED OIL DRIPPING
12               AND METAL PIECES, AND WHAT APPEARED TO BE A
13               HOLE IN THE OIL PAN. VEHICLE WAS TOWED TO A
                 DEALERSHIP AND WAS TOLD, A COUPLE OF DAYS
14               LATER, THAT THE VEHICLE MAY BE SUBJECT TO A
15               RECALL FOR SIMILAR DEFECTS. DOING AN ONLINE
                 QUERY, I NOTICED THAT THE 2.4 ENGINE FOR THIS
16
                 MODEL WAS NOT A PART OF THE RECALL
17               CAMPAIGN, ALTHOUGH OTHER MODELS WITH THE
18               2.4 ENGINE WERE.

19                FORTUNATELY, IT APPEARS THAT NO FOLLOWING
20                VEHICLES WERE HIT WITH ANY OF THE DEBRIS
                  COMING OFF THE VEHICLE. UPON CHECKING THE
21                SIDE OF THE FREEWAY, I PICKED UP WHAT
22                APPEARED TO BE A PIECE OF THE ENGINE'S
23                CONNECTING ROD. HAD THIS PIECE HIT A
                  FOLLOWING VEHICLE, IT COULD'VE RESULTED IN
24                PROPERTY DAMAGE OR UNKNOWN INJURIES TO ITS
25                OCCUPANTS.
26
27         Vehicle: 2012 Kia Sportage
28         Date Complaint Filed: 04/09/2014
           Date of Incident: 04/03/2014
                                                   -83-
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 1         Component(s): ENGINE
           NHTSA ID Number: 10578489
 2             SUMMARY:
 3             DRIVING ON THE INTERSTATE, THE ENGINE OF THE
               CAR GAVE OUT. I WAS GIVEN ZERO WARNING
 4
               BEFORE THE ENGINE COMPLETELY DIED AND I WAS
 5             FORCED TO PULL MY CAR OFF TO THE SIDE OF THE
 6             ROAD. I WAS LUCKY THAT THE CAR BEHIND ME DID
               NOT HIT ME. THE CAR IS ONLY 2 YEARS OLD WITH
 7             ABOUT 30,000 MILES AND THIS SHOULD NOT HAVE
 8             HAPPENED. IT PUT MY LIFE AND THAT OF MY 11
               MONTH OLD SON AT RISK. THE PUBLIC NEEDS TO BE
 9             AWARE OF THIS ISSUE! NO ONE SHOULD HAVE TO
10             WORRY ABOUT BEING IN A FATAL ACCIDENT DUE TO
               KIA'S FAULTY PARTS. *TR
11
12
13         Vehicle: 2012 Kia Sportage
           Date Complaint Filed: 03/24/2014
14
           Date of Incident: 03/20/2014
15         Component(s): ENGINE
16         NHTSA ID Number: 10574623
                 SUMMARY:
17               AT APPROXIMATELY 5:30AM, I WAS DRIVING DOWN
18               THE FREEWAY. MY KIA SPORTAGE SUDDENLY MADE
                 A LOUD BANG, AND THE ENGINE STALLED. IT ALSO
19               SHUT OFF THE HEADLIGHTS, AND DISABLED THE
20               POWER STEERING, WHILE ON A CURVE, GOING
21               70MPH. THE POWER ASSISTED BRAKES WERE ALSO
                 NOT WORKING, BECAUSE THE ENGINE SHUT DOWN. I
22               MANAGED TO PULL THE VEHICLE OVER WITHOUT
23               INCIDENT, BUT WAS ALMOST HIT BY SEVERAL
                 VEHICLES THAT COULD NO LONGER SEE ME,
24               BECAUSE MY LIGHTS WERE OFF. THE ENGINE
25               WOULD NOT START UP AGAIN, AND I HAD TO HAVE
                 THE VEHICLE TOWED HOME. THIS IS THE 3RD TIME
26
                 THIS VEHICLE HAS DONE THIS, AND KIA REFUSES TO
27               REPAIR THE VEHICLE. *TR
28
                                                   -84-
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 1
           Vehicle: 2013 Kia Sportage
 2         Date Complaint Filed: 09/19/2017
 3         Date of Incident: 09/08/2017
           Component(s): ENGINE
 4
           NHTSA ID Number: 11024230
 5               SUMMARY:
 6               JUST BEFORE REACHING TRYON, NC, COMING FROM
                 CHARLESTON, SC, WE BEGAN TO HEAR A DISTINCT
 7               KNOCKING NOISE COMING FROM UNDER THE HOOD,
 8               AND WERE UNABLE TO ACCELERATE ANY FURTHER
                 THAN AROUND 55 MPH. EVENTUALLY THE ENGINE
 9               FAILED AND WE WERE ABLE TO JUST PULL OFF TO
10               THE SIDE OF THE ROAD JUST YARDS FROM WHERE
                 THE SHOULDER ENDED, AND WE ALMOST HIT A
11
                 STATIONARY VEHICLE JUST IN FRONT OF US ON THE
12               SHOULDER. WE WERE TRYING TO EVACUATE FROM
13               THE HURRICANE WITH MY 7 MONTH OLD
                 GRANDDAUGHTER.. AFTER THE ENGINE HAD
14               COOLED, WE CHECKED AND MADE SURE THAT MY
15               OIL WAS OVER HALF FULL, AND IT WAS. A RENTAL
                 PLACE STAYED OPEN A FEW EXTRA HOURS FOR US,
16
                 AND WE MANAGED TO GET TO OUR DESTINATION
17               THREE HOURS AWAY FROM THE INCIDENT, BECAUSE
18               WE WERE IN DESPERATE NEED OF SOMEWHERE
                 THAT ALLOWED DOGS. ON MONDAY, WE FOUND OUT
19               FROM THE MECHANIC THE CAR HAD EVENTUALLY
20               BEEN TOWED TO THAT THE ENGINE WAS SHOT. THE
                 MECHANIC LET US KNOW THAT THIS WAS AN
21               EXTREMELY COMMON ISSUE WITH OUR MAKE AND
22               MODEL, AND THAT WE SHOULD HAVE HAD A
23               RECALL ISSUED FOR SAFETY MEASURES. WHILE IN
                 ASSEMBLY THERE WAS A MANUFACTURING ERROR
24               WHICH WOULD NOT BE NOTICED UNLESS THE
25               DRIVER WAS GOING LONG DISTANCE ON THE
                 HIGHWAY. THERE WERE TINY METAL SHAVINGS
26               WITHIN THE ENGINE THAT BLOCKED THE OIL FROM
27               PROPERLY CIRCULATING THROUGH THE ROD
                 BEARINGS TO CRITICAL PARTS OF THE ENGINE. WE
28
                 CONTACTED CORPORATE, AND THEY TOLD US OUR
                                                   -85-
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 1                CAR WAS NOT LISTED UNDER THE WARRANTY
                  BECAUSE IT WAS ASSEMBLED IN A DIFFERENT
 2                LOCATION THAN THE ONES RECALLED. THEY THEN
 3                TOLD US I HAD A 60,000 MILE WARRANTY INSTEAD
                  OF A 100,000 MILE, WHICH WAS A FLAT OUT LIE. WE
 4
                  CONTACTED OUR DEALER AND THEY CONFIRMED
 5                WE HAD A 100K. NOW AFTER COLLECTING ALL OF
 6                OUR SERVICE RECORDS, THE DEALERSHIP IS TRYING
                  TO TELL US THEY WILL NOT COVER THE 7,000
 7                DOLLAR COST BECAUSE MY OIL WAS LOW, WHICH IS
 8                ANOTHER FLAT OUT LIE. I DON'T WANT TO MAKE
                  ANY MONEY OFF THEM, I JUST WANT MY REPAIRS
 9                COVERED.
10
11
           Vehicle: 2013 Kia Sportage
12         Date Complaint Filed: 08/18/2017
13         Date of Incident: 06/26/2017
           Component(s): ENGINE
14
           NHTSA ID Number: 11016229
15               SUMMARY:
16               2013 KIA SPORTAGE ENGINE FAILURE IN JUNE OF 2017. I
                 WAS DRIVING THE VEHICLE EASTBOUND AT 75MPH ON
17               INTERSTATE 10 BEAR BLYTHE, AZ IN SIGNIFICANT
18               TRAFFIC. THE ENGINE SHUT OFF AND POWER STEERING
                 FAILED. I ABLE TO AVOID A COLLISION BUT SPUN OUT
19               INTO THE INTERSTATE MEDIAN.
20
21                I HAD THE VEHICLE TOWED TO A KIA DEALERSHIP IN
                  AVONDALE, AZ. KIA DEALERSHIP CONFIRMED THE
22                ENGINE HAD SEIZED. KIA DENIED WARRANTY COVERAGE
23                FOR ENGINE CLAIMING IT IS NOT PART OF THE KIA
                  ENGINE SAFETY RECALL CAMPAIGN SC147. KIA CLAIMS
24                THE ENGINE WAS MANUFACTURED IN KOREA SO IT IS NOT
25                INCLUDED. HOWEVER, THERE ARE AT LEAST 6 OTHER
                  "NOT COVERED" SPORTAGE'S PARKED IN SERVICE LOT
26
                  AWAITING REPAIR. SERVICE MANAGER REPORTED TO ME
27                THAT KIA IS DENYING THE COVERAGE WHEN HE "KNOWS"
28                THE ENGINE PROBLEM IS CAUSED BY A DEFECTIVE
                  MANUFACTURING PROCESS.
                                                   -86-
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 1
 2
 3
 4         Vehicle: 2014 Kia Sportage
           Date Complaint Filed: 08/28/2016
 5         Date of Incident: 08/03/2016
 6         Component(s): ENGINE
           NHTSA ID Number: 10902014
 7               SUMMARY:
 8               WHILE DRIVING MY LEASED 2014 KIA SPORTAGE, THERE
                 WAS NONSTOP CONTINUOUS HESITATION "BUCKING",
 9
                 WITH WHITE SMOKE BLOWING OUT OF THE TAILPIPE,
10               LOSS OF SPEED THEREFORE HAVING TO PRESS HARD ON
11               GAS PEDAL TO AVOID ACCIDENT BY TRYING PULL OFF
                 ROAD. THIS HAPPENS ON CITY ROADS AND HIGHWAY. NO
12               DASHBOARD LIGHT INDICATED THERE WAS A PROBLEM.
13               THE SERVICE ADVISOR AT DESTINATION KIA SAID MY
                 MODEL DOES NOT COME WITH WARNING LIGHTS.
14
15                IT APPEARS TO BE AN OIL PROBLEM. OIL LEVEL GOES
16                DOWN WITH NO VISIBLE SIGNS OF LEAKING. I ONLY HAVE
                  24,000 ON MY KIA SPORTAGE, WITH ONE YEAR LEFT ON
17                MY LEASE. I AM NOT ABLE TO DRIVE THE VEHICLE AS I
18                AM IN FEAR OF STALLING IN TRAFFIC CAUSING MYSELF
                  OR OTHERS TO BE INJURED.
19
20         3.     Hyundai’s Knowledge of the Engine Defect
21         116. The internet is also replete with examples of blogs and other websites where
22   consumers have complained of the exact same engine defect within the Hyundai vehicles
23   and with the same engines.
24         117. Representative examples of complaints on the NHTSA website regarding the
25   Hyundai vehicles with defective GDI engines are included below (with emphasis
26   supplied in capitalized bold letters)9:
27
     9
28     The foregoing complaints are reproduced as they appear on the NHTSA website. Any
     typographical errors are attributable to the original author of the complaint.
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 1
           Vehicle: 2011 Hyundai Sonata
 2         Date Complaint Filed: 1/21/2015
 3         Component(s): ENGINE
           Date of Incident: 01/19/2015
 4
           NHTSA ID Number: 10678152
 5         Manufacturer: Hyundai Motor America
 6               SUMMARY:
                 I WAS DRIVING DOWN THE HIGHWAY, THE ENGINE
 7               STARTED MAKING A KNOCKING NOISE. NO LESS
 8               THAN 30 SECONDS LATER DID THE CAR'S ENGINE
                 MAKE A LARGE BAG NOISE AND I RAN OVER WHAT
 9               FELT LIKE PARTS. I COASTED A WHILE DOWN THE
10               ROAD AND FINALLY PULLED THE CAR OVER TO THE
                 SIDE OF THE ROAD. UPON OPENING THE HOOD I
11
                 DISCOVERED OIL ALL OVER THE INTAKE AND
12               EXHAUST MANIFOLDS AS WELL AS THE RADIATOR. I
13               CALLED HYUNDAI ROADSIDE ASSISTANCE AND HAD
                 THE CAR TOWED TO FAULKNER HYUNDAI IN
14               HARRISBURG PA ON 1/19/14. THEY PROVIDED A
15               SERVICE LOANER AND SAID THEY WOULD GET BACK
                 TO ME WITH AN UPDATE ON THE CAR. I WAITED
16
                 UNTIL WEDNESDAY THE 21ST BEFORE CALLING
17               THEM, ONLY TO FIND OUT THAT THE ENGINE HAD
18               SEIZED AND THEY HAD ALREADY TAKEN PICTURES
                 OF THE DAMAGE AND SENT THEM TO THE HYUNDAI
19               PEOPLE TO SEEK WARRANTEE COVERAGE. THEY
20               ALSO ASKED ME FOR MAINTENANCE RECORDS ON
                 THE CAR. I CHANGE THE OIL MYSELF AND ALWAYS
21               PUT IN FULL SYNTHETIC, SO THEY HAD ME SUBMIT
22               RECEIPTS FROM THE AUTO PARTS STORE PROVING I
23               BOUGHT OIL AND FILTERS OR THE SONATA. I AM
                 NOW AWAITING RESOLUTION FROM HYUNDAI. WILL
24               UPDATE ONCE I HAVE AN ANSWER FROM HYUNDAI.
25               THIS IS A PRETTY SERIOUS SAFETY CONCERN, THE
                 ENGINE LET GO AT 60+MPH WITHOUT WARNING,
26               WHEN IT LET GO IT BLEW OIL ALL OVER THE
27               ENGINE COMPARTMENT AND I'M SURE ON THE
                 ROAD AS WELL. LUCKY I WAS DRIVING EARLY IN
28
                 THE MORNING AND THEIR WAS VERY LITTLE
                                                   -88-
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 1                TRAFFIC.
 2
 3         Vehicle: 2011 Hyundai Sonata
 4         Date Complaint Filed: 1/06/2015
           Component(s): ENGINE
 5         Date of Incident: 01/06/2015
 6         NHTSA ID Number: 10670454
           Manufacturer: Hyundai Motor America
 7               SUMMARY:
 8               I WAS TRAVELING DOWN A HIGHWAY WHEN MY
                 ENGINE STARTED TO MAKE A KNOCKING SOUND.
 9
                 THE CHECK ENGINE LIGHT CAME ON, AND WITHIN 10
10               SECONDS MY CAR STOPPED RUNNING. I WAS STILL
11               MOVING WHEN THIS HAPPENED. I WAS FORTUNATE
                 TO BE ABLE TO COAST TO A CLOSE BY SIDE ROAD. I
12               AM GRAVELY CONCERNED THAT THIS COULD HAVE
13               HAPPENED ON THE INTERSTATE AT HIGHER SPEEDS,
                 AND THE POTENTIAL CONSEQUENCES OF SUCH. I
14
                 HAD THE CAR TOWED TO A DEALER, AND THEY
15               TELL ME THE ENGINE IS SHOT. I CONTACTED
16               HYUNDAI CUSTOMER CARE, AND THEIR RESPONSE
                 WAS "WHAT DO YOU WANT ME TO DO ABOUT IT."
17               AFTER MORE RESEARCH, I HAVE FOUND NUMEROUS
18               OTHER INSTANCES OF THIS ENGINE FAILURE. IF THIS
                 IS AN ONGOING PROBLEM, I FEEL HYUNDAI SHOULD
19               DO SOMETHING BEFORE SOMEONE GETS KILLED
20               WHEN THIS HAPPENS. PLEASE NOTE I AM THE
21               SECOND OWNER OF THIS CAR. THE MILEAGE AT JUST
                 OVER 85,000 IS MAINLY HIGHWAY MILES, AND THE
22               CAR IS SERVICED REGULARLY.
23
24
           Vehicle: 2011 Hyundai Sonata
25         Date Complaint Filed: 10/26/2014
26         Component(s): ENGINE
           Date of Incident: 10/01/2014
27         NHTSA ID Number: 10650011
28         Manufacturer: Hyundai Motor America
                                                   -89-
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 1                SUMMARY:
                  10/1/2014 @ 7:30PM EST - WHILE DRIVING HOME,
 2                WAS AT A RED LIGHT WHEN THE CAR STALLED
 3                OUT. THEN A LOUD KNOCKING SOUND HAPPENED.
                  *NO ENGINE LIGHT WAS ON* IT IS VERY UNSAFE
 4
                  FOR THE ENGINE TO STALL OR JUST RANDOMLY
 5                SHUTOFF WHILE IN TRAFFIC. THERE WERE NO SIGNS
 6                OR WARNINGS, THE VEHICLE JUST STALLED.
                  VEHICLE WAS NOT SAFE TO OPERATE. I HAD THE
 7                VEHICLE TOWED TO NORTHTOWNE HYUNDAI
 8                DEALER ON SHERIDAN DRIVE, BUFFALO NY.10/3/2014
                  @ 2:47PM EST - NORTHTOWNE HYUNDAI DEALER
 9                CALLED ME SAID THAT I NEED TO REPLACE MY
10                ENGINE BECAUSE THE PISTON POPPED. I SAID
                  WELL, MY CAR IS WELL WITHIN THE WARRANTY,
11
                  ISN'T THIS COVERED? NORTHTOWNE HYUNDAI
12                DEALER SAID THAT WE CAN'T SUBMIT YOUR
13                WARRANTY CLAIM WITH OUT RECEIPTS OF YOUR
                  MAINTENANCE FROM 5K MILES TO PRESENT. 10/3 -
14                10/13/2014 - CONTACTED OUR 3 LOCAL PLACES WE
15                LIKE TO SEND OUR VEHICLES TO FOR COPIES OF OUR
                  RECEIPTS. WITH NO PROBLEM WE WERE ABLE TO
16
                  OBTAIN COPIES OF OUR LAST 7 OIL CHANGES AND
17                GENERAL MAINTENANCE RECEIPTS. 10/14/2014 @
18                2:00PM EST - MY HUSBAND GAVE NORTHTOWNE
                  HYUNDAI DEALER OUR RECEIPTS AND HE STATED
19                THAT HE WILL SUBMIT OUR CLAIM TO HYUNDAI.
20                10/24/2014 @ 8:59AM EST - "REGIONAL" / "CORPORATE"
                  CALLED ME AND STATED "THE DISTRICT MANAGER
21                WHO WOULD HAVE AUTHORIZED THE REPAIR, HAD
22                THE DEALERSHIP PARTIALLY DISASSEMBLE THE
23                ENGINE; TAKE OFF THE COVER FOR INSPECTION,
                  AND THERE'S A CONDITION OF SLUDGE WHICH IS
24                INDICATIVE OF EITHER THE MAINTENANCE
25                INTERVALS NOT BEING FOLLOWED; OIL CHANGE
                  NOT FREQUENTLY ENOUGH OR POSSIBLY THE
26                QUALITY OR GRADE OF THE OIL USED. IN EITHER
27                CASE THESE IS NOT A MANUFACTURE DEFECT, SO HE
                  HAS DENIED WARRANTY COVERAGE." I'VE ALSO
28
                  ADDED MY COMPLAINT TO THE FOLLOWING:[
                                                   -90-
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 1                HTTP://WWW.CHIMICLES.COM/2011-HYUNDAI-
                  SONATA-ENGINE-FAILURE-CLASS-ACTION-LAWSUIT ]
 2                ** OUR LAST OIL CHANGE WAS 8/2/2014 AT 43K
 3                MILES ** WE HAD A CLEAN BILL OF HEALTH, NO
                  ISSUES WERE REPORTED OR MAINTENANCE
 4
                  RECOMMENDED AT THAT TIME.
 5
 6
           Vehicle: 2012 Hyundai Sonata
 7         Date Complaint Filed: 1/02/2015
 8         Component(s): ENGINE
           Date of Incident: 12/27/2013
 9
           NHTSA ID Number: 10669708
10         Manufacturer: Hyundai Motor America
11               SUMMARY:
                 WAS DRIVING 35 MPH MAKING A TURN WHEN I
12               HEARD A KNOCKING NOISE. WAS SUBTLE AT FIRST.
13               CHECKED OIL AND WAS LOW. ADDED 1 QRT OF OIL.
                 DROVE HOME ABOUT 2 MILES AND KNOCKING
14
                 BECAME EXTREMELY LOUD. TOOK IT TO LEN
15               STOLER HYUNDAI DEALERSHIP AND THEY STATED
16               THAT EXHAUST MANIFOLD, DRIVE BELT, PISTONS,
                 AND VALVES NEED TO BE REPLACED. BASICALLY,
17               $6300.00 WORTH OF WORK. CAR IS UP TO DATE ON
18               ALL MAINTENANCE. NO OTHER ISSUES WITH CAR.
                 WARRANTY DOES NOT COVER ENGINE DAMAGE AND
19               NO HELP WAS GIVEN. I HAVE SEEN MANY OTHER
20               COMPLAINTS ABOUT THE SAME ENGINE ISSUES.
21               HYUNDAI SHOULD REPLACE!

22
23         Vehicle: 2013 Hyundai Santa Fe
24         Date Complaint Filed: 08/25/2013
           Component(s): ENGINE
25         Date of Incident: 08/21/2013
26         Component(s): ENGINE
27         NHTSA ID Number: 10537110
           Manufacturer: Hyundai Motor America
28               SUMMARY:
                                                   -91-
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 1                I WAS AT A LIGHT, AS I LET GO OF THE BRAKE, I
                  HEARD A LOUD CLANKING SOUND AND THE FRONT
 2                OF THE CAR SHOOK AND THE CAR IMMEDIATELY
 3                DIED. I TRIED TO RESTART, MADE THE SAME SOUND
                  AND DIED. CALLED ROADSIDE AND HAD VEHICLE
 4
                  TOWED TO DEALERSHIP AFTER AN HOUR AND A
 5                HALF BEING STUCK AT A LIGHT/INTERSECTION. I
 6                WAS TOLD THE NEXT DAY THAT MY CAR
                  SUFFERED A "CATASTROPHIC ENGINE FAILURE".
 7                NO CODES CAME UP. THEY DROPPED THE PAN AND
 8                SAID METAL PIECES FELL OUT! I WAS LIVID! I'VE
                  ONLY HAD THE CAR LESS THAN A MONTH, ONLY
 9                ABOUT 1500 MILES AND THE ENGINE WENT OUT!
10                THANK GOD, I JUST DROPPED THE KIDS OFF TO
                  SCHOOL AND THE ROAD WASN'T SO BUSY AS TO
11
                  CAUSE AN ACCIDENT. I HAD NO WARNINGS FROM
12                STARTING THE CAR, NO MESSAGES FROM BLUE LINK.
13                SERVICE MANAGER AT DEALERSHIP STATES I
                  WOULD NOT HAVE RECEIVED ANY WARNING,
14                BECAUSE IT HAPPENED QUICK WHICH IS WHY IT IS
15                LABELED AS "CATASTROPHIC FAILURE". WHAT IF
                  THIS HAPPENED WITH MY KIDS IN THE CAR, ON THE
16
                  FREEWAY, OR TRAVELING? SO A REPLACEMENT
17                ENGINE IS BEING ORDERED FROM SOUTHERN
18                CALIFORNIA. I DON'T TRUST IT. I REPORTED IT TO
                  CORPORATE, WHICH SENT TO REGIONAL OFFICE.
19                AND I AM AWAITING A RESPONSE. I ORIGINALLY
20                REQUESTED A REPLACEMENT VEHICLE BUT AFTER
                  READING THE COMPLAINTS ON NHTSA, I WANT MY
21                MONEY BACK. I DON'T TRUST THIS CAR ANYMORE, I
22                DON'T FEEL SAFE AND I DON'T WANT THE THOUGHT
23                IN THE BACK OF MY MIND THAT THERE COULD BE A
                  CHANCE OF SOMETHING ELSE HAPPENING! MY
24                HUSBAND IS DEPLOYED RIGHT NOW, AND WHAT I
25                DESERVE IS SOME PEACE OF MIND AND NOT PUT
                  MYSELF OR MY CHILDREN AT JEOPARDY OF A
26                POSSIBLE REPEAT ENGINE FAILURE, CRACKED
27                FRONT AXLE, ISSUES WITH ACCELERATION OR
                  WHATEVER ELSE THAT CAN OCCUR THAT I'VE READ
28
                  ON THIS SITE. THIS IS A DEFINITE SAFETY ISSUE AND
                                                   -92-
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 1                SHOULD NOT HAVE TO WAIT FOR MORE
                  COMPLAINTS TO DO SOMETHING ABOUT IT! PLEASE
 2                HELP ME RESOLVE THIS WITH GETTING MY MONEY
 3                BACK! A BRAND NEW CAR SHOULD NOT HAVE
                  SUFFERED A CATASTROPHIC ENGINE FAILURE!
 4
                  *TR
 5
 6         Vehicle: 2015 Hyundai Sonata
           Date Complaint Filed: 08/16/2017
 7         Component(s): ENGINE
 8         Date of Incident: 07/29/2017
           NHTSA ID Number: 11015695
 9         Manufacturer: Hyundai Motor America
10               SUMMARY:
                 MY ENGINE SUDDENLY STALLED WHILE DRIVING
11
                 DOWN A BUSY HIGHWAY WITH MY FAMILY.
12               LUCKILY NO ONE WAS HURT THANK THE LORD! WE
13               WERE DRIVING DOWN THE HIGHWAY WHEN WE
                 STARTED TO HEAR A KNOCKING NOISE AND THE
14               CAR STARTED TO DECELERATE. WE NOTICED THERE
15               WAS WHITE SMOKE AS WELL. I WAS ABLE TO GET
                 THE CAR TO THE SHOULDER OF THE HIGHWAY. THE
16
                 CAR WOULD NOT RESTART SO WE CALLED
17               ROADSIDE ASSISTANCE AND SINCE IT WAS
18               SATURDAY EVENING, (AFTER HOURS) WE HAD PARK
                 THE CAR AT A NEARBY WALMART UNTIL MONDAY. I
19               HAD TO DO THE WHOLE ROADSIDE ASSISTANCE
20               SONG AND DANCE ALL OVER AGAIN MONDAY. THE
                 SERVICE DEPARTMENT WAS VERY
21               ACCOMMODATING. THEY WERE PLEASANT AND
22               EVEN PROVIDED A LOANER CAR. THEY INFORMED
23               ME THE ENGINE WOULD NEED TO BE REPLACED BUT
                 SINCE MY CAR ONLY HAD 34,000 MILES IT SHOULD
24               BE COVERED. THEY SAID THEY JUST HAD TO GET IT
25               APPROVED BY HYUNDAI FIRST. AFTER A WEEK OF
                 WAITING THEY CALLED ME UP AN TOLD ME
26               HYUNDAI WOULD NOT BE COVERING THE
27               VEHICLE DUE LACK OF MAINTENANCE (SIGHTED
                 OIL CRUDE BUILD UP AS EVIDENCE) AND I WOULD
28
                 NEED TO FORK OVER $5500. I GOT THE OIL
                                                   -93-
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 1                CHANGED AND MAINTAINED THE CAR BUT FAILED
                  TO KEEP DOCUMENTATION. UPON RESEARCHING
 2                THE ISSUE, IT APPEARS HYUNDAI HAS A HISTORY OF
 3                NOT STANDING BY THEIR WARRANTY AND LEAVING
                  THEIR CUSTOMERS HIGH AND DRY. IN FACT THEY
 4
                  JUST SETTLED A LAW SUIT FOR THE SAME EXACT
 5                THING. SO WE PAID UP, WAITED A WEEK FOR THE
 6                REPAIRS AND NOW I'M BACK UP HERE A WEEK
                  LATER WITH ANOTHER ENGINE PROBLEM
 7                (OVERHEATING). LUCKILY WE ONLY HAD THE CAR
 8                FOR A WEEK BECAUSE THEY LIKELY WOULD'VE
                  CHARGED ME AGAIN. WELL HOPEFULLY THEY WILL
 9                PROVIDE ME WITH A LOANER AGAIN BECAUSE THIS
10                JUST DESTROYED MY WORK SCHEDULE FOR TODAY.
11
12         Vehicle: 2015 Hyundai Sonata
13         Date Complaint Filed: 07/06/2017
           Component(s): ENGINE
14
           Date of Incident: 7/02/2017
15         NHTSA ID Number: 11003408
16         Manufacturer: Hyundai Motor America
                 SUMMARY:
17               THE CONTACT OWNS A 2015 HYUNDAI SONATA. THE
18               CONTACT STATED THAT WHILE DRIVING, HE
                 HEARD A RATTLING NOISE UNDER THE HOOD. THE
19               CONTACT STATED ALSO MENTIONED WHILE
20               TAKING THE VEHICLE TO BE SERVICED FOR AN
21               OIL CHANGE, THE RATTLING NOISE BEGAN TO
                 MAKE A LOUD KNOCKING NOISE. THE CHECK
22               ENGINE WARNING LIGHT ILLUMINATED. THE
23               CONTACT MENTIONED THAT THE INDEPENDENT
                 MECHANIC INFORMED HIM THAT HE SHOULD NOT
24               DRIVE THE VEHICLE AND THAT HE NEEDED TO HAVE
25               THE ENGINE CHECKED. THE VEHICLE WAS THEN
                 TAKEN TO DAVE HALLMAN HYUNDAI AT 2104 STATE
26
                 ST, ERIE, PA 16503, (814) 452-6731 WHERE IT WAS
27               DIAGNOSED THAT THERE WAS AN OIL SLUDGE
28               BUILD-UP AND THAT THE ENGINE NEEDED TO BE
                 REPLACED. THE VEHICLE WAS NOT REPAIRED. THE
                                                   -94-
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 1                MANUFACTURER WAS NOTIFIED OF THE FAILURE
                  BUT DID NOT OFFER ANY FURTHER ASSISTANCE. THE
 2                FAILURE MILEAGE WAS 56,150.
 3
 4
           Vehicle: 2015 Hyundai Sonata
 5         Date Complaint Filed: 01/24/2017
 6         Component(s): ENGINE
           Date of Incident: 01/21/2017
 7         NHTSA ID Number: 10947369
 8         Manufacturer: Hyundai Motor America
                 SUMMARY:
 9
                 THE CONTACT OWNS A 2016 HYUNDAI SONATA.
10               WHILE DRIVING APPROXIMATELY 35 MPH, THE
11               ENGINE SEIZED WITHOUT WARNING. THE VEHICLE
                 WAS TOWED TO A TOW FACILITY. THE VEHICLE WAS
12               NOT DIAGNOSED OR REPAIRED. THE
13               MANUFACTURER WAS NOT MADE AWARE OF THE
                 FAILURE. THE VIN AND FAILURE MILEAGE WERE
14
                 UNKNOWN. UPDATED 05/30/17*LJ
15
16
           Vehicle: 2015 Hyundai Sonata
17         Date Complaint Filed: 12/05/2016
18         Component(s): ENGINE
           Date of Incident: 12/03/2016
19
           NHTSA ID Number: 10929989
20         Manufacturer: Hyundai Motor America
21               SUMMARY:
                 WHILE STATIONARY I NOTICED THE CAR'S
22               ENGINE SOUNDED LIKE IT WAS TICKING. I DROVE
23               OFF ABOUT 35 MILES PER HOUR WHEN MY 2015
                 HYUNDAI SONATA LIMITED STALLED WHILE
24
                 DRIVING. THE CAR STARTED SHAKING WHILE
25               ATTEMPTING TO SPEED UP TO KEEP THE VEHICLE
26               RUNNING. I HAD MY PASSENGER WHO WITNESSED
                 THE INCIDENT AND WE RECORDED USING THE CELL
27               PHONE TO RECORD THE INCIDENT. THE ENGINE
28               LIGHT CAME ON THEN OFF AGAIN. EVENTUALLY IT
                                                   -95-
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 1                CUT OFF COMPLETELY. I HAD TO RESTART AND THE
                  SPEED OF THE VEHICLE WOULD NOT GO PAST 50
 2                MPH. THE ENGINE SHOOK THE ENTIRE CAR AND
 3                SOUNDED LIKE THE GEARS DID NOT WANT TO SHIFT.
                  THE DEALER WAS NOT ABLE TO REPLICATE THE
 4
                  ISSUE OR FIND ANY CODES ON THEIR SYSTEM. THIS
 5                SAME THING HAPPEN TO MY 2011 SONATA IN WHICH
 6                HYUNDAI REFUSE TO PAY IN A CLASS ACTION
                  LAWSUIT BECAUSE I TRADED OUT OF THE VEHICLE
 7                A YEAR AFTER THEY REPLACED THE ENGINE. THE
 8                ENGINE ALSO STALLED WHILE TRAVELING AT
                  HIGHWAY SPEED AND STARTED SMELLING LIKE
 9                AN ELECTRICAL FIRE WHILE SMOKE CAME FROM
10                UNDER THE ENGINE. I HAD TO HAVE IT TOWED
                  BACK TO THE DEALERSHIP. *TR
11
12
13         Vehicle: 2015 Hyundai Sonata
           Date Complaint Filed: 11/23/2016
14
           Component(s): ENGINE
15         Date of Incident: 11/10/2016
16         NHTSA ID Number: 10927713
           Manufacturer: Hyundai Motor America
17               SUMMARY:
18               MY WIFE HELEN DRIVES TO WORK 35 MILES EACH
                 WAY DAILY, SHE STARTED HEARING A RATTLING
19               NOISE THAT CAME FROM THE ENGINE AREA. THE
20               NOISE PERSISTED FOR A FEW DAYS AND WAS
21               OBSERVED DURING HER COMMUTE TO WORK TWICE.
                 HUSBAND TEST DROVE CAR AS WELL AND
22               COMFIRMED A RATTLING NOISE. CAR TOWED TO
23               PREMIER HYNDAUI 3480 NAGLEE ROAD, TRACY ,
                 CALIFORNIA,95304. SEVICE TECHNITIAN COMFIRMED
24               IN WRITING VEHICLE HAS A NON REPAIRABLE
25               ENGINE, METAL EXTRACTS WERE FOUND INSIDE
                 THE OIL PAN AND THE DEALERSHIP ADVISED
26
                 ENGINE IS NO GOOD AND NEEDS TO BE REPLACED.
27
28
                                                   -96-
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 1         Vehicle: 2015 Hyundai Sonata
           Date Complaint Filed: 08/24/2016
 2         Component(s): ENGINE
 3         Date of Incident: 08/05/2016
           NHTSA ID Number: 10898269
 4
           Manufacturer: Hyundai Motor America
 5               SUMMARY:
 6               HIGH SPEED ENGINE STALL: WHILE DRIVING AT
                 HIGHWAY SPEEDS ON AUGUST 5, 2016, MY VEHICLE
 7               SUDDENLY LOST POWER WHILE DRIVING ON THE
 8               HIGHWAY, WHICH RESULTED IN VEHICLE COMING
                 TO A STOP. ON ATTEMPTING TO RESTART THE
 9               ENGINE, THE ENGINE HAD SEIZED AND WOULD NOT
10               RESTART AND THE RESTART ATTEMPT WAS
                 ACCOMPANIED BY NOISE FROM THE ENGINE AND
11
                 VIBRATIONS CAUSING THE ENTIRE VEHICLE TO
12               SHAKE. VEHICLE HAD TO BE TOWED TO THE DEALER
13               FOR REPAIRS
14
15         Vehicle: 2015 Hyundai Sonata
16         Date Complaint Filed: 03/18/2016
           Component(s): ENGINE
17         Date of Incident: 03/17/2016
18         NHTSA ID Number: 10850477
           Manufacturer: Hyundai Motor America
19               SUMMARY:
20               THE CONTACT OWNS A 2015 HYUNDAI SONATA.
21               WHILE EXITING THE VEHICLE AT 40 MPH, THE
                 VEHICLE STALLED WITHOUT WARNING. THE
22               VEHICLE WAS ABLE TO BE PULLED OVER TO THE
23               SIDE OF THE ROAD, BUT COULD NOT BE RESTARTED.
                 THE VEHICLE WAS TOWED TO A DEALER WHERE IT
24               WAS DIAGNOSED THAT THE ENGINE SEIZED AND
25               NEEDED TO BE REPLACED. THE VEHICLE WAS NOT
                 REPAIRED. THE MANUFACTURER WAS NOT MADE
26
                 AWARE OF THE FAILURE. THE FAILURE MILEAGE
27               WAS APPROXIMATELY 4,000.
28
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 1
             Vehicle: 2015 Hyundai Sonata
 2           Date Complaint Filed: 02/02/2016
 3           Component(s): ENGINE
             Date of Incident: 01/31/2016
 4
             NHTSA ID Number: 10823709
 5           Manufacturer: Hyundai Motor America
 6                 SUMMARY:
                   I PURCHASED A NEW 2015 HYUNDAI SONATA 8 MOS
 7                 AGO AND TWO DAYS AGO WHILE DRIVING ON A
 8                 LOCAL HIGHWAY I HEARD A LOUD KNOCKING
                   SOUND WHILE ACCELERATING. YESTERDAY I TOOK
 9                 IT TO THE HYUNDAI DEALER SERVICE CTR WHERE I
10                 PURCHASED THE VEHICLE AND I WAS TOLD THAT I
                   NEED A NEW ENGINE DUE TO THERE BEING METAL
11
                   SHAVINGS IN THE MOTOR.
12
13           118. NHTSA complaints establish that Defendants knew, or should have known,
14   of the engine defect at least as early as August 25, 2013,10 before the Class Vehicles at
15   issue in this litigation were sold. Upon information and belief, Defendants became aware
16   of the engine defect earlier than August 25, 2013 (as early as 2011) through:
17   (1) Defendants’ own records of customers’ complaints, (2) dealership repair records, (3)
18   records from NHTSA, (4) warranty and post-warranty claims, (5) pre-sale durability
19   testing and part sales, and (6) other various sources. Indeed, because Hyundai Motor
20   Company holds approximately 33.8% of KMC’s stock, the two regularly communicate
21   about parts common between their vehicles and suspected defects in those vehicles,
22   including communication regarding potential defects in the GDI engines. Thus, when
23   HMA became aware of the defective GDI Engines, KMA became aware as well.
24        E. Pre-Sale Durability Testing
25           119. Defendants are experienced in the design and manufacture of consumer
26   vehicles. As experienced manufacturers, Defendants conduct tests, including pre-sale
27
28
     10
          See NHTSA ID Number 10537110.
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 1   durability testing, on incoming components, including the engine, to verify the parts are
 2   free from defects and align with Defendants’ specifications.
 3         120. Kia conducts expansive presale durability testing on its vehicles to make
 4   they “endure over a long time without fault.”11 This presale testing includes seven
 5   different types of durability tests: (1) an item durability test; (2) a module durability test;
 6   (3) a Belgian road test; (4) a high-speed test; (5) a corrosion test; (6) a P/T test; and (7) a
 7   vehicle test. Kia conducts these tests “in extreme weather conditions including desert
 8   with blazing sunlight and coldness of 40 degrees below zero.”
 9         121. Specifically, regarding testing its engines, Kia states that it puts “our engines
10   through rigorous testing in the highest, hottest and coldest places that a car can possibly
11   be before we use them in our cars.”
12         122. In addition, Kia conducts extensive “driving test[s]” in which it puts “our
13   cars to endurance test under diverse harsh conditions that can be encountered on Earth”
14   because “[a]ny fault in your car can affect your safety.” Kia expands on six different road
15   tests that it conducts, including a durability test on a road “so rough that driving around
16   10,000 miles on it gives the same effect of driving around 60,000 on regular roads. Cars
17   that survive the test only can be presented to customers.”
18         123. In addition, John Juriga, the Director of Powertrain at Kia in 2015, stated
19   that Kia’s validation testing is among the toughest in the automotive industry. 12 Among
20   other things, this validation testing runs the engine at maximum throttle (the maximum
21   speed the engine can operate under) while under full load “so we’re stressing the
22   components as much as possible and we run it virtually nonstop for 300 hours.” After,
23   Kia does an “overrun spec” where it runs it over spec for 10-20 hours to make sure it can
24   survive past the red line limits in order to “make sure these products stay durable in the
25   customers’ hands.”
26
27   11
        http://www.kia.com/worldwide/experience_kia/rnd/performance.do (last visited Nov.
28   20, 2017).
     12
        https://www.youtube.com/watch?v=GNPB3RtHN2M (last visited Nov. 21, 2017).
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 1          124. Moreover, Kia also uses “the most extreme and rigorous vehicle testing
 2   program ever devised by the company.”13 As part of this test, Kia stimulates stop-and-go
 3   driving repeated over several times to “put additional strain on the engine, transmission
 4   and HVAC systems and eliminate any possible flaws.” In addition, at its Mojave Proving
 5   Grounds test site, Kia utilizes a “high-speed oval, gravel off-road tracks, high-vibration
 6   road surfaces, brake test facilities and different gradients. These each enable engineers to
 7   evaluate and refine the ride, handling, brakes and NVH of prototype and production
 8   vehicles.”
 9          125. As a result, Kia was well aware of the engine defect prior to the Class
10   Vehicles being sold to Class Members.
11        F. Defendants’ Warranty-Related Practices
12          126. KMA issued two relevant warranties with each Kia Class Vehicle: a “New
13   Vehicle Limited Warranty,” and a “Powertrain Warranty.”
14          127. Under the basic New Vehicle Limited Warranty, KMA agreed to repair
15   defects reported within the earlier of 5 years or 60,000 miles.
16          128. Under the Powertrain Warranty, KMA agreed to repair defects affecting
17   various powertrain components through 10 years and 100,000 miles. According to the
18   Warranty and Consumer Information Manual, Powertrain Coverage Components include:
19              In the Engine: Cylinder block, cylinder head and all internal parts, timing
                gear, seals and gaskets, valve cover, flywheel, oil pump, water pump and
20              turbo charger.
21
                  In the Transaxle: Transmission case and all internal parts, torque converter,
22
                  drive shafts, universal joints, front hubs, bearings, seals and gaskets.
23
24
25
26
27   13
       http://www.hyundaimotorgroup.com/MediaCenter/News/Press-Releases/kmc-
28   hotweather-test-all-new-Kia-Sportage-150917.hub#.WhRXYziourF (last visited Nov. 21,
     2017).
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 1                In the Transmission: Transmission case, transfer case, torque converter and
                  all internal parts, seals, and gaskets.14
 2
           129. KMA instructs vehicle owners and lessees to bring their vehicles to a Kia
 3
     dealership for the warranty repairs. Many owners and lessees have presented Kia Class
 4
     Vehicles to Kia dealerships with complaints related to the engine defect. In addition to
 5
     the above warranties, KMA has also issued a 10 year/120,000mile warranty on the short
 6
     blocks contained in all 2011-14 Kia Class Vehicles.
 7
           130. KMA has evaded its warranty obligations by failing to tell consumers that
 8
     their vehicles are defective and by representing that the cause of the defect is the owner’s
 9
     neglect to properly maintain the engine oil and/or engine oil level. This representation,
10
     however, is false as the engine is inherently defective and will inevitably fail. See Exhibit
11
     2 (“October 21, 2016 - KMA sees continuing cost related VOQs [Vehicle Owner
12
     Questionnaire] and determines dealers are not approving extended warranty repairs due
13
     to customer lack of oil maintenance proof.”).
14
           131. In addition, KMA has also evaded its warranty obligations by requiring
15
     consumers to produce the entire maintenance history of the Kia Class Vehicles, including
16
     a mandate that all oil changes be completed at a Kia dealership, before determining
17
     whether to make the necessary repairs under warranty. KMA, however, knows that the
18
     defect in the Kia Class Vehicles’ engines manifests even if the owner or lessee has
19
     followed Kia’s oil change guidelines. Even if consumers produce their vehicles’
20
     maintenance history, KMA blames the defect and engine failure on the consumer, refuses
21
     to cover the necessary repairs under warranty, and charges as much as $10,000 to
22
     repair/replace the engine.
23
           132. Kia also advertises that it offers “an industry-leading Kia 10-year or
24
     100,000-mile warranty program.” With respect to the powertrain warranty, however, Kia
25
     publicizes the existence of 10 year/100,000 mile powertrain warranty but fails to mention
26
     that subsequent owners only receive powertrain warranty coverage for 5 years/60,000
27
     14
28      See, e.g., http://www.kia.com/us/k3/content/media/all/warranty/2014_warranty.pdf
     (last visited August 7, 2017).
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 1   miles. As such, subsequent owners are left to discover the limited warranty coverage after
 2   purchasing their vehicle. Kia’s failure to cover repairs under the powertrain warranty
 3   between 5 years/60,000 miles and 10 years/100,000 miles is therefore unconscionable
 4   and the warranty reduction should be unenforceable. A typical Kia advertisement touting
 5   its warranty is pictured below:
 6
 7
 8
 9
10
11
12
13
14
15
16         133. In many instances, consumers have incurred and will continue to incur
17   expenses for the diagnosis of the defect (despite such defect having been contained in the
18   Kia Class Vehicles when manufactured by Defendants), repair and replacement of the
19   GDI Engine and the unnecessary and premature replacement of the connecting rods,
20   crank shaft, oil pump, and other engine components.
21         134. Furthermore, a number of Class Members who presented their Kia Class
22   Vehicles to Kia dealerships because of issues related to the defective connecting rod
23   bearings and insufficient engine oil lubrication channels were denied warranty repairs
24   and, instead, were informed that nothing was wrong with their vehicles. As a result, after
25   expiration of the warranty period, Class Members are forced to pay costly repairs to
26   correct the defect.
27                                     CLASS ALLEGATIONS
28         135. Plaintiffs bring this action on their own behalf, and on behalf of a
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 1   nationwide class pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(2), and/or
 2   23(b)(3).
 3         Nationwide Class:
           All persons or entities in the United States who are current or former
 4         owners and/or lessees of a Class Vehicle.
 5
           136. In the alternative to the Nationwide Class, and pursuant to Federal Rule of
 6
     Civil Procedure 23(c)(5), Plaintiffs seek to represent the following state classes only in
 7
     the event that the Court declines to certify the Nationwide Class above. Specifically, the
 8
     state classes consist of the following:
 9
10
           California Class:
11         All persons or entities in California who are current or former owners
12         and/or lessees of a Class Vehicle for primarily personal, family or
           household purposes, as defined by California Civil Code § 1791(a).
13
14         Maine Class:
           All persons or entities in Maine who are current or former owners
15         and/or lessees of a Class Vehicle.
16
           Illinois Class:
17         All persons or entities in Illinois who are current or former owners
18         and/or lessees of a Class Vehicle.
19
           137. Together, the California Class, the Maine Class, the Illinois Class, and the
20
     Nationwide Class shall be collectively referred to herein as the “Class.” Excluded from
21
     the Class are KMA, KMC, their affiliates, employees, officers and directors, persons or
22
     entities that purchased the Class Vehicles for resale, and the Judge(s) assigned to this
23
     case. Plaintiffs reserve the right to modify, change, or expand the Class definitions based
24
     on discovery and further investigation.
25
           138. Numerosity: Upon information and belief, the Class is so numerous that
26
     joinder of all members is impracticable. While the exact number and identities of
27
     individual members of the Class are unknown at this time, such information being in the
28
     sole possession of Defendant and obtainable by Plaintiffs only through the discovery
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 1   process, Plaintiffs believe, and on that basis allege, that hundreds of thousands of Class
 2   Vehicles have been sold and leased in each of the states that are the subject of the Class.
 3         139. Existence and Predominance of Common Questions of Fact and Law:
 4   Common questions of law and fact exist as to all members of the Class. These questions
 5   predominate over the questions affecting individual Class Members. These common legal
 6   and factual questions include, but are not limited to, whether:
 7         a.     The Class Vehicles were sold with a defect;
 8         b.     Defendants knew of the defect but failed to disclose the problem and
 9   its consequences to their customers;
10         c.     A reasonable consumer would consider the defect or its consequences
11   to be material;
12         d.     Defendants have failed to provide free repairs as required by their
13   New Vehicle Limited Warranty and/or Powertrain Warranty;
14         e.     The defect is a safety defect;
15         f.     Defendants should be required to disclose the existence of the defect;
16   and
17         g.     Defendants’ conduct violates the California Legal Remedies Act,
18   California Unfair Competition Law, and the other statutes asserted herein.
19         140. Typicality: All of Plaintiffs’ claims are typical of the claims of the Class
20   because Plaintiffs purchased Class Vehicles with the same engine defect, defective
21   vehicle design, and defective engine, as did each member of the Class. Furthermore,
22   Plaintiffs and all Members of the Class sustained monetary and economic injuries
23   including, but not limited to, ascertainable losses arising out of Defendants’ wrongful
24   conduct. Plaintiffs are advancing the same claims and legal theories on behalf of
25   themselves and all absent Class Members.
26         141. Adequacy: Plaintiffs are adequate representatives because their interests do
27   not conflict with the interests of the Class that they seek to represent, they have retained
28   counsel competent and highly experienced in complex class action litigation, and they
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 1   intend to prosecute this action vigorously. The interests of the Class will be fairly and
 2   adequately protected by Plaintiffs and their counsel.
 3         142. Superiority: A class action is superior to all other available means of fair and
 4   efficient adjudication of the claims of Plaintiffs and Members of the Class. The injury
 5   suffered by each individual Class member is relatively small in comparison to the burden
 6   and expense of individual prosecution of the complex and extensive litigation
 7   necessitated by Defendants’ conduct. It would be virtually impossible for Members of the
 8   Class individually to redress effectively the wrongs done to them. Even if the Members
 9   of the Class could afford such individual litigation, the court system could not.
10   Individualized litigation presents a potential for inconsistent or contradictory judgments.
11   Individualized litigation increases the delay and expense to all parties, and to the court
12   system, presented by the complex legal and factual issues of the case. By contrast, the
13   class action device presents far fewer management difficulties, and provides the benefits
14   of single adjudication, an economy of scale, and comprehensive supervision by a single
15   court. Upon information and belief, members of the Class can be readily identified and
16   notified based on, inter alia, Defendants’ vehicle identification numbers, warranty
17   claims, registration records, and database of complaints.
18         143. Defendants have acted, and refused to act, on grounds generally applicable
19   to the Class, thereby making appropriate final equitable relief with respect to the Class as
20   a whole.
21                                 FIRST CAUSE OF ACTION
22      VIOLATIONS OF CALIFORNIA’S CONSUMER LEGAL REMEDIES ACT
23                          (“CLRA”) (Cal. Civ. Code § 1750, et seq.)
24        (On Behalf of the Nationwide Class or, Alternatively, the California Class)
25         144. Plaintiffs and the Class incorporate by reference each preceding and
26   succeeding paragraph as though fully set forth at length herein.
27
28
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 1         145. Plaintiffs bring this claim on behalf of themselves and on behalf of the
 2   Nationwide Class. Alternatively, Plaintiffs Centko, Lazar, and Stanczak bring this claim
 3   on behalf of themselves and on behalf of the California Class against Defendants.
 4         146. Defendants are persons as that term is defined in California Civil Code
 5   § 1761(c).
 6         147. Plaintiffs and the Class Members are “consumers” as that term is defined in
 7   California Civil Code §1761(d).
 8         148. Defendants engaged in unfair and deceptive acts in violation of the CLRA
 9   by the practices described above, and by knowingly and intentionally concealing from
10   Plaintiffs and Class Members that the Class Vehicles suffer from a defect(s) (and the
11   costs, risks, and diminished value of the vehicles as a result of this problem). These acts
12   and practices violate, at a minimum, the following sections of the CLRA:
13          (a)(2) Misrepresenting the source, sponsorship, approval or
     certification of goods or services;
14
            (a)(5) Representing that goods or services have sponsorships,
15
     characteristics, uses, benefits or quantities which they do not have, or that a
16   person has a sponsorship, approval, status, affiliation or connection which he
17   or she does not have;
18          (a)(7) Representing that goods or services are of a particular standard,
19   quality, or grade, or that goods are of a particular style or model, if they are
     of another; and
20
           (a)(9) Advertising goods and services with the intent not to sell them as
21
     advertised.
22
23         149. Defendants’ unfair or deceptive acts or practices occurred repeatedly in
24   Defendants’ trade or business, were capable of deceiving a substantial portion of the
25   purchasing public, and imposed a serious safety risk on the public.
26         150. Defendants knew that the Class Vehicles and GDI Engines were defectively
27   designed or manufactured, would fail prematurely, and were not suitable for their
28   intended use.

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 1         151. Defendants were under a duty to Plaintiffs and the Class Members to
 2   disclose the defective nature of the Class Vehicles and the defective nature of the
 3   connecting rod bearings and insufficient engine oil lubrication channels because:
 4         a.     Defendants were in a superior position to know the true state of facts about
 5   the safety defect and associated repair costs in the Class Vehicles and their engines;
 6         b.     Plaintiffs and the Class Members could not reasonably have been expected
 7   to learn or discover that the Class Vehicles and their engine had dangerous safety defect
 8   until manifestation of the defect;
 9         c.     Defendants knew that Plaintiffs and the Class Members could not reasonably
10   have been expected to learn or discover the safety and security defect and the associated
11   repair costs that it causes until the manifestation of the defect; and
12         d.     Defendants actively concealed the safety and security defect and the
13   associated repair costs by asserting to Plaintiffs and Class Members that the cause of their
14   engine problems was the result of Plaintiffs’ and the Class Members’ inability to
15   maintain the proper engine oil levels despite knowing the repairs needed to correct the
16   defect.
17         152. In failing to disclose the engine defect and the associated safety risks and
18   repair costs that result from it, Defendants have knowingly and intentionally concealed
19   material facts and breached their duty to disclose.
20         153. The facts concealed or not disclosed by Defendants to Plaintiffs and the
21   Class Members are material in that a reasonable consumer would have considered them
22   to be important in deciding whether to purchase Defendants’ Class Vehicles or pay a
23   lesser price. Had Plaintiffs and the Class known about the defective nature of the Class
24   Vehicles and their engines, they would not have purchased or leased the Class Vehicles
25   or would have paid less for them.
26         154. On or about June 2, 2016, on behalf of Plaintiffs Centko and Lazar,
27   Plaintiffs’ counsel provided Defendant KMA with notice of their violations of the CLRA
28
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 1   pursuant to California Civil Code § 1782(a) regarding the engine defect in the MY 2011-
 2   13 Kia Sportage, 2011-14 Kia Optima and 2012-14 Kia Sorento vehicles.
 3         155. On or about June 8, 2017, Plaintiffs’ counsel, in the Stanczak matter,
 4   provided Defendant KMA with notice of their violations of the CLRA pursuant to
 5   California Civil Code § 1782(a) regarding the engine defect contained in the MY 2015-
 6   16 Kia Sportage, Optima and Sorento vehicles.
 7         156. Plaintiffs’ and the other Class Members’ injuries were proximately caused
 8   by Defendants’ fraudulent and deceptive business practices.
 9         157. Therefore, Plaintiffs and the other Class Members seek all relief available
10   under the CLRA.
11                                SECOND CAUSE OF ACTION
12        VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW
13                            (Cal. Bus. & Prof. Code § 17200)
14        (On Behalf of the Nationwide Class or, Alternatively, the California Class)
15         158. Plaintiffs and the Class incorporate by reference each preceding and
16   succeeding paragraph as though fully set forth at length herein.
17         159. Plaintiffs bring this claim on behalf of themselves and on behalf of the
18   Nationwide Class. Alternatively, Plaintiffs Stanczak, Centko, and Lazar bring this claim
19   on behalf of themselves and on behalf of the California Class against Defendants.
20         160. The California Unfair Competition Law (“UCL”) prohibits acts of “unfair
21   competition,” including any “unlawful, unfair or fraudulent business act or practice” and
22   “unfair, deceptive, untrue or misleading advertising.” Cal. Bus. & Prof. Code § 17200.
23         161. Defendants have engaged in unfair competition and unfair, unlawful or
24   fraudulent business practices by the conduct, statements, and omissions described above,
25   and by knowingly and intentionally concealing from Plaintiffs and the Class Members
26   that the Class Vehicles suffer from a defect (and the costs, safety risks, and diminished
27   value of the vehicles as a result of these problems). Defendants should have disclosed this
28   information because they were in a superior position to know the true facts related to the
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 1   defect, and Plaintiffs and Class Members could not reasonably be expected to learn or
 2   discover the true facts related to the defect.
 3           162. The defective connecting rod bearings and insufficient engine oil lubrication
 4   channels constitute a safety issue that triggered Defendants’ duty to disclose the safety
 5   issue to consumers.
 6           163. These acts and practices have deceived Plaintiffs and are likely to deceive
 7   the public. In failing to disclose the defect and suppressing other material facts from
 8   Plaintiffs and the Class Members, Defendants breached their duties to disclose these
 9   facts, violated the UCL, and caused injuries to Plaintiffs and the Class Members. The
10   omissions and acts of concealment by Defendants pertained to information that was
11   material to Plaintiffs and the Class Members, as it would have been to all reasonable
12   consumers.
13           164. The injuries suffered by Plaintiffs and the Class Members are not greatly
14   outweighed by any potential countervailing benefit to consumers or to competition, nor
15   are they injuries that Plaintiffs and the Class Members should have reasonably avoided.
16           165. Defendants’ acts and practices are unlawful because they violate California
17   Civil Code §§ 1668, 1709, 1710, and 1750 et seq., and California Commercial Code §
18   2313.
19           166. Plaintiffs seek to enjoin further unlawful, unfair and/or fraudulent acts or
20   practices by Defendants, to obtain restitutionary disgorgement of all monies and revenues
21   generated as a result of such practices, and all other relief allowed under California
22   Business & Professions Code § 17200.
23                                  THIRD CAUSE OF ACTION
24               VIOLATION OF CALIFORNIA FALSE ADVERTISING LAW
25                            (Cal. Bus. & Prof. Code § 17500, et seq.)
26        (On Behalf of the Nationwide Class or, Alternatively, the California Class)
27           167. Plaintiffs and the Class incorporate by reference each preceding and
28   succeeding paragraph as though fully set forth at length herein.
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 1          168. Plaintiffs bring this claim on behalf of themselves and on behalf of the
 2   Nationwide Class. Alternatively, Plaintiffs Stanczak, Centko, and Lazar bring this claim
 3   on behalf of themselves and on behalf of the California Class against Defendants.
 4          169. California Business & Professions Code § 17500 states: “It is unlawful for
 5   any . . . corporation . . . with intent directly or indirectly to dispose of real or personal
 6   property . . . to induce the public to enter into any obligation relating thereto, to make or
 7   disseminate or cause to be made or disseminated . . . from this state before the public in
 8   any state, in any newspaper or other publication, or any advertising device, . . . or in any
 9   other manner or means whatever, including over the Internet, any statement . . . which is
10   untrue or misleading, and which is known, or which by the exercise of reasonable care
11   should be known, to be untrue or misleading.”
12          170. Defendants caused to be made or disseminated through California and the
13   United States, through advertising, marketing and other publications, statements that
14   were untrue or misleading, and which were known, or which by the exercise of
15   reasonable care should have been known to Defendants, to be untrue and misleading to
16   consumers, including Plaintiffs and the other Class Members.
17          171. Defendants have violated section 17500 because the misrepresentations and
18   omissions regarding the safety, reliability, and functionality of their Class Vehicles as set
19   forth in this Complaint were material and likely to deceive a reasonable consumer.
20          172. Plaintiffs and the other Class Members have suffered an injury in fact,
21   including the loss of money or property, as a result of Defendants’ unfair, unlawful,
22   and/or deceptive practices. In purchasing or leasing their Class Vehicles, Plaintiffs and
23   the other Class Members relied on the misrepresentations and/or omissions of Defendants
24   with respect to the safety and reliability of the Class Vehicles. Defendants’
25   representations were untrue because the Class Vehicles are distributed with defective
26   connecting rod bearings and insufficient engine oil lubrication channels. Had Plaintiffs
27   and the other Class Members known this, they would not have purchased or leased their
28   Class Vehicles and/or paid as much for them. Accordingly, Plaintiffs and the other Class
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 1   Members overpaid for their Class Vehicles and did not receive the benefit of their
 2   bargain.
 3         173. All of the wrongful conduct alleged herein occurred, and continues to occur,
 4   in the conduct of Defendants’ businesses. Defendants’ wrongful conduct is part of a
 5   pattern or generalized course of conduct that is still perpetuated and repeated, both in the
 6   state of California and nationwide.
 7         174. Plaintiffs, individually and on behalf of the other Class Members, request
 8   that this Court enter such orders or judgments as may be necessary to enjoin Defendants
 9   from continuing their unfair, unlawful, and/or deceptive practices and to restore to
10   Plaintiffs and the other Class Members any money Defendants acquired by unfair
11   competition, including restitution and/or restitutionary disgorgement, and for such other
12   relief set forth below.
13                                FOURTH CAUSE OF ACTION
14        VIOLATION OF THE SONG-BEVERLY ACT – BREACH OF IMPLIED
15                                          WARRANTY
16                             (Cal. Civ. Code §§ 1792, 1791.1, et seq.)
17                    (On Behalf of the Nationwide Class or, Alternatively,
18                                      the California Class)
19         175. Plaintiffs and the Class incorporate by reference each preceding and
20   succeeding paragraph as though fully set forth at length herein.
21         176. Plaintiffs bring this claim on behalf of themselves and on behalf of the
22   Nationwide Class or, alternatively, on behalf of the state subclasses.
23         177. At all relevant times hereto, Defendants were the manufacturer, distributor,
24   warrantor, and/or seller of the Class Vehicles. Defendants knew or should have known of
25   the specific use for which the Class Vehicles were purchased.
26         178. Defendants provided Plaintiffs and the Class Members with an implied
27   warranty that the Class Vehicles, and any parts thereof, are merchantable and fit for the
28   ordinary purposes for which they were sold. The Class Vehicles, however, are not fit for
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 1   their ordinary purpose because, inter alia, the Class Vehicles and their engines suffered
 2   from an inherent defect at the time of sale that causes the Class Vehicles to experience
 3   premature and catastrophic engine failure.
 4         179. The Class Vehicles are not fit for the purpose of providing safe and reliable
 5   transportation because of the defect.
 6         180. Defendants impliedly warranted that the Class Vehicles were of
 7   merchantable quality and fit for such use. This implied warranty included, inter alia, the
 8   following: (i) a warranty that the Class Vehicles and their engines were manufactured,
 9   supplied, distributed, and/or sold by Defendants were safe and reliable for providing
10   transportation and would not prematurely and catastrophically fail; and (ii) a warranty
11   that the Class Vehicles and their engines would be fit for their intended use – providing
12   safe and reliable transportation – while the Class Vehicles were being operated.
13         181. Contrary to the applicable implied warranties, the Class Vehicles and their
14   engines at the time of sale and thereafter were not fit for their ordinary and intended
15   purpose. Instead, the Class Vehicles are defective, including, but not limited to, the
16   engine defect and/or manufacture of the GDI Engines.
17         182. Defendants’ actions, as complained of herein, breached the implied warranty
18   that the Class Vehicles were of merchantable quality and fit for such use in violation of
19   California Civil Code §§ 1792 and 1791.1.
20                                 FIFTH CAUSE OF ACTION
21              VIOLATION OF MAINE UNFAIR TRADE PRACTICES ACT
22                         (5 Me. Rev. Stat. § 205A, et seq.)
23                                (On Behalf of the Maine Class)

24         183. Plaintiffs and the Class incorporate by reference each preceding and

25   succeeding paragraph as though fully set forth at length herein.

26         184. Plaintiff Creps brings this claim on behalf of herself and on behalf of the

27   Maine Class against Defendants.

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 1         185. Plaintiff Creps and the Maine Class are persons as that term is defined by
 2   Me. Rev. Stat. Ann. tit. 5, § 206(2).
 3         186. Defendants are engaged in “trade” and “commerce” as those terms are
 4   defined by Me. Rev. Stat. Ann. tit. 5, § 206(3).
 5         187. Maine’s Unfair Trade Practices Act prohibits “[u]nfair methods of
 6   competition and unfair or deceptive acts or practices in the conduct of any trade or
 7   commerce.” Me. Rev. Stat. Ann. tit. 5, § 207.
 8         188. Defendants have engaged in unfair competition and unfair, unlawful or
 9   fraudulent business practices by the conduct, statements, and omissions described above,
10   and by knowingly and intentionally concealing from Plaintiff Creps and the Class
11   Members that the Class Vehicles suffer from a defect (and the costs, safety risks, and
12   diminished value of the vehicles as a result of these problems). Defendants should have
13   disclosed this information because they were in a superior position to know the true facts
14   related to the defect, and Plaintiff Creps and Class Members could not reasonably be
15   expected to learn or discover the true facts related to the defect.
16         189. The defective connecting rod bearings and insufficient engine oil lubrication
17   channels constitute a safety issue that triggered Defendants’ duty to disclose the safety
18   issue to consumers.
19         190. These acts and practices have deceived Plaintiff Creps and are likely to
20   deceive the public. In failing to disclose the defect and suppressing other material facts
21   from Plaintiff Creps and the Class Members, Defendants breached their duties to disclose
22   these facts, violated Maine’s Unfair Trade Practices Act, and caused injuries to Plaintiff
23   Creps and the Class Members. The omissions and acts of concealment by Defendants
24   pertained to information that was material to Plaintiff Creps and the Class Members, as it
25   would have been to all reasonable consumers.
26         191. The injuries suffered by Plaintiff Creps and the Class Members are greatly
27   outweighed by any potential countervailing benefit to consumers or to competition, nor
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 1   are they injuries that Plaintiff Creps and the Class Members should have reasonably
 2   avoided.
 3         192. The facts concealed or not disclosed by Defendants to Plaintiff Creps and
 4   the Class Members are material in that a reasonable consumer would have considered
 5   them to be important in deciding whether to purchase Defendants’ Class Vehicles or pay
 6   a lesser price. Had Plaintiff Creps and the Class known about the defective nature of the
 7   Class Vehicles and their engines, they would not have purchased the Class Vehicles or
 8   would have paid less for them.
 9         193. Plaintiff Creps’ and the other Class Members’ injuries were proximately
10   caused by Defendant’s fraudulent and deceptive business practices.
11         194. Plaintiff Creps has provided Defendants with notice of these violations
12   pursuant to Me. Rev. Stat. Ann. tit. 5, § 213(1-A).
13         195. Plaintiff seeks all relief available under Maine’s Unfair Trade Practices Act,
14   including the recovery of attorneys’ fees and costs pursuant to Me. Rev. Stat. Ann, tit. 5,
15   § 213(2).
16                                 SIXTH CAUSE OF ACTION
17         VIOLATIONS OF ILLINOIS CONSUMER FRAUD AND DECEPTIVE
18                                BUSINESS PRACTICES ACT
19                         (85 ILCS 505/1 et seq. and 720 ILCS 295/1a)
20                                (On behalf of the Illinois Class)
21         196. Plaintiffs and the Class incorporate by reference each preceding and
22   succeeding paragraph as though fully set forth at length herein.
23         197. Plaintiff Smolek brings this claim on behalf of herself and on behalf of the
24   Illinois Class against Defendants.
25         198. Defendants are “person[s]” as that term is defined in 815 ILCS 505/1(c).
26         199. Plaintiff Smolek and the Illinois Class are “consumers” as that term is
27   defined in 815 ILCS 505/1(e).
28         200. The Illinois Consumer Fraud and Deceptive Business Practices Act (“Illinois
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 1         CFA”) prohibits “unfair or deceptive acts or practices, including but not limited to
 2   the use or employment of any deception, fraud, false pretense, false promise,
 3   misrepresentation or the concealment, suppression or omission of any material fact, with
 4   intent that others rely upon the concealment, suppression or omission of such material
 5   fact … in the conduct of trade or commerce … whether any person has in fact been
 6   misled, deceived or damaged thereby.” 815 ILCS 505/2.
 7         201. Defendants concealed and failed to disclose the defect in the GDI Engines
 8   from consumers.
 9         202. Plaintiff and the Illinois Class members had no way to know about the defect
10   at purchase.
11         203. Plaintiff and the Illinois Class suffered ascertainable loss and actual damage
12   as a direct and proximate result of Defendants’ violation of the Illinois CFA. Plaintiff and
13   the Illinois Class would not have purchased Class Vehicles or would not have paid as
14   mush as they for them if they had known about the defect.
15         204. Defendants’ ongoing failure to disclose the defect presents an ongoing risk
16   to the Class Members.
17         205. Plaintiff and the Illinois Class actual and punitive damages, and an order
18   enjoining Defendants’ wrongful conduct.
19                               SEVENTH CAUSE OF ACTION
20                           BREACH OF EXPRESS WARRANTY
21                    (On Behalf of the Nationwide Class or, Alternatively,
22                     the California Class, Illinois Class and Maine Class)
23         206. Plaintiffs and the Class incorporate by reference each preceding and
24   succeeding paragraph as though fully set forth at length herein.
25         207. Plaintiffs bring this claim on behalf of themselves and on behalf of the
26   Nationwide Class or, alternatively, on behalf of each of the state subclasses.
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 1         208. Defendants provided all purchasers and lessees of the Class Vehicles with
 2   the express warranties described herein, which became part of the basis of the bargain.
 3   Accordingly, Defendants’ warranties are express warranties under state law.
 4         209. The parts affected by the defect, including the rotating assembly and engine
 5   block, were distributed by Defendants in the Class Vehicles and are covered by the
 6   warranties Defendants provided to all purchasers and lessors of Class Vehicles.
 7         210. Defendants breached these warranties by selling and leasing Class Vehicles
 8   with the defect, requiring repair or replacement within the applicable warranty periods,
 9   and refusing to honor the warranties by providing free repairs or replacements during the
10   applicable warranty periods.
11         211. Plaintiffs notified Defendants of the breach within a reasonable time, and/or
12   were not required to do so because affording Defendants a reasonable opportunity to cure
13   their breaches of written warranty would have been futile. Defendants also knew of the
14   defect and yet have chosen to conceal it and to fail to comply with their warranty
15   obligations.
16         212. As a direct and proximate cause of Defendants’ breach, Plaintiffs and the
17   other Class Members bought or leased Class Vehicles they otherwise would not have,
18   overpaid for their vehicles, did not receive the benefit of their bargain, and their Class
19   Vehicles suffered a diminution in value. Plaintiffs and Class Members have also incurred
20   and will continue to incur costs related to the diagnosis and repair of the defective
21   connecting rod bearings and insufficient engine oil lubrication channels.
22         213. Defendants’ attempt to disclaim or limit these express warranties vis-à-vis
23   consumers is unconscionable and unenforceable under the circumstances here.
24   Specifically, Defendants’ warranty limitation is unenforceable because they knowingly
25   sold a defective product without informing consumers about the defect.
26         214. The time limits contained in Defendants’ warranty period were also
27   unconscionable and inadequate to protect Plaintiffs and members of the Class. Among
28   other things, Plaintiffs and Class Members had no meaningful choice in determining
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 1   these time limitations, the terms of which unreasonably favored Defendants. A gross
 2   disparity in bargaining power existed between Defendants and the Class Members, and
 3   Defendants knew or should have known that the Class Vehicles were defective at the
 4   time of sale and would fail well before their useful lives.
 5         215. Plaintiffs and the Class Members have complied with all obligations under
 6   the warranty, or otherwise have been excused from performance of said obligations as a
 7   result of Defendants’ conduct described herein.
 8                                EIGHTH CAUSE OF ACTION
 9                            BREACH OF IMPLIED WARRANTY
10                    (On Behalf of the Nationwide Class or, Alternatively,
11                     the California Class, Illinois Class and Maine Class)
12         216. Plaintiffs and the Class incorporate by reference each preceding and
13   succeeding paragraph as though fully set forth at length herein.
14         217. Plaintiffs bring this claim on behalf of themselves and on behalf of the
15   Nationwide Class or, alternatively, on behalf of each of the state subclasses.
16         218. Defendants were at all relevant times the manufacturer, distributor,
17   warrantor, and/or seller of the Class Vehicles. Defendants knew or had reason to know of
18   the specific use for which the Class Vehicles were purchased.
19         219. Defendants provided Plaintiffs and the other Class members with an implied
20   warranty that the Class Vehicles and any parts thereof are merchantable and fit for the
21   ordinary purposes for which they were sold. However, the Class Vehicles are not fit for
22   their ordinary purpose of providing reasonably reliable and safe transportation at the time
23   of sale or thereafter because, inter alia, the Class Vehicles and their engines suffered
24   from defective connecting rod bearings and insufficient engine oil lubrication channels at
25   the time of sale that causes the vehicles to experience premature and catastrophic engine
26   failure. Therefore, the Class Vehicles are not fit for their particular purpose of providing
27   safe and reliable transportation.
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 1         220. Defendants impliedly warranted that the Class Vehicles were of
 2   merchantable quality and fit for such use. This implied warranty included, among other
 3   things: (i) a warranty that the Class Vehicles and their engines were manufactured,
 4   supplied, distributed, and/or sold by Defendants were safe and reliable for providing
 5   transportation and would not experience premature and catastrophic engine failure; and
 6   (ii) a warranty that the Class Vehicles and their engines would be fit for their intended
 7   use while the Class Vehicles were being operated.
 8         221. Contrary to the applicable implied warranties, the Class Vehicles and their
 9   engines at the time of sale and thereafter were not fit for their ordinary and intended
10   purpose of providing Plaintiffs and the other Class Members with reliable, durable, and
11   safe transportation. Instead, the Class Vehicles suffer from a defective design(s) and/or
12   manufacturing defect(s).
13         222. Defendants’ actions, as complained of herein, breached the implied warranty
14   that the Class Vehicles were of merchantable quality and fit for such use.
15                                 NINTH CAUSE OF ACTION
16       BREACH OF WRITTEN WARRANTY UNDER THE MAGNUSON-MOSS
17                        WARRANTY ACT (15 U.S.C. § 2301, et seq.)
18                     (On behalf of the Nationwide Class or, Alternatively,
19                     the California Class, Illinois Class and Maine Class)
20         223. Plaintiffs and the Class incorporate by reference each preceding and
21   succeeding paragraph as though fully set forth at length herein.
22         224. Plaintiffs bring this claim on behalf of themselves and on behalf of the
23   Nationwide Class or, alternatively, on behalf of the state subclasses.
24         225. Plaintiffs and the Class are “consumers” within the meaning of the
25   Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3).
26         226. Defendants are suppliers and warrantors within the meaning of 15 U.S.C.
27   §§ 2301(4)-(5).
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 1         227. The Class Vehicles are “consumer products” within the meaning of 15
 2   U.S.C. § 2301(1).
 3         228. Defendants’ 5 year/60,000 miles Basic Warranty and 10 year/100,000 miles
 4   Powertrain Warranty are “written warranties” within the meaning of 15 U.S.C. § 2301(6).
 5         229. Defendants breached the express warranties by:
 6              a.       Providing a 5 year/60,000 miles Basic Warranty and a 10
 7   year/100,000 miles Powertrain Warranty with the purchase or lease of the Class
 8   Vehicles, thereby warranting to repair or replace any part defective in material or
 9   workmanship at no cost to the owner or lessee;
10              b.       Selling and leasing Class Vehicles with engines that were
11   defective in materials and/or workmanship, requiring repair or replacement within
12   the warranty period; and
13              c.       Refusing and/or failing to honor the express warranties by
14   repairing or replacing, free of charge, the engine or any of its component parts in
15   order to remedy the defective connecting rod bearings and insufficient engine oil
16   lubrication channels.
17         230. Plaintiffs and the other Class Members relied on the existence and length of
18   the express warranties in deciding whether to purchase or lease the Class Vehicles.
19         231. Defendants’ breach of the express warranties has deprived Plaintiffs and the
20   other Class Members of the benefit of their bargain.
21         232. The amount in controversy of Plaintiffs’ individual claims meets or exceeds
22   the sum or value of $25.00. In addition, the amount in controversy meets or exceeds the
23   sum or value of $50,000 (exclusive of interests and costs) computed on the basis of all
24   claims to be determined in this suit.
25         233. Defendants have been afforded a reasonable opportunity to cure their breach
26   of the written warranties and/or Plaintiffs and the other Class Members were not required
27   to do so because affording Defendants a reasonable opportunity to cure their breach of
28   written warranties would have been futile. Defendants were also on notice of the alleged
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 1   defect from the complaints and service requests it received from Class Members, as well
 2   as from their own warranty claims, customer complaint data, and/or parts sales data.
 3         234. As a direct and proximate cause of Defendants’ breach of the written
 4   warranties, Plaintiffs and the other Class Members sustained damages and other losses in
 5   an amount to be determined at trial. Defendants’ conduct damaged Plaintiffs and the
 6   other Class Members, who are entitled to recover actual damages, consequential
 7   damages, specific performance, diminution in value, costs, including statutory attorney
 8   fees and/or other relief as deemed appropriate.
 9                                TENTH CAUSE OF ACTION
10                                   COMMON LAW FRAUD
11                    (On Behalf of the Nationwide Class or, Alternatively,
12                    the California Class, Illinois Class and Maine Class)
13         235. Plaintiffs and the Class incorporate by reference each preceding and
14   succeeding paragraph as though fully set forth at length herein.
15         236. Plaintiffs bring this claim on behalf of themselves and on behalf of the
16   Nationwide Class or, alternatively, on behalf of the state subclasses.
17         237. Defendants made material omissions concerning a presently existing or past
18   fact. For example, Defendants did not fully and truthfully disclose to their customers the
19   true nature of the inherent defect with the GDI Engine, which was not readily
20   discoverable until years later, often after the New Vehicle Limited Warranty or the
21   Powertrain Warranty has expired. As a result, Plaintiffs and the other Class Members
22   were fraudulently induced to lease and/or purchase the Class Vehicles with the said
23   defect and all of the resultant problems.
24         238. These omissions were made by Defendants with knowledge of their falsity,
25   and with the intent that Plaintiffs and the Class Members rely on them.
26         239. Plaintiffs and the Class Members reasonably relied on these omissions and
27   suffered damages as a result.
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 1                               ELEVENTH CAUSE OF ACTION
 2             BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING
 3                      (On Behalf of the Nationwide Class or, Alternatively,
 4                      the California Class, Illinois Class and Maine Class)
 5            240. Plaintiffs and the Class incorporate by reference each preceding and
 6   succeeding paragraph as though fully set forth at length herein.
 7            241. Plaintiffs bring this claim on behalf of themselves and on behalf of the
 8   Nationwide Class or, alternatively, on behalf of the state subclasses.
 9            242. All contracts in California, Maine, and Illinois contain an implied covenant
10   of good faith and fair dealing. The implied covenant of good faith and fair dealing is an
11   independent duty and may be breached even if there is no breach of a contract’s express
12   terms.
13            243. Defendants breached the covenant of good faith and fair dealing by, inter
14   alia, failing to notify Plaintiffs and Class Members of the defective connecting rod
15   bearings and insufficient engine oil lubrication channels in the Class Vehicles, and failing
16   to fully and properly repair this defect.
17            244. Defendants acted in bad faith and/or with a malicious motive to deny
18   Plaintiffs and the Class Members some benefit of the bargain originally intended by the
19   parties, thereby causing them injuries in an amount to be determined at trial.
20                                TWELFTH CAUSE OF ACTION
21                                    UNJUST ENRICHMENT
22                      (On Behalf of the Nationwide Class or, Alternatively,
23                      the California Class, Illinois Class and Maine Class)
24
25            245. Plaintiffs and the Class incorporate by reference each preceding and
26   succeeding paragraph as though fully set forth at length herein. This count is pled in the
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 1   alternative to the contract based claims.
 2         246. Plaintiffs and members of the Class conferred a benefit on Defendants.
 3         247. Defendants had knowledge that this benefit was conferred upon them.
 4         248. Defendants have been and continue to be unjustly enriched at the expense of
 5   Plaintiffs, and their retention of this benefit under the circumstances would be
 6   inequitable.
 7                                     PRAYER FOR RELIEF
 8         WHEREFORE, Plaintiffs, on behalf of themselves and members of the Class,
 9   respectfully request that this Court:
10         A. determine that the claims alleged herein may be maintained as a class action
11             under Rule 23 of the Federal Rules of Civil Procedure, and issue an order
12             certifying one or more Classes as defined above;
13         B. appoint Plaintiffs as the representatives of the Classes and their counsel as Class
14             counsel;
15         C. award all actual, general, special, incidental, statutory, punitive, and
16             consequential damages and restitution to which Plaintiffs and the Class
17             Members are entitled;
18         D. award pre-judgment and post-judgment interest on such monetary relief;
19         E. grant appropriate injunctive and/or declaratory relief, including, without
20             limitation, an order that requires Defendants to repair, recall, and/or replace the
21             Class vehicles and to extend the applicable warranties to a reasonable period of
22             time, or, at a minimum, to provide Plaintiffs and Class Members with
23             appropriate curative notice regarding the existence and cause of the engine
24             defect;
25         F. award reasonable attorneys’ fees and costs; and
26         G. grant such further relief that this Court deems appropriate.
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 1   Dated: July 31, 2018.                           Respectfully submitted,
 2
 3
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11
12                                                   Attorneys for Plaintiffs and Putative Class
13
14                                        JURY DEMAND
15          Plaintiffs, on behalf of themselves and the putative Class, demand a trial by jury on
16   all issues so triable.
17                                                   Sauder Schelkopf
18
                                             By:     /s/ Matthew D. Schelkopf
19                                                   Matthew D. Schelkopf
20
                                                     Attorneys for Plaintiffs and Putative Class
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